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                           EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

     NUVASIVE, INC.,                        )
                                            )
                 Plaintiff,                 )
                                            )
     v.                                     )            Civil Case No. 6:17-cv-2206-Orl-41GJK
                                            )
     ABSOLUTE MEDICAL, LLC, ABSOLUTE )
     MEDICAL SYSTEMS, LLC, GREG             )            INJUNCTIVE RELIEF SOUGHT
     SOUFLERIS, DAVE HAWLEY, and RYAN )
     MILLER,                                )
                                            )
                 Defendants.                )
     _______________________________________)

       FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

            Through its attorneys of record, and for its First Amended Complaint for Injunctive

     Relief and Damages against Absolute Medical, LLC (“Absolute Medical”), Absolute

     Medical Systems, LLC (“AMS”), Greg Soufleris (“Soufleris”), Dave Hawley (“Hawley”),

     and Ryan Miller (“Miller”), Plaintiff, NuVasive, Inc. (“NuVasive”), states that:

                                       NATURE OF ACTION

            1.      Defendants—an exclusive distributor of NuVasive’s products (Absolute

     Medical), that exclusive distributor’s successor in interest (AMS), the owner of those

     distributors (Soufleris), and two of the distributors’ sales representatives (Hawley and

     Miller)—are unfairly competing with NuVasive.

            2.      The exclusive distributor (Absolute Medical) breached numerous contractual

     obligations imposed on it by, without limitation:

                    a.   attempting to terminate the contract between it and NuVasive without
                         cause;
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                    b.   failing to maintain sufficient personnel to service its sales territory;

                    c.   failing to inform NuVasive that it is distributing competitive products;

                    d.   failing to comply with its reasonable non-compete and non-solicit
                         obligations; and

                    e.   failing to ensure that its former sales representatives comply with their
                         reasonable non-compete and non-solicit obligations.

            3.      In an attempt to avoid the exclusive distributor’s contractual obligations, its

     owner (Soufleris)—who is actively seeking to convert NuVasive’s business to one of its

     direct competitors and is personally liable for the exclusive distributor’s contractual breaches

     and his own wrongful acts—formed the exclusive distributor’s successor in interest (AMS),

     transferred the exclusive distributor’s assets to the successor in interest and/or other entities

     he controls, and dissolved the exclusive distributor.

            4.      The exclusive distributor’s sales representatives (Hawley and Miller) are now

     affiliated with the exclusive distributor’s successor in interest. They are selling products

     manufactured by one of NuVasive’s competitors to the same surgeons they serviced on

     behalf of the exclusive distributor.

            5.      NuVasive asks this Court to: (a) issue temporary, preliminary, and permanent

     injunctions which require the exclusive distributor and its successor in interest to comply

     with the contractual obligations imposed on them by the exclusive distributor’s contract

     with NuVasive; (b) issue temporary, preliminary, and permanent injunctions which require

     the sales representatives to comply with their contractual obligations; (c) award it damages

     against the exclusive distributor’s successor in interest, the distributors’ owner and sales




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     representatives; and (d) transfer its claims for damages against the exclusive distributor to

     binding arbitration in San Diego, California.

                                            THE PARTIES

            6.      NuVasive is an innovative medical company that focuses on products and

     processes that treat spinal disease.     It is a citizen of Delaware and California.        It is

     incorporated under the laws of Delaware, and maintains its principal place of business in San

     Diego, California.

            7.      Absolute Medical is a single-member Florida limited liability company.

     Soufleris, a citizen of Florida, is Absolute Medical’s sole member. Thus, Absolute Medical

     is a citizen of Florida that maintains its principal place of business in Heathrow, Florida.

     Absolute Medical’s latest filings with the Florida Secretary of State identify the address of its

     principal office as 382 Devon Place, Heathrow, Florida, which was Soufleris’ residence until

     spring 2017.

            8.      The relationship between NuVasive and Absolute Medical is governed by the

     January 1, 2017 Exclusive Sales Representative Agreement as amended by the July 1, 2017

     Territory Transition Agreement (collectively, the “Agreement”). NuVasive attaches a copy

     of the Agreement as Exhibit 1.

            9.      Absolute Medical is contractually prohibited from, among other things,

     distributing products used to treat spinal disease that are not designed, manufactured, and

     marketed by NuVasive without obtaining NuVasive’s written consent to do so.

            10.     Soufleris utilized his former residence at 382 Devon Place in Heathrow,

     Florida, as the principal address for the companies he owns and/or controls until he sold that




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     property on or about March 31, 2017. He then purchased a one-bedroom condominium

     located at 8901 Lee Vista Blvd., #3003, in Orlando, Florida, on or about September 16, 2017,

     and now utilizes that location as the principal address of his companies including, without

     limitation, AMS, The Absolute Group, Inc., Absolute Ortho Inc., and Blackfin Funds, Inc.

            11.     Upon information and belief, Absolute Medical conducted business out of

     8901 Lee Vista Boulevard from the time Soufleris vacated 382 Devon Place until he

     dissolved it in February 2018.

            12.     On November 30, 2017, Soufleris formed AMS, which is a distributor of

     products used to treat spinal disease that are designed, manufactured, and marketed by,

     without limitation, NuVasive’s competitor, Alphatec Spine, Inc. (“Alphatec”).

            13.     AMS is a single-member Florida limited liability company.           Soufleris, a

     citizen of Florida, is Absolute Medical’s sole member, making AMS a citizen of Florida. Its

     filings with the Florida Secretary of State identify its principal place of business as 8901 Lee

     Vista Blvd., #3003, Orlando, Florida.

            14.     Soufleris formed AMS to avoid certain non-competition and non-solicitation

     obligations that Absolute Medical owes to NuVasive.

            15.     Absolute Medical was solvent when it stopped conducting business. Upon

     information and belief, as part of the process of dissolving Absolute Medical, Soufleris

     transferred significant amounts of money from Absolute Medical’s accounts into other

     businesses, including, without limitation, AMS.

                  AMS IS ABSOLUTE MEDICAL’S SUCCESSOR IN INTEREST

            16.     Soufleris is a citizen of the State of Florida who resides at 10525 Cromwell




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     Grove Terrace, Orlando, Florida 32827. He is the sole member, president, and registered

     agent of Absolute Medical and AMS.

            17.     Soufleris exercises complete control and dominion over Absolute Medical,

     AMS, and other companies. In fact, he is the alter ego of those entities.

            18.     Soufleris utilizes the same email address (gsoufleris@absolute-med.com) and

     telephone number (954-868-4492) in his work for AMS that he used for Absolute Medical.

            19.     Hawley was a sales representative for Absolute Medical who is now a sales

     representative for AMS. He is a citizen of the State of Florida who resides at 3004 Sherwood

     Road, Orlando, Florida.

            20.     Hawley utilizes the same email address (dhawley@absolute-med.com) and

     telephone number (941-650-8629) in his work for AMS that he used while affiliated with

     Absolute Medical.

            21.     Miller was a sales representative for Absolute Medical who is now a sales

     representative for AMS. He is a citizen of the State of Florida who, upon information and

     belief, resides at 507 South Hyer Avenue, Orlando, Florida.

            22.     Miller utilizes the same email address (rmiller@absolute-med.com) and

     telephone number in his work for AMS that he used while affiliated with Absolute Medical.

            23.     Soufleris, Hawley, and Miller now sell products on AMS’ behalf that compete

     with NuVasive’s products to the same customers they sold NuVasive’s products on Absolute

     Medical’s behalf.

            24.     Absolute Medical’s executive administrator, Daneri Edelson, now performs a

     similar role for AMS.




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                           JURISDICTION, VENUE, AND GOVERNING LAW

             25.         This Court has original jurisdiction of this case under 28 U.S.C. § 1332

     because this is a civil action between citizens of different states in which the matter in

     controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

             26.         Venue for NuVasive’s request for equitable relief is proper in the Middle

     District of Florida pursuant to 28 U.S.C. § 1391 as: (a) all Defendants reside in this judicial

     district; and (b) a substantial part of the events or omissions giving rise to the claim occurred

     in this district.

             27.         Paragraph 12.01 of the Agreement and paragraph 13 of the Transition

     Agreement provide that they “shall be governed by and construed in accordance with the

     laws of the State of Delaware, without giving any effect to the choice of law principles

     thereunder.”

             28.         Paragraph 12.02 of the Agreement and paragraph 13 of the Transition

     Agreement require NuVasive and Absolute Medical to submit all disputes to binding

     arbitration in San Diego, California, other than requests for injunctive or other equitable

     relief which may proceed pending arbitration.

             29.         Neither the Agreement nor the Transition Agreement requires NuVasive to

     submit its claims against AMS, Soufleris, Hawley, or Miller to arbitration.

                              ALLEGATIONS RELATING TO ALL COUNTS

     A.      NuVasive’s Business

             30.         NuVasive markets its products through its exclusive sales force which consists

     of directly-employed personnel and exclusive sales agents. NuVasive invests substantial




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     funds into providing this sales force with extraordinary, specialized, comprehensive, and

     industry-leading training.    This training supplies NuVasive’s sales force with a deep

     understanding of NuVasive’s products, methodology, trade secrets, and other valuable

     confidential or proprietary information.

            31.     NuVasive’s investments in its sales force allows it to favorably represent the

     company and create goodwill with potential and existing NuVasive customers.                 This

     goodwill, arising from the substantial customer relationships developed between NuVasive’s

     sales force and its customers, belongs to NuVasive.

     B.     Absolute Medical’s Contractual Obligations to NuVasive

            32.     Absolute Medical became an exclusive distributor of NuVasive’s products on

     January 1, 2013. At that time, its relationship with NuVasive was governed by the February

     14, 2013 Exclusive Sales Representative Agreement (the “2013 Agreement”). NuVasive

     attaches a copy of the 2013 Agreement as Exhibit 2.

            33.     Absolute Medical’s principal place of business was 213 Villa Di Este Terrace,

     #105, Lake Mary, Florida, when it entered into the 2013 Agreement. This address was also

     Soufleris’ residence at that time.

            34.     Section 6.13 of the 2013 Agreement required Absolute Medical’s sales

     representatives including, without limitation, Hawley and Miller, to sign “Compliance

     Agreements”     which    contain     confidentiality,   non-solicitation,   and   non-competition

     obligations. Absolute Medical complied with this obligation by requiring Hawley and Miller

     (and others) to sign 2013 Independent Contractor Agreements (the “2013 ICAs”). NuVasive




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     attaches an exemplar copy of the 2013 ICA and copies of Hawley’s and Miller’s signature

     pages to their 2013 ICAs as collective Exhibit 3.

             35.        Section 12 of the 2013 ICAs contains Hawley’s and Miller’s non-solicitation

     and non-competition obligations. These obligations are reasonable and enforceable as their

     temporal restriction is only one year and their geographic restriction is limited to the counties

     in which they provided services to Absolute Medical.

             36.        Neither Absolute Medical nor Hawley or Miller terminated the 2013 ICAs in

     accordance with their terms and conditions. Accordingly, Hawley’s and Miller’s 2013 ICAs

     remain in full force and effect.

             37.        On January 1, 2017, Absolute Medical and NuVasive entered into the

     Agreement, which, among other things, required Absolute Medical to continue exclusively

     distributing NuVasive’s products for five years.

             38.        Section 5.03 of the Agreement requires Absolute Medical to retain a staff of

     sales representatives (“Representative Affiliates”) to promote NuVasive’s products in its

     sales territory.

             39.        Section 5.04 of the Agreement requires Absolute Medical to “promptly advise

     NuVasive of . . . any changes in [Absolute Medical’s] status, organization, personnel, and

     similar matters . . .”

             40.        Like all NuVasive exclusive distributors, Absolute Medical (and Absolute

     Medical’s Representative Affiliates) receives NuVasive’s extraordinary, industry-leading

     training, has access to and knowledge of NuVasive’s trade secrets and other proprietary

     information, and is the face of NuVasive to customers within its sales territory. Accordingly,




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     to protect its legitimate business interests, NuVasive required that Absolute Medical agree to

     certain reasonable confidentiality, non-competition, and non-solicitation obligations as a

     condition of NuVasive allowing Absolute Medical to sell its products.

            41.     Section 5.09(a) of the Agreement requires Absolute Medical to: (a) identify all

     products and services that it and its Representative Affiliates promote; and (b) update that list

     of products and services as needed. It provides:

            Representative has identified in Exhibit G all products and services for which
            Representative or Representative Affiliates (directly or indirectly) act as a
            sales representative, agent, employee, or similar position. Representative
            shall update Exhibit G so that it is complete and accurate at all times and
            Representative agrees that failure to update Exhibit G shall constitute a
            material breach of the Agreement and may result in NuVasive exercising its
            rights under Section 9.03.

            42.     Section 5.09(c) of the Agreement imposes reasonable non-competition and

      non-solicitation obligations on Absolute Medical. It provides:

            During the Term and for a period of twelve (12) months thereafter,
            Representative and Representative Affiliates shall not (i) represent, promote,
            sell, solicit, or otherwise commercialize (directly or indirectly) any products
            or services that are, in NuVasive’s reasonable judgment, competitive with any
            of NuVasive’s products or services (including the Products) without the prior
            written consent of NuVasive, (ii) solicit, encourage, or induce, or cause to be
            solicited, encouraged or induced (directly or indirectly) any Restricted Persons
            within the Territory, to terminate or adversely modify any business
            relationship with NuVasive, or not to proceed with, or enter into, any business
            relationship with NuVasive, nor otherwise interfere with any business
            relationship between NuVasive, and any Restricted Persons within the
            Territory, or (iii) solicit or offer to work (directly or indirectly) or hire any of
            NuVasive’s employees, agents or representatives. The twelve (12) month
            period during which the restrictions of this Section are applicable after the
            Term shall toll for any period of time in which Representative is not in
            compliance herewith.




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            43.     Section 5.09(e) of the Agreement requires Absolute Medical to ensure that its

     Representative Affiliates enter into non-competition and non-solicitation agreements.      It

     provides:

            Representative (i) represents, warrants and covenants that each Representative
            Affiliate engaged by it as of the Effective Date or any time thereafter during
            the Term, will have executed an agreement in form and substance sufficient to
            contractually obligate such person or entity to comply with the restrictions
            contained in this Section 5.09 prior to performing any services for the benefit
            of NuVasive, or Promoting the Products or receiving any information
            regarding the Products (a “Compliance Agreement”), (ii) shall cause each
            Compliance Agreement to name NuVasive as an intended third party
            beneficiary with full right to directly enforce provisions necessary to comply
            with this Section 5.09, and (iii) will vigorously enforce the restrictions
            contained in this Section 5.09 and each Compliance Agreement at its own cost
            (and in the event Representative fails to adequately enforce such restrictions,
            NuVasive may do so at Representative’s cost). Representative shall provide
            NuVasive a copy of each Compliance Agreement with respect to each
            Representative Affiliate immediately upon such person or entity becoming a
            Representative Affiliate. Each Compliance Agreement shall require all sales
            representatives to comply with the terms of Section 5.08 and Section 5.09
            hereof. Representative shall be liable to NuVasive for any breaches by the
            Representative Affiliate of the Compliance Agreement.

            44.     The restrictive covenants described in the preceding two paragraphs are

      reasonable because: (a) their temporal restrictions are limited to the term of the Agreement

      plus the following twelve months after that term concludes; and (b) their geographic

      restrictions are limited to Absolute Medical’s NuVasive sales territory.

            45.     Section 8.01 of the Agreement imposes confidentiality obligations on

      Absolute Medical. It provides:

            Non-Disclosure. Each Party shall not, except as otherwise expressly provided
            herein, use, disclose, disseminate or otherwise allow access to the
            Confidential Information of the other Party to anyone other than to employees
            that have a need to know such Confidential Information to implement this
            Agreement and who are bound by written confidentiality obligations with
            provisions no less stringent than those contained in this Article VIII. Each




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              Party shall prevent unauthorized disclosure or use of the Confidential
              Information of the other Party. Each Party shall execute all documents and
              otherwise shall take all necessary steps to ensure that each be able to enforce
              rights hereunder pertaining to Confidential Information. Each Party shall be
              responsible for any breach of this Section 8.01 by employees, contractors or
              agents.

              46.    Section 10.01 of the Agreement provides, in relevant part:

              Indemnification by Representative. Representative shall indemnify, defend
              and hold harmless NuVasive and its present and former, direct and indirect,
              subsidiaries, affiliates, employees, officers, directors, stockholders, members,
              agents, representatives, and permitted successors and permitted assigns (each
              a “NuVasive Indemnitee”) from and against…subject to Section 10.03, any
              Litigation Costs incurred by a NuVasive Indemnitee while investigating or
              conducting the defense of any Claim, in any such case, solely to the extent
              such Claim is directly based on or directly arises out of or from any breach by
              Representative of any of its representations, warranties and covenants under
              this Agreement…the gross negligence and willful misconduct of
              Representative or any Representative Affiliates…

              47.    Section 12.04 of the Agreement provides:

              Further Assurances. On NuVasive’s request, Representative shall, at its sole
              cost and expense, execute and deliver all such further documents and
              instruments, and take all such further acts, necessary to give full effect to this
              Agreement.

     C.       Absolute Medical’s Breaches its Contractual Obligations

              48.     In a November 27, 2017, email, Soufleris notified NuVasive of Absolute

     Medical’s intent to resign from its “partnership” with NuVasive. NuVasive attaches a copy

     of this email as Exhibit 4.

              49.    The Agreement’s terms do not allow Absolute Medical to terminate it without

     cause.

              50.    Article IX of the Agreement contains the only grounds for Absolute Medical

     to terminate it. None of those grounds are relevant.




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            51.     NuVasive has not terminated the Agreement.

            52.     In a December 5, 2017 email, Absolute Medical’s counsel stated that three

     Representative Affiliates—Hawley, Miller, and Brandon Gottstein (“Gottstein”)—resigned

     from Absolute Medical. NuVasive attaches a copy of this email as Exhibit 5.

            53.     Gottstein worked for Absolute Medical from April 2016 through December

     2017 as a field support representative. He now works for Alphatec as a sales representative.

     Upon information and belief, Absolute Medical required Gottstein to sign an agreement

     which contains reasonable non-compete and non-solicit obligations.

            54.     Hawley, Miller, and Gottstein are soliciting business from, and performing

     services for, the same customers they solicited business and performed services on

     NuVasive’s behalf. The only difference is that they now sell products marketed by Alphatec

     on behalf of AMS.

            55.     Like Soufleris, Hawley, and Miller, Gottstein utilizes the same telephone

     number and email address in his work for AMS that he utilized in his work for Absolute

     Medical.

            56.     Contrary to the obligations imposed on it by Section 5.09(e) of the

     Agreement, Absolute Medical has taken no steps to stop Hawley and Miller from violating

     their contractual obligations not to solicit or service the customers they solicited or serviced

     on Absolute Medical’s behalf. Indeed, Absolute Medical refused to even provide NuVasive

     with copies of their 2013 ICAs and consistently (and erroneously) denied, both informally

     and in discovery responses, the existence of those agreements.




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            57.     Absolute Medical has taken no steps to stop Gottstein from violating his non-

     competition and non-solicitation obligations, and denies that such an agreement exists.

            58.     Since forming AMS, Soufleris has solicited business from at least two of

     Absolute Medical’s customers on behalf of AMS and Alphatec.

            59.     On AMS’ behalf, Miller and Soufleris attended a December 6, 2017 dinner

     with one of Absolute Medical’s surgeon-customers and asked that surgeon-customer to try

     Alphatec’s products.

            60.     On December 12, 2017, Hawley utilized his Absolute Medical email address

     to send a message to Alphatec regarding custom instruments needed by a surgeon to whom

     he (through Absolute Medical) regularly sold NuVasive products. This email:

                    a. provided Alphatec with precise descriptions of the instruments; and

                    b. upon information and belief, promised to send the custom instruments
                       NuVasive previously made for the surgeon to Alphatec so that Alphatec
                       could copy them.

     NuVasive attaches a copy of this email as Exhibit 6.

            61.     Soufleris had dinner with the surgeon-customer referenced in the preceding

     paragraph as recently as the first or second week in May 2018.

            62.     On May 24, 2018, NuVasive discovered custom instruments it created for the

     surgeon-customer referenced in the preceding two paragraphs at Florida Hospital Orlando.

     The custom instruments were sterilized and prepared to be used in a surgery. No NuVasive

     representative requested that the custom instruments be sterilized and prepped for surgery.

     Upon information and belief, Hawley or another AMS sales representative: (a) arranged for

     the custom instruments to be sterilized and prepared for surgery, and (b) intended to use the




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     custom instruments in a surgery where the surgeon-customer would utilize non-NuVasive

     implants.

            63.      To date, Absolute Medical has not updated Exhibit G to the Agreement or

     otherwise informed NuVasive that it is working with competitive companies.

            64.      As a result of Defendants’ violations of their contractual obligations, AMS

     (through Soufleris, Hawley, and Miller) converted nearly all of NuVasive’s business within

     Absolute Medical’s sales territory to Alphatec.

                 COUNT I (Breach of Contract—Injunctive Relief against Absolute Medical)

            65.      NuVasive incorporates the allegations contained in paragraphs 1 through 64.

            66.      The Agreement, including, without limitation, Sections 5.09 and 8.01, is a

     valid and enforceable contract.

            67.      The geographic and temporal restrictions contained in Section 5.09 are

     reasonable.

            68.      Even if Section 5.09 were overbroad, the Agreement and Delaware law allow

     the Courts to make reasonable alterations so that it protects NuVasive’s interests.

            69.      NuVasive fully performed all of the obligations imposed on it by the

     Agreement.

            70.      Absolute Medical breached or intends to breach many of the obligations the

     Agreement imposes on it by the Agreement by, without limitation:

                     a. attempting to unilaterally terminate the Agreement;

                     b. not enforcing Hawley’s and Miller’s non-compete and non-solicit
                        obligations or, alternatively, releasing Hawley and Miller from their non-
                        compete and non-solicit obligations without NuVasive’s permission;




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                    c. soliciting business on Alphatec’s behalf; and

                    d. not updating Exhibit G to the Agreement.

            71.     There is a reasonable probability that NuVasive will prevail on the merits of

     this action as Absolute Medical is breaching and/or threatening to breach valid and

     enforceable contractual obligations.

            72.     NuVasive will be irreparably harmed if the Court does not require Absolute

     Medical to specifically perform the obligations imposed on it by the Agreement (or at least

     comply with its non-competition and non-solicitation obligations) as it will, without

     limitation, likely: (a) lose its goodwill with the customers in Absolute Medical’s sales

     territory; and (b) lose sales to those customers. Additionally, Absolute Medical’s failure to

     fully perform its contractual obligations left NuVasive with insufficient sales personnel to

     fully service its business in Absolute Medical’s sales territory, and further assisted AMS’

     illegal conversion of that business.

            73.     No legal remedy can fully compensate NuVasive for the harm Absolute

     Medical’s actions are causing.         NuVasive bargained for a five-year relationship with

     Absolute Medical, and now Absolute Medical works for one of NuVasive’s competitors in

     the same territory it is contractually obligated to work for NuVasive.

            74.     The balance of equities tips in favor of issuing the requested injunction

     because it will not harm Absolute Medical, as Absolute Medical is contractually obligated to

     perform all of the tasks identified in the Agreement.

            75.     Issuing the requested injunction will benefit the public’s interest as the public

     has an interest in seeing contracts enforced as written.




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        COUNT II (Breach of Contract—Damages/Arbitration against Absolute Medical)

            76.    NuVasive incorporates the allegations contained in paragraphs 1 through 75.

            77.    The Agreement is a valid and enforceable contract.

            78.    Absolute Medical breached or intends to breach the obligations imposed on it

     by the Agreement by, without limitation:

                   a. attempting to unilaterally terminate the Agreement;

                   b. not enforcing its sales representatives’ non-competition and non-solicitation
                      obligations;

                   c. falsely representing to NuVasive that its sales representatives are not
                      subject to non-competition and non-solicitation obligations;

                   d. soliciting business on Alphatec’s behalf without updating Exhibit G to the
                      Agreement; and

                   e. converting NuVasive’s business to Alphatec.

            79.    Absolute Medical’s breaches of the Agreement caused NuVasive to incur

     significant damages.

            80.    Pursuant to 9 U.S.C. § 4, this Court should order NuVasive’s breach of

     contract claim for damages against Absolute Medical to arbitration in the manner provided

     for in the Agreement.

         COUNT III (Breach of Contract—Injunctive Relief and Damages against AMS)

            81.    NuVasive incorporates the allegations contained in paragraphs 1 through 80.

            82.    AMS is Absolute Medical’s successor in interest. Soufleris formed AMS—

     which is a continuation and/or a reincarnation of Absolute Medical—to fraudulently avoid

     the contractual obligations Absolute Medical owes NuVasive.




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            83.     Like Absolute Medical, AMS sells products utilized in spine surgeries to

     surgeons and medical facilities.

            84.     Soufleris formed AMS on November 30, 2017—three days after the

     November 27, 2017 email to NuVasive which purported to “resign” Absolute Medical from

     the Agreement.

            85.     Absolute Medical was solvent when Soufleris formed AMS and began the

     process of dissolving Absolute Medical. Upon information and belief, Soufleris transferred

     several hundreds of thousands of dollars from Absolute Medical to AMS or other entities

     before dissolving Absolute Medical.

            86.     Absolute Medical and AMS use the same attorneys.

            87.     Absolute Medical and AMS use the same accounting system.

            88.     Absolute Medical and AMS utilize the same computers, telephones, and other

     office equipment.

            89.     Absolute Medical and AMS have a substantially common identity of owners,

     employees, and independent contractors.

            90.     Soufleris is the sole member, registered agent, and “president” of AMS and

     Absolute Medical.

            91.     Soufleris, at least three of AMS’ sales representatives—Hawley, Miller, and

     Gottstein—and AMS’ executive administrator worked for Absolute Medical immediately

     before joining AMS.




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            92.     AMS’ owner, employees, and independent contractors who were affiliated

     with Absolute Medical utilize the same telephone numbers and email addresses that they

     used to conduct business on Absolute Medical’s behalf.

            93.     Absolute Medical last sold a NuVasive product on or about December 3,

     2017, and claims it sold no Alphatec products.

            94.     AMS never sold NuVasive products, and first sold an Alphatec product on or

     about December 5, 2017.

            95.     Absolute Medical stopped doing business in December 2017, when Soufleris

     began the process of dissolving it.

            96.     AMS sells Aphatec’s products to the same customers Absolute Medical sold

     NuVasive’s products and possesses communications with every surgeon to whom Absolute

     Medical sold NuVasive products in November 2017.

            97.     As Absolute Medical’s successor in interest, NuVasive is entitled to the same

     equitable and legal remedies against AMS that it is entitled to against Absolute Medical.

      COUNT IV (Breach of Contract—Injunctive Relief and Damages against Hawley and
                                       Miller)

            98.     NuVasive incorporates the allegations contained in paragraphs 1 through 64.

            99.     The non-competition and non-solicitation obligations in Hawley’s and

     Miller’s 2013 ICAs are reasonable and enforceable as: (a) their temporal restriction is for

     only one year; and (b) their geographic restriction is limited to the territories they serviced

     for Absolute Medical.

            100.    Neither Hawley nor Miller are complying with the non-competition and non-

     solicitation obligations in their 2013 ICAs.



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            101.    Hawley’s and Miller’s breaches of their 2013 ICAs harmed NuVasive in that

     they allowed AMS to convert the vast majority of the business in Absolute Medical’s sales

     territory to Alphatec. Further, these breaches continue to irreparably harm NuVasive as their

     established relationships with their customers make it more difficult for NuVasive to win

     back the business of those customers.

            102.    No legal remedy can fully compensate NuVasive for the harm Hawley’s and

     Millers’ actions are causing. They are rapidly converting NuVasive’s business in their sales

     territories and will continue to do so if not enjoined.

            103.    The balance of equities tips in favor of enjoining Hawley and Miller from

     violating the non-competition and non-solicitation obligations. Doing so will not harm them

     because Absolute Medical remains able to sell NuVasive’s products for the remainder of the

     Agreement’s five year term. Accordingly, if the injunction issues, Hawley and Miller could

     continue selling products used in spinal surgery (albeit NuVasive’s products through

     Absolute Medical) to the same surgeons and medical facilities they now service in violation

     of their non-competition and non-solicitation obligations. On the other hand, not issuing the

     requested injunction will cause NuVasive irreparable harm as Hawley and Miller will

     continue to unfairly compete with it.

            104.    Issuing the requested injunction will benefit the public’s interest as the public

     has interests in: (a) seeing contracts enforced as written; and (b) fostering fair competition.

            105.    NuVasive is entitled to recover monetary damages against Hawley and Miller,

     and is also entitled to temporary, preliminary, and permanent injunctions which prohibit them

     from violating their 2013 ICAs.




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                           COUNT V (Conversion against Hawley and AMS)

            106.    Upon information and belief, after leaving Absolute Medical and joining

     AMS, Hawley (or other AMS sales representatives) exercised dominion over the custom

     instruments referenced in paragraphs 61 and 63.

            107.    Hawley (or other AMS sales representatives) did not have the right to exercise

     dominion over the custom instruments.

            108.    Hawley’s (or other AMS sales representatives’) conversion of NuVasive’s

     custom surgical instruments harmed NuVasive and caused it to suffer monetary damages.

                        COUNT VI (Statutory Individual Liability against Soufleris)

            109.    NuVasive incorporates the allegations contained in paragraphs 1 through 25

     and 82 through 98.

            110.    Absolute Medical is a limited liability company formed and existing under the

     Florida Revised Limited Liability Company Act, Fla. Stat. §§ 605.0101, et seq.

            111.    As Absolute Medical’s sole member, Soufleris owes Absolute Medical certain

     duties, including without limitation, fiduciary duties of loyalty and care.

            112.    Soufleris breached his fiduciary duties of loyalty to Absolute Medical by,

     without limitation:

                a. dissolving Absolute Medical;

                b. transferring Absolute Medical’s assets to AMS or other companies he owns
                   and/or controls;

                c. forming AMS to avoid Absolute Medical’s obligations to NuVasive and, in
                   effect, compete with Absolute Medical;

                d. precluding Absolute Medical from complying with its contractual obligations
                   to NuVasive; and




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                  e. intentionally subjecting Absolute Medical to liability.

             113.    Soufleris’ actions and failures to act on behalf of Absolute Medical constitute

     breaches and/or failures to perform the duties he owes to Absolute Medical.

             114.    Soufleris’ breaches and/or failures to perform constitute, without limitation,

     transactions from which Soufleris derived improper personal benefits, directly and indirectly.

             115.    Pursuant to the Florida Revised Limited Liability Company Act, § 605.04093,

     Soufleris is personally liable for the monetary damages Absolute Medical owes NuVasive,

     and should be subjected to any injunctive relief the Court issues against Absolute Medical.

                     COUNT VII (Piercing the Corporate Veil against Soufleris)

             116.    NuVasive incorporates the allegations contained in paragraphs 1 through 25,

     82 through 98, and 110 through 115.

             117.    Soufleris dominates and exercises complete control over Absolute Medical

     and AMS to the extent that their independence is non-existent and Soufleris is, in fact, their

     alter ego.

             118.    Soufleris fraudulently and/or improperly organized and used Absolute

     Medical and AMS to mislead and/or defraud NuVasive in an attempt to, without limitation,

     evade Absolute Medical’s existing personal liability to NuVasive.

             119.    Soufleris’ fraudulent and improper use of the corporate form is the proximate

     cause of the damages NuVasive incurred and continues to incur as a result of Absolute

     Medical’s breach of its obligations under the Agreement and AMS’ unfair competition with

     it.




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            120.     This Court should disregard the corporate form and hold Soufleris personally

     liable for any judgment rendered against Absolute Medical and/or AMS in this matter, and

     extend any injunctions it issues against them to Soufleris.

                 COUNT VIII (Florida Deceptive and Unfair Trade Practices Act against all
                                         Defendants)

            121.     NuVasive incorporates the allegations contained in paragraphs 1 through 120.

            122.     The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Florida

     Annotated Statues §§ 501.201, et seq., makes unfair methods of competition, unconscionable

     acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or

     commerce unlawful.

            123.     Any person aggrieved by a violation of the FDUTPA may bring a private

     action to obtain declaratory and injunctive relief and any person who has suffered a loss by a

     violation of the FDUTPA may recover damages, as well as attorney’s fees and costs, on

     account of that loss.

            124.     Absolute Medical and Soufleris have violated the FDUTPA by, without

     limitation: (i) unfairly competing with NuVasive by soliciting business on Alphatec’s behalf,

     and (ii) engaging in unfair and/or deceptive acts and practices by, without limitation:

            a.     attempting to unilaterally terminate the Agreement;

            b. not enforcing Hawley’s and Miller’s non-compete and non-solicit obligations or,
               alternatively, releasing Hawley and Miller from their non-compete and non-
               solicit obligations without NuVasive’s permission; and

            c.     soliciting business on Alphatec’s behalf without updating Exhibit G to the
                   Agreement.




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            125.    Upon information and belief, Hawley has violated the FDUTPA by unfairly

     competing with NuVasive and engaging in unfair and/or deceptive acts and practices by

     shipping custom surgical instruments that NuVasive created and owned to Alphatec so that

     Alphatec could create substantially identical instruments.

            126.    Defendants’ violations of the FDUTPA have aggrieved NuVasive and caused

     it to suffer damages.

                   COUNT IX (Tortious Interference with Business Relationships against
                                           Soufleris)

            127.    NuVasive incorporates the allegations contained in paragraphs 1 through 126.

            128.    Business relationships exist between NuVasive and its surgeon-customers

     who purchase and utilize its products via its exclusive distributor Absolute Medical.

            129.    Soufleris possessed actual knowledge of these business relationships at the

     time he began soliciting business from NuVasive’s surgeon-customers.

            130.    Soufleris’ solicitation of NuVasive’s surgeon-customers was, and is, an

     intentional and unjustified interference with NuVasive’s business relationship with its

     surgeon-customers.

            131.    NuVasive has incurred, and continues to incur, damages due to Soufleris’

     tortious interference with NuVasive’s business relationship with its surgeon-customers.

                                       PRAYER FOR RELIEF

            WHEREFORE, NuVasive respectfully requests that this Court:

            A.      Issue a preliminary and final injunction which requires Absolute Medical to

     comply with all of the contractual obligations it owes to NuVasive including, without

     limitation:




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                    1. fulfilling its contractual obligations for the entire term of the Agreement;

                    2. providing NuVasive with copies of the current and former Representative
                       Affiliates’ Compliance Agreements;

                    3. enforcing the former Representative Affiliates’ Compliance Agreements
                       or pay to NuVasive the reasonable costs (including reasonable attorneys’
                       fees) it incurs in prosecuting those actions; and

                    4. not competing with NuVasive within its sales territory.

            B.      Extend any injunction issued to Absolute Medical to cover AMS, Soufleris,

     Miller, and Hawley or, alternatively, temporarily, preliminarily, and permanently enjoin

     AMS, Soufleris, Miller, and Hawley from competing with NuVasive in Absolute Medical’s

     NuVasive sales territory;

            C.      Award NuVasive the reasonable costs, including attorneys’ fees, it incurs in

     obtaining the requested equitable relief;

            D.      Award NuVasive monetary damages against AMS, Miller, and Hawley in the

     amount of at least $8,000,000.00 for Absolute Medical’s, Miller’s, and Hawley’s violations

     of their contractual obligations;

            E.      Compel NuVasive’s claim for monetary damages against Absolute Medical to

     binding arbitration;

            F.      Award any and all relief, including without limitation declaratory relief,

     injunctive relief and monetary damages, attorney’s fees and costs, available to NuVasive

     under the FDUTPA;

            G.      Disregard the corporate form and hold Soufleris personally liable for

     NuVasive’s damages pursuant to the Florida Revised Limited Liability Company Act and/or

     the doctrine of piercing the veil; and



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           H.    Grant any other further and general relief it deems just and proper.


                                               Respectfully submitted,



                                               s/Diana Evans
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                                    CERTIFICATE OF SERVICE

             I hereby certify that on June 5, 2018, a copy of the foregoing was filed electronically.
     Notice of this filing will be sent by operation of the Court’s electronic filing system to all
     parties indicated on the electronic filing receipt. All other parties will be served by regular
     U.S. Mail. Parties may access this filing through the Court’s electronic filing system. The
     party or parties served are as follows:

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     Fax: (470) 427-3676                             Fax: (404) 500-5975
     bryan.busch@arlaw.com                           laura.mirmelli@arlaw.com
     Attorney for Defendants                         Attorney for Defendants

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     Chantal.pillay@arlaw.com                        Fax: (813) 227-56-36
     Attorney for Defendants                         Louis.ursini@arlaw.com
                                                     Attorney for Defendants




                                                          s/Diana Evans
                                                          Diana Evans

                                                          Attorney for NuVasive, Inc.




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                     is entered into as of the Bffective Date .9.Y and between NuVasive,. Irie~. a De~ware corporatlQn ("j.'luV@ivC"), and
                     A~solute M~4folll  I,.LC, a J<fori~ fiinJ1ed Jtal>llity company. ~'IDl~1·e.<:onthtive'.'} (collectiycly the ··~· ·al\d each a
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                                                TERMS AND CONDITIONS

                                                 ARTICLE I.
                                APPOINTMENT AND AUTHORITY OF ~PRESBNTAT!V&'
                                                                                               :

                  Section 1.01 Exclusive Sales Representative. Subject to the terms and conditions herein,
           NuVasive hereby appoints Representative as NuVasive's exclusive sales representative to solicit orders
           for and Promote Products in the Territory during the Term, and Representative hereby accepts such
           appointment. Repn.}sentative shall be NuVasive's sole representative that will solicit 01ders. for and
           Promote Products inthe Territo1y during the Term.

                   Secti.on l.02 Representative Limitations. Representative shall not (directly or indirectly) (a)
           advertise or Promote any Products outside the Territory, (b) solicit or procure any orders for Products
           from outside the Territory, (c) otherwise act as NuVasive's representative with regpect to the Products
           outside the Territ6ry, or (d) advertise or Prqmote any NuVasive products other than the Products, without
           the prior written consent of NuVasive. Representative shall ·promptly forwllrd to NuVasive any and all
           inquiries relating to the Products received by Representative from outside the Territory. Representative
           may only submit and procure orders from customers located and taking delive1y of Products within the
           Territory.

                   Section t.03 Quota Commitment. Representative shall solicit orders for at least the quantity .
           of Products set forth. in the quota commitments provided by NuVasive to Representative in writing (the
           "Onota Coinmitmeiiis"). NuVasive will provide the Quota Commitinent for the first full calendar year
           of the Agreement within thirty (30) calendar days after the Effective Daw. Quota Commitments for
(          subsequent calendar years during the Term shall be detennined by NuVasive in its sole discretion based
           on dialogue with Representative. and delivered to Representative within thirty (30) days of the start of
           each applicable calendar year during the Term. Nti.Vasive may deliver a: Quota Commitment to
           Representative at intervals more frequently than annually, including with respect to newly introduced
           Products and/or modifications to the Territory. Representative acknowledges and agrees that (a) if the
           Territory is subdivided into regions as set forth in Exhibit B. then NuVasive may designate separate
           Quota Commitments for each such region, and (b) each Quota Commitment may set forth quota
           commitments for the calendar year as well as for each calendar quarter within such calendar year. Tue
           only orders that shall count towards tlie Quota Commitment shall be bona fide orders properly submitted
           by Representative to NuVasive in accordance with the Agreement and that that would, upon acceptance
           by NuVasive. qualify for the payment of a Commission to Representative.

                   Section 1.04 Poor Standing. If Representative fails to secure orders for (a) eighty-seven
           percent (87%) of its Quota_.,Commitment in any calendar quarter, (b) ninety-1':iree percent (93%) of its
           Qqota Commitment in any two consecutive calendar quarters, or (c) ninety-five percent (95%) of its
           aggregate Quota Commitment for any given calendar year; then in each case Representative shall be
           deemed in "Poor Standing" and NuVasive may, at its discretion and without pr~judice to any other rights ·
           NuVasive may have under this Agreement, exercise its rights under Section 9.03 until such time as
           Representative fu1fills·100% of its Quota Commitment for a calendar quarter.

                    Section 1.05 Independent Contractors. The rela1ionshlp of :the Parties established by thi::;
           Agreement is that of independent"contractors, and nothing contained in this Agreement shall be construed
           to (a) give either.Party the power to direct and control the day-to-day activities of the other Party, (b)
           constitute the Parties as partners, joint venturers, co-owners or otherwise as participants in a joint
           undertaking, or' (c) arrow Representative to cr~te or assume.any obligation on be~ ofNuVasive, or
           otherwise bind NuVasive, for any purpose whatsoever. Because Representative is an independent
           contractor, NuVasive will not withhold or make p~yme.nts for. social security, make unemployment
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               insurance or disability insurance contributions, or obtain workers' compensation insurance on
               Representative's ·behalf or provide Representative any benefits thav would be equivalent to -beneftts that
               NuVasive provides its employees. All financial and other ob~igati.ons associated with each Party' s
               business and i1s performance of obligations um:ler 1his Agree~ent are the sole responsibility of th.e
               respective Party. Bacli Party shall be solely responsible for all of the acts of its employees. or its agents.
               For the avoidance of doubt, with respect to its sales representatives, Representirtive shall be solely· ·
               responsible for hiring, promoting, discharging, scheduling appointments, establishing pay scales and/or
               other remuneration. remunerating, reimbursing for work-related expenses, implementing qiscipline and
               any other ~ction directly rela~ed to the employment of such sales representatives. Notwithstanding
               anything contained herein to the contrary, Representative will cooperate fully with. NuVasive personnel in
               all respects with regard to· performing the obligations of this Agreement, including ·participating in
               requested teleconferences, meetings afid travel, and providing sales target and            sales  forecasting
               information to NuVasiv~ upon reasonable reqtiest.

                                                              ARTICLE II.
                                                           . COMMISSIONS

                      Section 2.01 Sole Compensation. Represe~tative's sole C'.Ompensati.on for its performance
              under this Agreement shall be a commission ("Commission") based on Net Sales of Products resulting
              from Representative's procurement of prders pursuant to this AgreeD;.1.ent, determined in accordance with
              Exhibit C attached hereto.

                       Section 2.02 Basis of Commission. The Commission shall apply solely to Product orders (a)
              procured by Representative from customers within the Territory .in accordance with this Agreement, (b)
! ..          that have been accepted by NuVasive in its sole discretion, and (c) for which shipment of Pro.ducts and
l             recognition of revenue.by NuVasive has occurred. For cl~cation. the_Commission shall not apply with
              respect to (i) any sale made to any customer outside the Territory, or (ii) any sale made in violation of this
              Agreement or applicable law.

                       Section 2.03 · Time    and  Manner of Payment. The undisputed portion of the Commission
              pursuant to Article II on· a given order shall be due and payable thirty (30) caler:idar days after th~ end of
              the 9<11endar month in which NuVasive invoices .and ships that order. .Any disputed portion of the
              Commission pursuant to .Article II on a given order shall be due and payable thirty (30) calendar days
              after the calendar monfh in which a payment determination is made.

                         Section 2.04 CommissfuD. Charge Back. NuVasive shall have the· absolute right 'to (a)
               ·withhold any disputed arnomts otherwise payable as Commission and (b) set casb discounts, make
               .allowances and adjustments to customer orders, accept returns from its customers, and write off as bad
                de]?ts any overdue customer accounts as NuVasive deems advisable in its discretion: In each such case,
                NuVasive shall charge back to Representative's account, and/or vdthhold from payment of any future
                 Commissions, any CotD:mission previously paid or credited to it with re1'!pect to such cash discounts,
                allowances, adjustments, returns or bad debts. Representative also agrees to accept charges for: (i.) pr~cing
             · arrangements or side deals not approved byNuVasive; (ii) lost, damaged or missing invento1y entrusted
                to Representative; (fu) operating expenses (including but not limited to set rent and freight) in excess of
                th{l contribution margin targets as communicated to R,epresentati.ve from time to time and determined by
               NuVasive in its scle discretion; and (±v) Representative's failure to comply with its obligatio~ under fhis
                Agreement and/cir NuVasive policies (e.g., NuVasive's inventory management policy and pricing policy
                as updated from time to time).                        ·                                   ·

                      Section 2.05· Monthly Statements. NuVasive shall submit or otherwise make available
              (electronically or by other means) to Representati.~ monthly statements of 1he ~mmission8 due !Uld
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            payable.to Representative under the te.rms of this Agreement, with reference to the specific invoices on·
            which the Commissions are being paid (the "Monthly Statement'').

                    Section2.06 Dlsputes. Represent~iive shall notify NuVasive in writing of any dispute
           regarding any Monthly Statement (along with substantiating documentation and a reasonably detailed
           d.escriptlon of the dispute) within ten (10)' calendar days from the Representative's receipt of such
           Montbly Statement Representative will be; deemed to hwe accepted aH Monthly StatementS for which
           NuVasive does not receive timely written notification of disputes. The Parties shall seek to resolve all
           such disputes expeditiously and in good faith. Notwithstanding anything to the contrary, Representative
           shall continue performirig its obligations under this Agreement during any such dispute.

                                                            ARTICLE ill.
                                                             PRICING

                   . Section 3.01 Prices and Terms of Saje. · NuVasivE? shall provide or otherwise make available
             (electronically or by other means) to Representative copies of its current price lists, its delivery schedules,
             and its standard Terms and·Conditions of Sale, each of which may be establi.Shed and amended from time
             to time in the sole discretioJ;L of~Vasive (the "Terms and Conditions of Sale"). Representative shall
             quote to customers only the then current authoriied prices, delivery schedules, and Terms and Conditions
             of Sale, and· shall have no authority to quote cir offer any discount to such prices or change any such
             Te1ms and Conditions of Sale, without the prior written consent of NuVasive. NuVasive may change the
             prices, delivery schedules, and l'erms and Conditions of Shle, at any time and from time to time, such
             changes t-0 be effective thirty (30) days after delivery by NuVasive to Representative of written notice of
             any such changes; provided that, such changes shall be effective immediately with respect to. any new
             customers during such thirty (30) day period. Each order for a Product shall be governed by the prices,
           . delivery schedules, and Terms ~d . Conditions of Sale in effect .at the time the order is accepted by
             NuVasive, and all quotations by Representative shall contain a statement to that effect. .

                    Section3.02 Orders: Acceptance. All orders from customers for the Products shall be in
           writing, and the originals shall be submittedclirectly·bythe customer to NuVasive. All ordei'S obtained by
           Represen1ative shall be subject to acceptance by NuVasive at its sole discretion. Representative shall
           have no authority to make any acceptance or delivery commitments to customers,

                   Section 3.03 Coilection. Representative acknowledges and agrees that Representative shall .
           not take any action with respect to collection from customers, provided that, at NuVasive's request,
           Representative will assist NuVasive in the collection of any accounts receivable ofNuVasive. .

                                                           ARTICLE IV.
                                                           WARRANTY
                    Section: 4.01 Customer Warranty. Any warranty for the Products shall be limited to those set
           fortli in the then current Terms and Conditions of Sale and shall mn directly from NuVasive to the
           customer, and pursuant to tJ:i.e warranty the customer shall return. any allegedly defective Products directly
           to NuVasive. Representative shall not (a) modify or change any such warranty terms and conditions, (b)
           make any false or misleading representations or statements to customers or others regarding NuVasive or
           the Products, or about NuVasive competitors or competitor products, or (c) make any·representations,
           warranties or guarantees with respect to the specifications, features or capabilities of the Products that are
           not consistent with the Promotional Materiats ·supplied by NuVasive. In ~e event that Representative
           does make any such :fitlse, additional or inconsistent representations, statements, warranties or guarantees
           in violation of this Agreement, then with.out limiting NuVasive's other remedies for such violation,
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               Repre.sentative shall be solely · resportsible for any liability resulting from any such actions.
               Representative shall have no \luthority tc;J accept any i·eturned Products.
                      'I                    .          .
                       Section 4.02 Disclaimer of Warranties. Except for the warranties provided to customers
               in the Terms and Conditions of Sale, NnVasive makes n o other representation or warranty of any
               kind 9r nature whet11er express or 'implied with r espect to the Products or any NuVasive
               Trademarks, and NuVasive hereby expressly disclaims all other representations or warranties, ·
               express .or implied, including implied warranties of merchantability, fitness for a particular
                                                                                                       of
               purpose, noninfringement and title, and any warranties arising from a 'cour.ie de~, usage, or
               trade practice. Representative understands and agrees that the disclaimer of warranties in this
               Agreement is a fundamental part of this Agreement and that Nuvasive would not agree to enter this
               Agreement without such disclaimer.

                                                        ARTICLBV.
                                          ADDITIONAL REPRESENTATIVE OBLIGATIONS

                       Section 5.01 'Deliyery of Product to Customer.. If a,ny Products are delivered directly :from
               NuVasive to Representative, Representative shall deliver such Products to customers using NuVasive's
               docUm.ented and appropriate procedures for .blindling, storage, packing, preservation and delivery, and in ·
               accoi:dance with any written instruction provided by.NuVasi:ve. Subject to applitable law, Representative
               or one of Representative's Affiliates shall attend all surgical cases in the T~tory that utilize the
               Products:

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                      · Section 5.02 Sales Action Plans. Representative shall provide to NuVasive, within thirty (30)
               calendar days following the end of each calendar year, ~ annual sales action plan detailing
               ~presentative's ~ales goals and execution strategies for the co.ming year. In addition, Representative
               shall deliver to NuV asive,.by the fifth (Sti; day of each calendar quarter, a quarterly action 'Plan detailing
               Representative's sales history, revised sales plans and strategies for such quarter. The format of such
               reporting will be determined by NuVasive.

                         Section 5 .03 Representative Infrastructure and Promotion of the P~<:>ducts. NuV asive and
                Representative acknowledge and agree that development of proper infrastructure on the part of
                Representative is vital for the success of the business. Representative will make business investments for
                the purpQS~ of expanding its infrastructure in order to fulfill its responsibilities·under this Agreement (tbe
                "Infrastructure-Investments"). The. In:frastructure Investments required by NuVasive will be supported
                with resources from NuVasive, as determined by NuVasive in its sole discretion. As the In:fi:ast:rocture
                Investments are defined.and communicated to Representative from time to time, Representative agrees to
                comply with the Infrastructure Investments and agrees that failure to do so shall entitle NuVasive to
              : charge Representative for fines and/or costs, in ·addition to the other rights contained herein.
                Representative acknowledges and agrees to maintain sufficient personnel (including the replacement of
                personnel that are terminated or otherwise leave Representative's employ during the Term) to effectively
                and consistently Promote the Products to all hospitBls and clinics in the Territory as contemplated by the
                Agreement, with a focus on selling a complete mix of the various Products. Representative shall also
                provide sufficient support to its sales representatives in order to enabl~ them ·to effectively Promote the
                Products in their assigned territories. Any accounts or portions of the Territory without sufficient
                represe.atatj.on may, at NuVasive's sole discr~tion, be immediately moved to a non-exclusive status
                (notwithstanding the exclusive rights granted in Section 1.01) or removed from the Territory under
                Section 9.03.                                        ·                 ·

                        Section 5.04 Notice of Changes. Representative shall promptly advise NuVasive of (a) any
             . . changes in Representative's status, organization, ~ersoD;1161, and similar matters, (b) any changes in the

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        key personnel, organizatiO'.tl, and status of any major customers ofNuVasive in the Territory, and (c) any
        political, .financial, legi$1ative, mdustrial or other events m the ·Territory that could affect the mutual
        business·interests ofRepresentative and NuVasive, whether har~l or beneficial.
               /               .   .
               ,· Section 5.05 · Shared Services. NuVasive and Representative agree that NuVasive shall
        provide Representative with certam services relating to Representative's Promotion. of Products in the
        Tewitory ("Shared Services"). These Shru:ed Services and costs rnlated to such Shared Services are
        detailed in Exhibit D. Exhibif D may be modified, updated or supplement.ea by NuVasi.Ve from time to
        time m its sole discretion.

                 Section 5.06 Product Complaiixts. Representative shall: (a) promptly investigate and mo~tor
        all customer and/or regulatory complaints and correspondence concerning 1he use of the Products in the
        Territory and (b) immediately notify NuVasive of all such complaints and correspondence.
       .Representative hereby assigns to NuVasive all of its rights (including in.tell~ property rights), title
        and interests m and to any customer feedback with rega;rd to the Products.

                 Section 5.07 Representations: Marketing. Representative shall Promote 1he Products solely in
        accordance with the training provided by NuVasive. NuVasive shall provide Representative with
        roatketing and technical information concerning the Products as well as reasonable quantities of
        brochures, instructional material, advertising literature, pro.duct ·samples, and other Product data as
        ou'tlined in Exhibit D ("fromotional ':Mat erials"). Representative shall use only the Promotional
        Materials supplied by NuV asive in its Promotion of the Products unless NuVasive approves otherwjse in
        wiiiing, and Representative shall not add, delete, or modify any language in the Promotional Material~ in
        any manner, except for addm.g Representative's contact ID.formation. The Promotional Materials may not
        be distributed or transfemd to any thlrd party other than bona fide customers in the Territory who are
        considering ordering the Products.

                   Section 5.08 .QQmlJliance with Laws and Policies. Representative will comply with all
          applicable federal, state; local, municipal, regulatory and/or governmental agency laws, statu™,
         regulation$, edicts, guidance, 'directives, .and ordinances, includfilg, but not limited to: (a) the Social
          Security Act; (b) the Health Insurance Portability and Accountability Act; (c) all federal and state health ·
          care anti-fraud, -anti-bribery anti-kickeack and abuse laws such as 42 U.S.C. § 1320a-7b(b); (d)' the
         Federal Food,. Drug, and Cosmetic Act and its implementing regulations, (e) ·all rules, regulations, 8¢
         guidance of the FDA; (f) all  rules  and_regulations of the Center for M~care and Medicaid Services; and
          (g) applicable local, state and federal wage and hour laws, statutes, rules and regulations. Without
          limiting 'the generality of the foregoing, except fo the extent allowed by applicable law, Representative
         will make no offer, payment or other inducement (whether direcJ:ly 01· indirectly) to ID.duce the referral of
         business, the purchase, l~e or order of any item or service, or the recommending of the purchase, lease
         or order of any iteJl!. or service. Representative will comply, and will ensure its personnel carry:ing out
         activities under this A~eement comp!y, with all operating and comptiaµce policies of NuVasive,
         including the Medical Device Manufacturers Association Code of. Conduct on· Interactions witb.
         Healthcare Providers, the NuVasive Code of Ethical Bt1Siness Conduct, the NuVasive Glob'al Busil).ess
         Ethics and Compliance Program, including the U.S. Healthcare Compliance Policy Guide, NuVasive's
         Insider Trading Policy and ~ventory Management Policy (if any, relating to wide variety of inv_ento1y
      " management issues, includm.g mventory investment, accountability for inventory management (such as
         cost-sharing) and consignment inventory), as such policies may be .created, updated and provided to
         Representative from time to time, and including any applicable trahiiiig requiremen1s with respect to such
         policies. Additionally, on not less than an annual basis, Representative shall certify to compliance with
         the U.S. Healthcare Compliance Policy Guide by 'submitting a Certification of Compliance (in snch form
       · as attached hereto as Exhibit F) to NuVasive that Representative is in compliance with tbis Section 5.08
         and any other compliance tenns in this Agree.men~ in a form acceptable _to NuVasive. Representative shall
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              provide on a timely basis, to ·be determined by NuVasive, all information of Representative an.d
       /      R~presentative Affiliates to comply with the Physician Payments Sunshine Act and/or any similar state
              law. Representative shall at all times conduct its activities on behalf ofNuVasive in accordance with the
              labeling limitations on the Products, the terms of this Agreement, NuVasive's written policies and
              procedures, and ·in complian9e with applicable state and federal laws ·in effect from time to time,
              including the FDA's quality system regulations, Adverse Event Reporting System and/or current good
              ~anufacturing practice regulations and shall undertake all required compliance actioQS, includtng.
              establishing and implementing all required control and reporting procedures. Representative shall provide
              NuVasive with such information and data as may be requested by NuVasive pursuant to this Agreement.

                      Section 5.09     Competitiye Products; Non-Solicitation.

                           (a) Representative has identified in Exhibit G all products and services for which
              Representative or Representative Affiliates (cUrectly or indirectly) act as a sales representative, agent,
              employee, or similar position. Representative shall update ;Exhibit G so that it is ~omplete and accurate
              at all times and Representative agrees that failure to update Exhibit G shall constitute a material breach
              of the Agreement and may result in NuVasive exercising its rights under Section 9.03.

                           (b) Representative represents and warrants to NuVasive that, as ofthe Effective Date, it does
              not (nbr does any Representative Affiliate or any other entity or person affiliate4 with Representative or a
              Representative Affiliate) currently represent, promote, sell, solicit, or otherwise commerciali.z.e (directly
              or indirectly) any products or. services that are competitive with any NuVasive product or service
            . (including the Products).                                                ·

                          (c) During the Term and for a period of twelve (12) months thereafter, Rep~esentative and
(            Representative Affiliates shall not (i) represent, promote, sell, solicit, br otherwise commercializ.e
             (directly or indirectly) any products or services that are, inNuVasive's reasonable judgment, competitive
             with any ofNuVasive's product:; or services (including the Products) without the prior Written consent of
             NuVasi:ve, (ii) solicit, encourage, or induce, or cause to be solicited, encouraged or induced (directly or
             indirectly) any Restricted Persons within the Territory, to terminate or adversely modify any business
             relatlonship with NuVasive,' or not to proceed with, or enter into, any business relationship with
             NuVasive, nor otherwise interfern with any business relationship between NuVasive, and any Remricted
             Persons within the Territory, · or (iii) solicit or offer to work (directly ot incUrectly) or hire any of
             NuVasive's employees, agents or representatives. 'The twelve (12) month period during which the
             restrictions of this Section are applicable after the Term shall toll for any .period of fune in which
             Representative is not in compliap.ce herewith.

                           (d) If after the Effective Date, (i) NuVasive releases a new product or servic.e (including a
              new Product) that is competitive with a product or service that Representative or a Representative
              Affiliate at the time represents, promOtes, solicits or otherwise commercializes, or (ii) Representative
              acquires a new Representative Affiliate, and such Representative Affiliate is engaged in the
             .representation, promotion, sale, solicitation, or commercialization (directly or indirectly) of any prnducts
              or services that are, in NuVasive's reasonable judgment, competitive with any ofNuVasive's products or
              services (including the Products); then m each case Representative shall cease, and shall Cause its
              Representative Affiliates to cease, such activities with respect to such competitive products within ninety
              (90) calendar clays of the date such new product or service is released in the case of (i), or the acquisition
              of the new Representative .Affiliate in the case of (ii).

                        (e) Representative (i) represents, warrants and covenants that each Representative Affiliate
             engaged by. it as of tlte Effective Date or any time thereafter during the Term, will have executed an
             agreement in fom and substance sufficient to contractually obligate such person or entity to comply with
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               .the restrictions contamed in this Section 5.09 prior to ·performing any services for the benefit of
               NuVasive, or Promoting the Products or receiving any information· regarding the Products (a
               "Compliance Agreemenf'), (ii) shall cause each Compliance Agreement to .name NuVasive as an
               intended third party beneficiary with full right to directly enforce provisions necessary to comply with
               this Section 5.09, and (iii) will vigorously enforce the restrictions contained m1bis Section 5.09 and each
               Compliance Agreement at its own cost (and in the event Representative fails to adequately enforce such
               restrictions, NuVasive may do so at Representative's cost). Representative shall provide NuVasive a
               copy of each Coniplianc~ Agreement with respect to each Rep~entative Affiliate immediately upon such
               person or entity becoming a Representative Affiliate. Each Compliance Agreement shall require all sales
               representatives to comply with the terms of Section 5.08 and Section 5.09 hereof. Representative shall be · ·
               liable to NuVasive for any breaches by the Representative A:ffi.liate of the Compliance Agreement.
                             .•
                            (f) Representative acknowledges and agrees that the foregoing non-competition obligations
               are reasonable and necessary to prote~t the legitimate interests ofNuVasive, including the protection of
               NuVasive's · Confidenti~ Information. Represen1ati.ve further acknowledges and agrees tbat such
               obligations are an essential part of, and consideration fo1-, NuVasive's promises contained in tltls
               Agreement.

                       :Section 5.10    Non-Disoaragement. Representative shall not in any way disparage NuVasive,.
               its products, or its agents or employees, including, without llmitation, taking any action or roaki:ng any
               statement the intent or reasonably foreseeable effect of which is to impugn or·injure the reptltation or
               goodwill of NuVasive ot any of its agents or employees. The Parties acknowledge and agree that
               Representative shall not b!' deemed to have violated the foregoing if Representative provides truthful
               testimony pursuant to a valid subpoena or court oJ?er or as otherwise required by law.
(                                                    ARTICLEVI. .
                                  REPRESENTATIONS AND WARRANTIES OF REPRESENTATIVE

                       Section 6.01     Coroorate Power. Representative represents, warrants and covenants that: (a) it
               is duly organized and validly existing under the laws of its state of incorporation; (b) it has full corporate
               power and authority to enter into this Agreement and to carry out the provisions hereat;. (c) it is qualified
               and licensed to do business and is in good standing in every jurisdiction where· sueh qualification and
               licensing is required; and (d.) the person executing this Agreement on Representative's behalf has been
               duly authorized to do so by all requisite corporate action.

                        Section 6.02 Binding Agreement. This Agreement is a legal and valid obligation binding.
               upon the Parties and enforceable in accordance with its terms. The execution, delivery and performance
               of this Agreement by the Parties do not conflict with any agreement, instrument or understanding, oral or
               written, to which it is a party or by which it may be bound, nor violate any material law or regulation of
               any ?ourt, governmental body or administrativ~ or other·agency havjng jttrisdiction over it

                        Section 6.03 · Non-Contrayention. Representative represents, warrants and covenants that its
               performance of all the provisions of this Agreement and as an agent ofNuVasive does not and will not
               breach any agreement to keep in confidence proprietary information. knowledge or data acquired by it in
               confidence or in trust prior to its engagement by NuVasive, and Representative.agrees not to disclose to
               NuVasive any confidential or proprietai.y information pr material belonging to any previous employers or
               other entities with whom Representative has been involved. Representative represents and warrant.s that
               it has not entered into (and is not. bound by) any agreement, either written or oral, that is in conflict
               herewith or in conflict with the engagen>.ent contemplated hereby. Representative further represents,
               warrants and covenants that it will not (directly·or indirectly) engage in the development of products or
               intellectual property that are for ~e iri (or applicable to) any products or services that are competitive

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               wi1h NuVasive's products or services, and that Representative has disclosed to Nu.Vasive all relevant
               details regarding any such development aCtivity that occurred in the past.                                         /

                        Section 6.04     Debarment. Representative represents, wan'allts and covenants that neither it nor . 1
                any Representative Affiliate have been nor   are debarred, suspended, excluded or are otherwise ineligible :
               under ·section 306 of the Federal Food, Drug and cosmetic Act (as amended by the Generic Drug ·
               Enforcement Act of 1992) or are listed on any applic~ble federal exclusion list including the then-current
               (a) HHS/OIG List of Excluded Individuals$ntities · (available through the Intemet at
               http://www.oig.hhs.gov), (b) General Services Administration's List of Partj.es Excluded from Federal
               Progrl!IDS (available through the Internet at http://www.epls.gov); and (c) FDA Debarment List (available
               througb.theintemetathttp://www.fda.gov/ora/compliance_re:f7debar/).                                   ·

                        Section 6.05 Interaction with Heajth Care Providers. Representative represents, warrants and
               covenants that neither it nor any Representll.tive Affiliate have any arrangement (e.g., grants, donations,
               sponsorships, reimbursement ofexpenses, etc.) or agree~t, oral or wri~u, with a Health Care Provider,
               other than for 1he purchase of Products.. Representative will not enter into any arrangement or agreement
               with a Health Care Provider without the express prior written consent ofNuVasive's Compliance Officer
               or bis/her designee.            ·                         ·

                                                            ARTICLE VIL
                                                      INTBILECTUAL PROPERTY

                         Section 7.01 Use. SUbject to 1he terms of this Agreement, NuVasive hereby grflllts to
                Representative a non-exclusive, non-transferable, non-snbliconsable, limited, revocable license duringihe
                 Teiln to use those trademarks, service marks, logos, and trade names that NuVasive may specify to
(               Representative from time to time (''NuVasi-ve Trademarks") for use solely in connection with the
                Promotion of the Products in.the Territory pursuant to the terms of this Agreement. Represeritative shall
                have no further rights or interest in such NuVasive Trademarks. Representative shall fully comply with
                 all Written guidelines communicated by NuVasive concerning the use of the NuVasive Trademarks
                 ("Trademark Guidelines"). Should NuVasive notify Representative that the use of any NuVasive
                Trademarks violate the then in effect Trademark Guidelines, Representative shall bring such use ..into
                 conformance with the Trademiu:k Guidelines and shall provide to NuVasive a specimen of such.
                conforming use. Notwithstanding the foregoing, NuVasive, at its discretion, may terminate this
                trade.mark license if it determines that Representative is using the N"'uVasive Traderil.arks in-a manner that
                violates said guidelhi.es. Representative shall cooperate with NuVasive, at NuVasive's expense, to
                register the NuVasive Trademarks in any ju.dsd.i.ction, including executing appropriate documents and
                otherwise assisting Nuyasive. Representative will immediately bring to the attention of NuYasive any
                improper or wrongfill US6 .o f NuVasive's Trademarks, emblems, designs or oiher similar _intellec~
                property rights which come to.the notice of Representative and will in the performance of~ duties under
                this Agreement use reasonable efforts to safeg1.1ard the property rights and interests of;NuVasive. All
              · goodwill arising out ofany uses of th~ NuVasive Trademarks will inure solely to the benefit ofNuVasive.

                        Section.7.02 . Quality Control and Approval of Representations. All representations of the
               NuVasive Tiademarks that Representative intends to use (includi,ng in any catalogue or other marketing
               collateral) shall first be submitted to NuVasive for written approval (which shall not be unreasonably
               withheld)° of design, color, and other details: Representative may not mark the Products or Product
               packaging materials with its own trademarks, service marks, trade names, or logos or those of any third
               party. Nothing in this section shall lirii.it tho restriction in Section 5.07 that Representative shall only use
               the Promotional Materials supplied by NuVasive in its Promotion of the Products unless otherwise agreed
               by NuVasive in writing.


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                     Section 7;03 Property Rights. Representative agre~ that Nu.Vasive owns all right, title, and
            inter~t  in the product lines that include the Products and in all of NuVas:ive's Intellcptual Property
            relating to the design, manufacture, operation or service of the Products. The use by Representative of
            any of these property rights is authorized only for the purposes be.rein set forth, and Up011 termination or
            expiration of this Agreement such authorization shall cease.

                      Section 7.04       Prohibited Acts. At no time during or after the Term shall Representative:

                         (a) take any action that may interfere with any ofNuVasive's rights in ·or to NuVasive's
                         Intellectual Property;                                           ·

                         (b) challenge or assist others to challenge NuVasive's ownership of the NuVasive
                         Trademarks or other tight in NuVasive's Intellectual Property;.

                         (c) attempt or assist 9thers to attempt to register any trademarks, marks or trado names
                         confusingly sinu1ar to NliVasive's Intellectual Property;

                         (d) register or apply for registrations, anywhere in the world, fo~ the NuVasive Trademarks
                         or domain names or any other trademar~ or domain name that is similar to the NuVasive
                         Trademarks or that incorporates any of the NuVasive Trademarks in whole or in confusingly
                         similar part;

                         (e) use any mark, anywhere, that is coufusi.ugly similar to NuVasive's Trademarks;

                         (f) engage in any action that tends to disparage, dil~ the value of: or reflect negatively on
(                        the Product or any NuVasive Trademark;

                         (g) misappropriate anY. ofNuVasi-ve's Intellectual Property; or

                         (b) alter, obscure or remove any of the NuVasive Trademarks or any intellectual property
                         rights notices placed on the products purchased under this Agreement (including Products),
                         marketing materials or otl)er ma:terials that NuVasive may provide.


                                                            ARTICLEVID.
                                                          CONFIDENTIALITY

                    Section 8.01 Non-Disclosure. ~ch Party shall not, except as otherwise expressly provided
           herein, use, disclose, disseminate or otherwise allow access io 1he Confidential Information of the other
           Party to anyone other than to employees that have a need to know such Confidential Information to
           implement this Agreement and who are bound by written confidentiality obligations with provisions no
           less stringent than those contained in this Article VIlI. Each Party shall prevent unauthorized disclosure
           or use of the Confidential Information of the other Party.. Each Party shall execute all documents and
           otherwise sb.aU ta1ce all necessary steps to ensure that each be able to enforce rights hereunder pertaining
           to Confidential Information. Each Party shall be responsible for any breach of tbis Section 8.01 by
           employees, con:tractor1l o~ agents.                                                                         ·
                                                                     .                    .
                     Section 8.02 Ownership. As between the ·Parties, each receiving Party acknowledges and
             agrees that the disclosing Party (or its licensors) owns all rights, title and interests, including Intellectual
           . Property Rights, in and to the disclosing Party's Confidential Information.


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                    Section 8.03 Notification. If a Party learns or believes that- any person who haS had access to
            the Confidential Info1·mation of the other Party has violated or intends tp violate this ·Agreement, the
            rece~ving Party shall immediately notify the other Party and shall :cooperate with the other Party in
            seeking injunctive or other equitable relief against any sucl:l person. :

                       Section 8.04 Exceptions. Neither Parfy shall disclose the Confidential Infonnation of the
             clisclosin:g party to !\DY third party without prior written consent of the disclosing party. This obligation is
            ·subject to the following exceptions: (a) disclosure by the Parties and their Affiliates is permissible if
             ~equired by government or court order, discovery request, or subpoena in pending litigation provided that:
             (i) the Party disclosing the information first gives the other Party prior written notice in order to enable
             that Party to seek a protective order or motion to quash (or other equivalent protection), sucl:l permissible
             disclosure limited to the Confidential Information legally required to be disclosed, and (ii) any such
             disclosure is subject tp protective order, with such permissible disclosure protected under an "Outside
             Attorneys Eyes Only" or higher confidentiality designation; (b) disclosure by the Parties and their
             Affiliates is pennissible if otherWise required by any applicable securi1ies exchange rules or regulations,
             such permissible disclosure limited to Confidential Information legally required to be disclosed; and (c)
             the Parties and the.ir Affiliates may disclose Confidential Information the extent reasonably·necessary, on
             a confidential basis, to their accountants, attorneys, financial advisors, and entities with audit righill.

                     Section 8.05 Reproduction of Confidential Information. Confidential Information shall not be
            reproduced except as required to inlplement this Agreement. Any reproduction or derivative of any
            Confidential Information of th.e disclo-sing Party by the receiving Party shall remain the property of the
            disclosing Party and shall contain all confidential .or proprietary noti~ or legends which appear on the
            or~gjnal.                                                                                            ·
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'-                   Section 8.06 Equitable · Remedies. Any unauthorized . disclosure or use of Confidential
            Information by Parties shall be a material breaeh of this Agreement, and Parties shall be entitled to all
            remedies available under law or in equity, including injup.cti.ve 'relief without the need to post a bond'
            therefor.

                                                            ARTICLE IX.
                                                              TERM

                   ·Section 9.01 Tenn. Unless tenninated. earlier as provided in this Agreement; the term of this
            Agreement commences on the Effective Date, and shall continue for the period set forth in 1he ''Term of
            the Agreemenf' field of the Kev Terms Summary (the "Term").                 ·

                  · Section 9.02 Tennination by Either Party for Material Breach. If either Party materially
            breaches any provision of this Agreement, and such breach is ~ot cured within 1hirty (30) calendar days
            following the delivery of written notice of such breach by the non-breaching Party to the breaching Party
            (provided that, such 1hirty (30) day notice period shall not be required ifthe br~ch by its nature cannot be
            cured within thirty (30) days), fuen the non-breaching Party may teoninate-1his Agreement immediately
            upon delivery of written notice, and if the non-breaching Party.is NuVasive, then NuVasive shall aiso
            have the right, in its sole discretion, to modify the Territory or terminat~ Representative's exclusivity with
            respect to a Territory.

                     Section 9.03    Termination by NnVasive/Moclification ofTerritozy. NuVasive may, :in its sole
            discretion and upon delivery of written notice to Representative, modify the Territory, terminate
            Representa'ffve's exclusivify with respect to the Territory (or auy portion thereof), or terip.inate this
            Agreement.: (a) if the Ten:itory is not sufficiently covered by sufficient Representative representation in
            accordance.with the sales action plan agreed to by the Parties and delivered pursuant to Section 5.02; (b)

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                 if Representative breaches any of the provisions of Section 5.08, Section 5.09, Section 5.10, Section
                 6.04, ·Section 6.05, or S.ection 12.05 of this Agreement; (c) if Representative is in Poor Standing but only
                 if NuVasive pays Repres~tative the then-current Stated Percentage Amount for the portion of the
                 Territory that is being removed or made non7exclusive (or in the entire Territory if this Agreement is
                 being terminated hereunder); .(d) ff Representative fails to make the Infrastructure Investme~s .in
                 accotdance with .Section 5.03;. (e) if NuVasive undergoes a Change of Control, but only if such
                 termination right is exercised by NuVasive and/or i1s successor-in-interest or acquiring party at any time
                 within twelve (12) motitbs of such Change of Control, and provided further that, in. order to exercise such
                 teonination right ' under this Section 9.03(e), NuVasive must also pay Representative the Stated
                 ~ercentage Amount for the portion of the Territory that is being removed (or in the entire Territory if this
                 Agreement is bemg tenninated hereunder); or (f) ifRepresentative undergoes a Change of Control.

                          Section 9.04 Termination for Insolvency. This Agreement may be terminated by either Party
                 without notice: (a) upon the other Party making an assignment for the benefit of creditors; (b) upon the
                 other Party's dissolution or ceasing to do business; (c) if the other Party makes, applies for, or conse~ to,
                                   of
                 the appointment a trustee, r~iver or custodian for a substantial part of its property; ( d) if the other
                 Party is genemlly unable to pay its debts as they become due; or (e) if the other Party has filed against it, a
                 petition for voluntary or mvoluntazy bankruptcy or pursuant to any other insolvency law.

                       . Section 9.05     Effect of Terminations.

                              (a) Accrued Obligations. Termination or expiration of this Agreement. shall not relieve
                 either:Party of obligations.incurred prior to the effective date ofsuch termination or expiration.·

(                            (b) Return of Materials. All NuVasjve Intellectual Property, Promotional Materials,
I...            Products, designs, drawings, formulas or other data, photographs, samples, literature, sales aids of every·
                kind and NuVasive Confidential Information shall remain the property of NuVasive. Within ten (10)
                calendar days ·after the termination or expiration of this Agreement, Representative shall p.repare all such
                items in its possession for shipment, as NuVasive may !lirect, at NuVasive's reasonable expense. Upon
                termination or expi.l:ati.on of this Agreement, Representative shall not make, use, dispose of or retain any
                copies or deriV!ltjves of any NuV8$ive Confidential Iriformation in any form. Effective upon the
                temrlnatlon or expiration of1bis Agreement, Representative shall cease to use all NuVasive Trademarks.
                Representative shall comply with all requests from NuVasive regarding the return of mventory, Products,.
                Promotional Materials, samples, and other NuVasive property. For clarity, all Compliance-Agreements
                and customer relationsrups belong to· NtiVasive and shall be retained by NuVasive after termination or
                expiration of this Agreement.

                              (c) Additi.onal Comro,issions. In addition to any commissions already earned by
                 Representative but riot yet pa.id by NuVasive under the tenns of Article Il above, NuVasive Shall pay
                 commissions to Representative on all orders from the Territory that were accepted by NuVasive within
                 thirty (30) calendar days after ·the date of termination or expiration of this Agreement an<I; for which
                 NuVasive receives payment ~thin sixty (60) calendar days after the date of termination or expiration· of
                ·this Agreeme1:1t.                                    ·

                            (d) No Other Compensation. NuVasive shall not, by reason of the termination or expiration ·
                of this Agreement, be liable to Representative for compensation, indemnification, reimbursement or
                damages on account of any loss of prospective profits or anticipated sales or on account of expenditures,
                investments, leases or commitments made in connection with this Agreement or the anticipation of
                extended performance hereunder.


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                     Section 9.06 Iwatment of Representative Affiliates Upon Termination. Expil'ation or
            Modification of Territory. In the event that: (a:) th.ls Agreement is terminated or expires for any reason;
            (b) the Terl'itory is modified/ for any reason; or (c) NuV asive exercises any of its rights under Section
            9.03, then in each case: (i) NuVasive shall have the right to hire, employ, or otherwise engage any
            Representative Affiliates providing services within the Territory (or in the case of a modification, such
            portion of the Territory 1hat is removed or made non-exclusive) on terms determined by NuVasive in its
            sole cliScretion; (ii) at the-request ofNuVasive, all Compliance Agreements (or similar agreements then in
            effect) designated by NuVasive for Representative Affiliates .within the Territory (or ii}. the case of a
            modification, such portion of the Territory that is removed or made non-exclusive), as applicable, shall be
            automatically and immediately assignea. to NuVasive; and (iii) Representative shall take all other
            reasonable steps to ensure that the services of all such Representative Affiliates engaged by NuVasive are
            continued uninterrupted on behalf ofNuV:asive, including, without limitation, releasing Representative
            Affiliates from any non-compete and other restrictive covenants between Representative and the
            Representative A:fftli11te :that would otherwise restrict NuVasive from hiring or contracting with such
            Representative Affiliate. Representative shall not challenge or dispute, and waives any claim arising out
            of, the hiring, employment or eugagement of such Representative Affiliate by NuVasive as set forth in
            this Section.9.06, including assert.4lg any plaim based upon any restrictive covenants agreed to between
            Representative and such Representative Affiliate.                        ·

                     Section 9.07 Survival. The provisions of Article N, Section 5.09(c) (for the period specified
            therein), Section 5.10, Article VI, Article VIl (except for the grant qf rights and licenses by NuVasive), .
            Article VID, Article IX, Article X, Article XI (for the period specified therein), and Article X1I shall
            survive the termination or expiration of this Agreement for any reason. All other rights and obligations of
            the Parties shall cease upon termination or expiration of this Agreement.
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'·                                                          ARTICLBX.
                                                           INDBM'.NITY
                     Section 10.01 Illdemnification by Representative. Representative shall indemnify, defend and
            hold harmless NuVasive and its present and former, direct and indirect, subsidiaries, affiliates, employees,
            officers, directors, stockholders, members, agents, representatives, and permitted successors and
            pennitted assigns (each a ''NnVasive Indemnitee") from and against (a) an.y and aU Losses finally
            awarded to a third party by a court of competent jurisdiction or agreed to in a settlement approved by
            Representative that result from any Claim made or brought against a NuVasive Indemn±tee, and (b)
            subject to Section 10.03, any Litigation Costs incurred by a NuVasive Inderonitee while investigating or
            conducting the defense of any Claim, in any such case (a) and (b), solely to· the extent such Claim is
            directly based on or directly arises out of or from (i) any breach by Representative of ant of its
            representations, warranties and covenants under this Agreement; (ii) any bodily injury, death of ·any
            person or ·damage to real or tangible personal·property caused by the acts or omissions of Representative
            or any Representative Affiliate; or (iii) the gross negligence and willful misconduct of Representative or
            any Representative Affiliates, provided, however, that such indemnification right shall not apply to any
            Losses or Litigation Costs to the extent directly attributable to: (x) the negligence, reckless misconduct, or
            intentional misconduct of a NuVasive Indemnitee, or (y) a claim. for which NuVasive is obligated to
            indemnify a Representative Indemnitee under Section 10.02.

              .     Section 10.02 Indemnification by NuYasive. NuVasive shall indemnify, defend and hold
            hannless .Representative and its directors, officers, employees and agents (each a ''Representative
            Indemmtee") from and against (a) any and all Losses finally awarded to a third party by a court of
            competent jurisdiction or agreed to in a settlement approved by NuVasive, and (b) subject to Section
            lU.03, any Litigation Costs incurred by a Representative Indemnitee while investigating or conducting the
            defense of any Claim, in any such case (a) and (b), solely to the extent ·such Claim is directly based on or
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            directly arises out of (i) an: alleged manufucturing or design defe.ct in a Product or (ii). any Product
            infringing 14pon or misappropriating any intellectual property rights of such third party, provided,
            however, that such ind~mni.fication right shall not apply to any Losses or Litigation Costs to the extent
            directly attributable to: (x) the negligence, reckless misconduct, or intentional misconduct of a
            Representative Indemnitee; (y) the mod.ifictlti.on or alteration of the .Products. by or on behalf of a
            Representative Jndelll)Jitee in a manner n ot approved in writing by NuVasive; or (z) a claim for which
            Repr~entati:ve is obligated to indemnify a NuVasive Indemnitee under Seetion .10.01. If, in connection
            with any Claim, it is determined by NuVasive that Representative acted beyond its authority, or failed to
            comply with anj ·of its .material obligations 'under this Agreement, NuVasive shall be immediately
            relieved. ofits obligations to Representative under this Section 10.02.

                   . Section l0.03 Indemnification Procedure. Promptly after receipt "by a Party seeking
             indemnification under this Article X (an "lndemnitee") of notice of any pending or threatened Claim
             against it, such Jndemnitee shall give written·notice to the Party from whom the Indemnitee is entitled·to
             seek indemnification pursuant to this Article X (the ''Indemnifying Party:") of.the commencement
             thereof; provided that, the failure to notify the Indemnifying Party shall not relieve it of any liability that
             it may have to any Indemnitee hereunder, except to the extent the Indemnifying Party demonstrates that it
             is materially prejudiced thereby. The Indemnifying Party shall be entitled. to participate in the defense of
             such Claim and, to the extent that it elects within seven (7) calendar days of its receipt of notice of the
             Claim from the Indemni~ee, to ·assume control of the defense and settlement of such Claim (unless (a) the
             Indemnifying Party is also a party to such proceeding and the Indemnifjing Party has asserted a cross
             cl.ai.tn against the Indemni~e or a court has otherwise determined that such that johit representation would
             be inappropriate, or (b) the ·Indemnifying Party fails to provide reasonable assurance to th.e Indemnitee of
             its financial capaGity to defend the Tndemnitee in such proceeding) with counsel reasonably satisfactory to
(          . the Indemnitee and, after notice from the Indemnifying Party to the Indemnitee of its elei;tlon to assume
           · the defense of such Claim, the Indemnifying Party shall not, as long as it diligently conducts such
             defense, be liable to the Indemnitee for any Litigation Costs subsequently fucucred by the Indernnitee. No
             compromise or settlement of any Claim may be effected by the Indemnifying Party without the
             Indem.nitee's written consent, which consent shall not be unreasonably withheld or delayed, provided no
             consent shall be required if; (i) there is no :finding or admission of any violation oflaw or any vioiation of
             the rights of any person. and no effect on any· other claims that may be made against the Indemnitee; (ii)
             the sole-relief provided is monetary damages that are paid in full by the Indemnifying Party; and (iii) the
             Indemnitee's rights under this Agreement are not restricted by such compro~e or settlement.

                 Section 10.04 ;LIMITATION OF LIABIT.:I1Y. TO THE MAXIMUM EXTENT PERMITIED
           BY APPLICABLE LAW, NUVASIVE 'SHALL NOT BE LIABLE TO RBPRESENT.A:.TiVE OR TO
           ANY ENTI1Y OR PERSON CL.AIMING THROUGH OR UNDER REPRESENTATIVE FOR ANY
           LOSS OF PROFIT OR INCOME OR FOR ANY CONSEQUENTIAL, JNCIDENTAL, INDIRECT OR
           SPECIAL DAMAGES OF ANY KIND, WHETIIBR IN AN ACTION FOR CONTRACT, TORT, OR
           OTHERWISE, .lN CONNECTION WITH nns AGREEMENT. EVEN IF NUVASIVB HAS BEEN"
           ADVISED OF THE POSSIBJLITY OF SUCH DAMAGES. NUVASIVE'S MAXIMUM LIABILITY
           TO REPRESENTATIVE FOR ANY CLAIM UNDER THIS AGREEMENT sHALL NOT EXCEED
           THE AMOUNTS PAID QR PAYABLE TO REPRESENTATIVE BY NUVASIVE IIBREUNDER
           DURING THE SIX (6) MONTII PERIOD PRIOR TO TIIB MONTH IN WHICH THE EVENT GJYING
           RISE TO THE CLAIM OCCURRED. REPRESENTATIVE ACKNOWLEDGES THAT THESE
           LIMITATIONS OF LIABILITY ARE AN ESSENTIAL ELEMENT OF THE BARGAIN BETWEEN
           THE PARTIES AND m THEIR. ABSENCE 'IEE TERMS AND CONDIDONS OF THIS
           AGREEMENT WOULD BB SUBST.ANTIALLY DIFFERENT.

                   Section 10.05 Set-off Right. NuV asive may witbho~d payment of any amounts due and payable
           under this Agreement by reason of any set-off of any claim or dispute with Representative, whether
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               relating/ to Representative~s indemnification obligations breach. bankruptcy · or otherwise. For the
               avoidance of doubt, the withholding of payment shall not relieve Representative of its obligations arising
         ·:    under:tbis Agreement.

                         Section 10.06 Insurance. During the Term and for a period of two (2) years thereafter,
                Representative shall maintain in full force and effect the following insurance coverage of not lass than the
                following amounts: (a) General Liability. including Products/Completed Operations Liability - Two
                Million Dollars ($2,000,000) aggregate, One Million ·Dollars ($1,000,000) Bodily htjury/Property
                Damage per occurrence, One Million Dollars ($1,000,000) Personal and Advertising Injury, ·one Hunch;ed
                Thousand Dollars ($100,000) Damage to Rented Premises, Ten Thousand Dollars ($10,000) Premises
                Medical Payments; (b) Property Coverage equal to replacement value' of property owned along with extra
               ·expense coverage to cover period of    time  to replace office premises; (c) Professional Liability - One
                Million Dollars ($1,000,000) aggregate and per occUll'ence; (d) Automobile Liability for owned, non-
                owned and hired ruitos (as applicable) - One Million Dollars ($tOOO,OOO) per accident; and (e) Workers
                Conipensation sufficient to meet.statutory required benefits of the state in which your employees are
               ·domiciled; all from carrier(s) reasonably accepiable to NuVasive. On an ongoing basis,. Representative
                shall provide NuVasi.ve with one or more certificates of insurance showing that Representative maintains
                insurance in accordance witb this Section 10.06.. Such certificates shall confinn that NuVasive has been       .!
                named as an additional insured on Representative's insurance policies by endorsement to such policies
                and shall provide that there shall be no cancellation or reduction in coverage vvithout thirty (30) calendar
                days' prior written.notice to Nuyasive.

                                                           ARTICLE XI..
                                                       RECORDS AND AUDITS
(


'                        Section 11.01 Reeords and Audits. During the Term plus an additional six (6) years after i1s ·
                expiration. oi: termination, Representative agrees to maintain all records required to substantiate
               ·Representative's compliance with the provisions of this Agreement and with all laws, regulations,
                policies, procedures and guidelines related to Representative's performance of its obliga1ions under 1:hls
                Agreement, including Representative's required lnfrastructure Investment. Upon reasonable request by
                NuVasive, Representative agrees to furnish a full and deiailed statement of such records and NuVasive's
                business in the Territory. NuVasi.ve shall have the right during normal business hoiirs and upoq. thlrty
                (30) calendar days' prior written notice to audit Representative's and Representative Affiliate's records
                relative to NuVasive's business (including basic financial information of Representative) activities
                applicable to thls Agreement and verify.any Representative or· Representative Affiliate statement sent to
                NuVasive.

                                                            ·ARTICLE XII.
                                                          .MISCELLANEOUS

                        Section 12.01 Governing Law. This Agreement shall be governed by and cons1rueci in
               accordance with the laws of the State of Delaware, without giving any effect to the choice of law
               p.Pllciples thereunder. The Parties agree that the U .N. Convention on Contracts for the ~ational Sale
               of Goods shall not apply to this Agreement.                                           ·

                       Section 12.02 Disoute Resolution. Any controv.ersy, dispute or question arising out of or in
               connection with this Agreement, or related to the interpretation, performance or non-performaµce .of1bis
               Agreement or any breach hereof; shall be fully and :finally resolved by binding arbitration conducted
               before a single neutral· arbitrator from AAA in San Diego, California pursuant to the then current
               co;mmercial dispute rules of the AAA (which can be accessed at -WWW.adr.com), provla.ed, however that if
               the dispute or claim involves a Party seeking at least one million dollars ($1,0~0,000) .from the other
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         Party, then the arbitration will be conducted by a panel of three arbitrators from AAA, with one arbitrator
         chosen by each oftb.e Parties ru.:!51 the third appointed by the other two arbitrators. The arbitrator(s) shall
         permit adequate discovery. Jn addition, the arbitrator(s) shall be em.powered to award all remedies
         otherwise available in.a co~ of competent j tiriSdiction. Any judgment rendered by the arbitrator(s) may
      · be entered by any court of competent jurisdiction.' The arbitrat9r(s) shall issue an award in writing and
         state the essential findings and conclusions on which the award is based. By executing this Agreement,
       · the Parties are both waiving the right to a jury trial with respect to any such disputes. In all other
         jurisdictions the Parties shall split the costs of the arbi:trator, forum and filings fees equally. Bach Party
         shall bear its own respective attorneys' fees and ill other costs, Unless otherwise provided by law and
         awarded by the arbitrator(s). Th.is arbitration section does not include claims that, by law, may not be
         sul?ject to mandatozy arbitration. Nothing contained in this Agreement shall in any way deprive either
         Party of its right to obtain injunctions or other equitable relief from a court of competent jurisdiction,
         including preliminary relief: pending arbitration

                Section 12.03 Notices. .Any notices required or permitted hereunder shal) be given to the
                           at
       appropriate Party the address specified in the Key Ter ms Summary or at such other address as the
       Party shall specify in'writing. Such notice shall be in writing and shall be deemed given: (a) upon·
       perso~al delivery to the appropriate address; (b) if it is delivered by email, when the recipient, by an email
       sent to the email address for the sender provided in the Key Terms Swnmary or by a notice delivered oy
       another method in accordance with this Section 12.03, acknowledges having received that emru1; (c) upon
       d~livery by facsimile transmission with receipt confirmed; (d) if sent by certified or registered mail,
       postage prepaid,.tbree (3) calendar days after the date of mailing; or (e) if sent by overnight courier, the
       next business day such courier regularly m.a.kes deliveries.

              · Section 12.04 Further Assurances. On NuVasive's request, Representative shall, at its sole cost
       and e:iwense, execut:e and deliver all such further documents and instruments, and take all such further
       acts, necessary to give full effect to this Agreement

                Section 12.05 . Assignment bV'Representative. Representative may not assign or transfer this
       Agreement or assign, transfer, or delegate any of its rights and obligations under this Agreement,
       including in connection with any Change of Control; without the prior written.consent of NuVasive,
       which may be withheld, denied, or conditioned in"the· sole discretion of NuVasive. Any purported
       assignment or delegation in violation of this Section is null a:nd void. No assignment or delegation
       relieves Repr~ve of any ofits obligations under this Agreement.

                Sectipn 12.06 Assignment by NuVasive. NuVasive may assign any of its rights or delegate any
       of its obligations without notice to, or the consent of: Representative, including in connection with any
       Change of Control.                             ·

                 Section 12.07 Severability. If !lllJ provision(s) of this Agreement shall be held invalid, illegal
        or unenforceable by a court of competent jurisdiction, the remainder of t4e Agreement shall .be valid and
        enforceable and the Parties shall negotiate in good faith a substitute, valid and enforceable provision
        which most nearly effects the Parties' intent in entering into this Agreement If a court holds that the
        duration, scope, geographic range, or any ·other restriction stated in any provision of tbls Agreement is
      · unreasonable under circumstances then existing, the Parties agt'ee that the maximwn duration, scope,
        geograpbic range, or other 11'ffitiction that the eourt deems reasonable under· such circumstances will be
        substituted and that the corut"will have the power to revise any of those restrictions to cover the maximum
        period, scope, geogTaphic range, and/or other restriction permitted by law.

               Section 12.08 Modification; Wiiiver. This Agreement may not be al~red, amended or modified
       in any way except in a writing signed by both Parties. The failure of a Party to enforce any provision of
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            the Agreement shall not be construed to be a waiver of the right of such Party to thereafter enforce that
            provision or any other provision or right.

                    Section 12.09 Entire AWeement This Agreement and the exhibits hereto, as listed in the Key
            Terms Summary, represent and constitute 1he sole, :final and entire agreement between the. Parties, and
            supersedes and merges all prior negotiations, agreements and understandings, oral or written, with respect
            to the matters covered by tbis Agreement, including any prior Exclusive·Sales Representative Agreement ·
            executed by the Parties.                ·                               ·

                     Section 12.10 Counterparts. This Agreement may be executed in two or more counterparts,
            each of which shall be deemed an original and all of which together shall constitute one :instrument.. The
            Parties agree that a facsimile or electronic pdf may be executtid as ~ original.

                    Section'12.11 Advice of Counsel. Each of the Parties represent that they have had the
            opportunity to seek the advice -of counsel with respect to the negotiation and execution of this Agreement
            Represei:rtative further represents 1hat it has executed this Agreement of i1s own fre.e will and is not
            relying on counsel for NuVasive with respect to any portion of tlris Agreement.

                    . Section 12. l~ mrpretati.on. Each Pal'ty acknowledges and agrees that (a) any applicable ·ruie
             of construction to the effect that ambiguities are to be resolved against a drafting Party shall not be.
             applied in connection with the construction or interpretation of ibis Agreement or any provision hereof;
             (b) no presumption or burden of proof shall arise favoring or disfiivoring any Party by virtue of the
             authorship of any of the provisions of this Agreement;· (c) "including" (and. any of its derivative forms)
            mea.nlng Including without'limitation; (d) . ''may" means has the right but not the obligation to do
(            something and "may rtof' nieans does not have the right to do something; and (e) "will"   and   "shall" are
           . eX.pressions of coromand1 not merely expressions offuture intent or expectation.. .

                   Section 12.13 Headings. The headings used in this a~ent are for convenience of reference
            only and shall not affect the construetion of or be taken ~to consideration in interpreting this Agreement.

                     Section 12.14 No Implied Licenses. Except as explicitly set forth herein, Representative is not
           · granted any explicit or implied. licenses in tbis Agreement.




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                                                           EXHIBlTA
                                                                                                                                 /.
                                                          DEFINITIONS

            1. "AAA" means the American Arbi1ra:tion Association.

            2. ''Agreement" has the meaning set forth in the Key Terms Summarv.

            3. "Change of ControP' means any merger, consolidation or acquisition of a Party, with by or into another
               corporation, person dr entity, the llale of all or substantially all of the ·asseis of the Party, or any change
               in the ownersbip·ofmore than 50% of the voting stock a±: a Party in one or more related transactions.

            4. "Claim" shall mean any charge, allegation, notice, civil, criminal or aclministratjve clairi:J, demand,
               complaint, cause of action, suit, proceeding, arbi:b:ati.on, he~ing or investigation.

            5. "Commission" has the meaning set forth in Section 2.Ql.

            6. "Compliance Agreemenf' has the meaning set forfu. in Section 5.09.

            7. "Confidential Information" means the proprietary or· confidential information of a Party which is
               disclosed to the receiving Party, whether before or after the' Effective Date, and (a) if disclosed iri
               writing, is either marked as confidential or is known, underst.ood or reasonably ·expected to be
               confidential at the time of disclosure, or (b) if disclosed orally or in other intangible form, is either
               identified and treated as confidential at time of disclosure, or is lmown, understood or reasonably
(              expected to be confidential at the time of disclosure, or is, without limiting the foregoing, identified in
               writing and marked confidential within thirty (30) calendar days after disclosure and relates to products,
"              plans, desigris, costS, prices, :finances, marketing pJ.a.ns, business opportunities, personnel; research,
               development, lmow-how, trade secrets, inventions, blueprints, techniques, processes, algorithms)
               software progr~, schematics, designs, contracts, customer ·lists, · procedures, formulae, patent
               applications· and other information relating to the Party's business, services, processes or teclmqlogy.
               Confidential Information shall also iii.elude the terms of this Agreement Confidential Information shall
               not include information that the receiving Party proves: (i) was known by receiving Party or was
               publicly available prior to disclosure by the disclosing Party to the receiving Party; (ri) became publicly
               available after disclosure by the disclosing Party to the receiving Party tbrough·no act of the receiving
               Party; (iii) is hereafter rightfully furnished to the receiving Party by a third party without confidentiality
               restriction; (iv) was independently developed by the receiving Party without reference to, or use of, the
               receiving Party's Confidential Information; or (v) is disclosed with the prior written consent of the
               disclosing Party or as expressly authoriz.ed llllder.this Agreement.                            ·

            8.. ''Effective Date" means'the effective date set forth in the Key Terms Summanr.

            9. "Exhibtf' has the meaning set forth. in the Key Terms Smnmarv.

            10. "FDA" means the U.S. Food and Drug Admin,istrati.on.

            11'. "Health Care Provider" means the definition of"health care provider" as set forth in 29 CFR825.125.

            12. "Indemnifying :Party" has the meaning set forth in Section 10.03.

            13. ''lndemnitee" has th,e meaning set forth in Section 10.03.

            14. "Infrastructure Investments" has the meaning set forth in Section 5.03.
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            15. "Int ellectual Property" or "lntenectual Property Rights" as useclherein collectively means any an,d
                all patents, copyrights, trademarks, trade secrets, mask works, m(')tal rights, kn:ow-how or a.o.y other
             . proprietruy right, and any applications for the foregoing, under the laws of the United States, or any
                other g~vernroentaljurisdiction (including the European Union). ;

            16. "Litigation Costs" means any direct out-of-pocket costs and expenses.(including reasonable attorneys'
                fees)'.

            17. "Losses" means any claims, costs, damages, losses, liabilities, fines, p01,1al:ties, and expenses.

            18. "Monthly Statemenf' has the meaning set forth in Section 2.05.

            19. ''MVP" has· the meaning set forth in Exhibit D.

            20. "Net Sales" means the dollar amount actually received by NuVasive from a customer for the sales of
                the Product(s), less charges for shipping, handJing, :freight, taxes, C.O.D. charges, insurance, tariffs _and
                duties, cash and trade discounts, rebates; charge back payments to managed healthcare organizations,
                GPO administrative fel}s, amounts allowed or credited for returns, uncollected or uncollectable amounts,
                services, taxes :iiµposed upon the sale of the Products, and any other deductions permitted under
                Generally Accepted Accounting Principles (GAAP) to calculate net sales.

            21. ''NuVasiveJndemnitee" has_the meaning set forth in Sectio~ 10.~1.

            22. ''NuVasive Trademarks'' has the meaning set forth in Section io I .

            23. "Party" and "Parties" has the meaning set forth in·the Key Terms Summary.

            24. "Poor Standing" has the meaning set forth in Section.1,04.

            25. ''Products" means the products listed in the Key Terms Summar v. Products subject to this' Agreement
                may be changed, discontinued or added by NuVasive at its sole discretion upon thirty (30) calendar
                day's prior written notice to NuV.asive.

            26. ''Promote,'.' ''Promotional" and "Promotion," and any variants of any of the foregoing, mean those.
                activities to be undertaken by Represe.ntatiVe and its authorized personnel to solicit or~rs for,
                encourage sales and appropriate use of the Product, including contacting customers in the Territory, and
                other fo1ms of advertising, marketing, promotional ·and solicitation efforts.                 ·

            27. "Promotional l\fateriaJs" has the meaning set forth in Section 5.07.

            28. "Quota Commitments" has the meaning set forth in Section 1.03.

            29. "Representative'' means tho Representative listed in the Key Terms Summary.

            30. "Representative Affiliate" means Representative's parmers, employees, sub-contractors, sales
                persciO.nel-(whether employees of Representative or independent contractors), affiliates or agents who
                have provided services pursuant to this Agreement or have received information from Representative
                related to the Products.

            31. "Representative Indenmitee" has the meaning set forth in Section l 0.01.
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                 32. "Restricted Persons" means any ·current, former, or prospective customers, group purchasing
                     organizations, integrated health networks, hospitals, hospital groups, surgeons, physicia11s, or billing
                     scirvices with wbi~h NuVaSive.or an affiliate ofNuVasive has a business relationship.           ·       ·

                . 33. "Shared Services" bas the meanmg set forth in Section 5.05.

                 34: "Stated Percentage" equals the percentage listed in the :Key Terms Smnmau.

                 35. "Stated Percentage Amount" means the amount equal to the Stated Percentage of all Net Sales
                     generated in the Territory (or portion thereo~ as applicable) by Representative pursuant to the.
                     Agreement during tbe most recently-completed twelve month period.

                 36. "Term," has the meaning set forth in Section 9:01.

                 37. "Terms and Conditions of Sale" has the meaning set forth in Section 3.01.

                 38. "Territory" means the territories specified in Exhibit B.

                 39. "Trademark Guidelines" has the meaning set forth in Section 7.01.




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                                                          EXHIBIT B

                                          I               TERRITORY

          The following counties in the State of Florida: Flagler, Volusia, Lake, Seminole, Palm Beach. Brevard. Osceola,
          Orange, Highlands, Indian River, Martin arid St. Lucie.

          .The following hospitals in Broward County, Florida: Advanced Orthopedics, Beth Israel Surgical Center and
          North Broward General.

          The following hospital in Miami-Dade County Florida: Tue Gable Surgical Center.
                                                      .         I
          The following hospital inPotk. County, Florida: Heart of Florida Regional Medical Center.




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                                                          COI\'IMI$SIONS:

                     This J?xhibit is in<;orporate.d by. ref~ret\ce into at\d .made a. part o~· the Exclµsive Sajes
           -Repi:esentl!-ti.ve Agreeinen.t. b~~~ NuVasive and ).lepresentative. Any cap~ terms"no.t defin~d
                                                                                          a
            in. this Exhibit shall have.the meafiib.g set forth in the .Agreement. Shoilld ·eonflict arlse- between this
          · Bxlitbit and ~e AgteeUl.eht, the provi~iofl.s . of this·EXlu'bit shall QQ~tfol.

           Calendar. Year 2017 Commissions <El:'.cluging Commission foJ; MA9EC®i>todncf§)




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                          Quarterly Growth Bonus: (Pai<l on         s~me q~arter    Net
                          Sales in excess of tlie prior year (if 'any), excluding Nef
                         ·Sales ofMAGEC and'aUo raft/biOlo ics

          CaJen.dar·Y ears 2018~601!fComniissions. (Excluding Commission fo:r MAGEd® P.~ducts)



                          Osteocel Pro, Osteq_tief Plus, :Prop.el
                              • Stopldrig
                              ~   .Non.~Stocldn


                         'Alf other NuVasive '.Products .
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                         ·an et ·'Sat~. of'MAGEC and.alfo' raft/biolo · · .
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                         >"':'100% of Quota C.oniuiftnierit

                         Qnarterly .Growth Bonus (Paid,.on· same. quarter Net
                         Srtles bl excess of1lie prit1r.year (if·~ny)_, e~cluding Net
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          Calend~ Years 2~20~2021 Commissions: (Excluding Commission forMAGEc@Producfs)                              .'

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                         QTR.PT.Q.Borrlis (Paid· on Net:&tle8·froni $1, excluding
                         all Net Sal~ of~GEC. and..fillo · lift!biolo cs)

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                         >=105% ofQuoti\. Conunitment.
                         >=100% of · ota Cominitnient

                         0.uartetly Growtb Bonus "(Paid on same quarter Net
                         SaJ~. fa'excess· of . the'p.rior year Qf a))y), ex.cludingNet
                         Sales ofMAGEC and allo             Ibiolo ·cs

                         O> Calendm: ye_ar 2,017: Iii. existing accounts of Repres~tiye ttiat currently .are or
                            become 1)11. NQS. Ace:ount: !1 ~nthfy c~ssion· ,ate of 18% '!'llll be pai!f for NCS.
(                           ~odu!e configuration products and, 20% for ~ll other I9S disposBbltl$. In Qny new
                            acc.outrt of ~r~entative. wnfoh is ·or· becomes '811 NCS Actount: a monthly
                            conilllisslo~ rate of 9% will be paid for NC$ mo.dule configuration pro~ucts ~
                            ~0% for all oihe~ IOS pisposnbi~. Fpr 11ny accoun~ ~fReprQSenflif;,l:vo -which fa not
                            also an NCS A:ocowiC..a:monthly oominfasion rate of 20% will be paid for.itll 10s·
                            d$spasables. The. determination .~f "e."Xistfrig: !icco~nls" an!l "!7-~¥ atcounl:S" 9f
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                 Commissions to be pai'a .are detemii.ned by app-fyhig the ai>P:i:bpriate oonitnissioh ra~ to Net
          S~les (as descn'bed in 'Section :2..o.1 artd, Section 2.01 ·c;f{h~ Agreement). Achievement of each oftlie
          Q'tR PTQ tJ~~~ aµ~ Quartertv··Growth Bonus is deiern;tlne4 by me~qring .".Net S~les of Ptodu~t(sJ
          (exvlqding all.Net Sa{e~"<;,fMAGEC).                                                             ·

                  Sales of .Osl:eocel P1'0t 6~teocel l'lvs and ~rQpel 'shall ~nJ:y Qe deemd<l; ''Stocking.'' ~~les if
          Nu.Vasive receives n pur*ase order or valid purchase order-number for the.re8p:ective Product prior tb
          shipping s.uQl~ ,Prcxb~ct, ~- ~Y.iden.c~p by ~~V~v.e'$ actual. tecQrds (an'd ~~ ord~r is otQ..erwise ·~
          a<?CQrdan~·w.ith the requfye~ents of Section ~ .02).

                Iii tP.e ~yent tbe T~i~rY is mod;.tl~... then ihe Quarterly <1r9wth Bo11~ opp_ortqnity D,lay be
          amended or ·modified by. NllVasfve. The Quarterly Growth.Bonus will not lie reti.'qacfi"9'eiy applied

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     back to dollar one, but instead is an incremental increase to the monthly commission rate for all Net
     Sales made in a quarter that are in excess of the same prior-year quarter.

            NuVasive reserves the right to introduce
                                                .    new Products with different Commission. structures.

            Calendar year 2017 Commission for MAGEC Products

            Representative's sole compensation for procUTI?ment of orders for MAGBC Products pursuant
     to the Agreement shall be a commission of 15.0% on Net Sales ofMAGEC Products resulting.from
     Representative>s procurement .' of orders therefore .(the "MA.GEC Commission").. The terms arid
     conditions set fopth in Section 2.01 and Section 2.02 of the Agreement applicable to the Commission
     for non-MAGEC :Products shall apply to the MA.GEC Commission.

        . For the avoidance of doubt, sales ofMAGBC Products shall ·not count towards Representative>s
     achievement of the Quota Commitment or th.e determination of Representative's QTR PTQ Bonus or
     Quarterly Growth Bonus, if any.
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                                                            · EXHIBITD

                                                       SJIA.@D SERVICES..                                                     /

            NuVasivo an4 Representative agree that the fullowing Shared Services are beneficial to the efficient operation
            of their respective businesses. The Shared Services listed below are not meant to b~ exhaustive. Shared
            Services (and the costs relating to such Shared Services) may be modified, updated, added, supplemented or
            terminated in NuVasive's sole discretion with or without notice.

            Shared Service            Description

            Reciuiting        NuVasive agrees to post Representative job openings (as requested by Representative}on
                              the NuVasive.com career page, subject to certain conditions as may be communicated to
                              Representative from time to time by NuVasive. Access to this Shared Service is included in
                              the base commission paid to Representative byNuVasive and may be modified, updated,
                              supplemented or temrinated in NuVasive's sole discretion with or without notice.

            Stafftrai.Wng     NuVasive agrees to provi:qe Representative and its personnel with product., sales and
                              profes8ional 4evelopment training programs and materials related to the Products as set
                              forth in the Sales Training Course Catalog attached heJ:eto as Exhibit E, which Exhibit E
                              may be modified, updaied or supplemented by NuVasive from time to time. Representative
                              agrees (a) that all of its applicable employees and contractoni engaged in Promoting or
                              otheI'Wise soliciting orders for the Products will complete NuVasive's sales training co~rses
                              and program as outlined in Exhibit E within the timelines set forth therein, and (b) to
                              implement a sales training plan agreed upon by Representative and NuVasive's sales
                              management that makes foll use of NuVasive's training courses and provides regular and
                              thorough training to Representative's entire sales team. Representative shall sign all
                              certifications con:fimring its applicable employees' and contractors' COJJ?..pletion of such
                              trauling, as may be requested by NuVa$e. Access to this Shared Service is included in the
                              base commission paid to Representative by NuVasive. Representative agrees to ·pay all
                              cOsts for Representative and Representative Affiliate travel relating to staff training.

            Data analytics    NuVasive agrees to provide Repl'esentative with. data analytics support (e.g. (>ales
                              performance, customer segmentation, competitive lrlring modeling quota workbooks).
                              Access to this Shared Service is included in the base commission paid to Representative by
                                                                                                                  s
                              NuVasive and may be modified, updated, supplemented or ter.riiinated in NuVasive' sole
                              discretion With or without notice.

            Software          NuVasive agrees to provide Representative with required licenses to access NuVasive
            licenses          systems (e.g. CRM, SAP, Tableau). Access to this Shared Service is included in: the base .
                              commission paid to Representative by NuVasive. NuVasive may modify, update,
                              supplement or terminate Representative access to such NuVasive systems in its sole
                              discretion with or without notice.

            IT help desk      NuVasive agrees to provide reasonable IT help desk support for NuVasive systems. Access
                              to this Shared Service is included in the base commission paid to Representative by
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                              NuVasive and may be modified, updated, supplemented or terminated in NuVasive's sole
                              discretion with or without notice.                                             .
              Promotional     NuVasive shall provide Representative with marketing and technical information
              Materials       concerning the Products as well as· reasonable quantities of brochures, ins~uctional material,
                              advertising literature, product samples, and other Product data at Representative's cost.
                              Access to this Shared Service may be mo4ified, updated, supplemented or tenn.inated by
                              NuVasive in its sole discretion with or without notice.

              Market           NuVasive may provide market development team resources to Representative to support
              development     various initiatives, !J:iclud:ing, but not limited to, new surgeon conversion, market
              team suppott    penetration, clinic~ training and new product launches. Representative 3;11d NuV8.sive agree
                              to share in market development team costs as detennined on a case by case basis by
                              NuVasive in its sole discretion. Access to this Shared Service may be modified, updated,
                              supplemented or tenninated in NuVasive's sole discretion with or without notice.

              MVP             Representative agrees to meet NuVasiw's requirements for attendance and participation in
              participation   NuVasive's Marquis Visit Program ("MYf.") as communicated by NuVa'live to
                              Representative from tim~ to time. Represenktive and NuVasive agree to share in MVP
                              training costs ns determined by NuVasive in its sole discretion. Access to this Shared
                              Service may be modified, updated, supplemented or terminated inNuVasive's·sole
                              discretion with or without notice.
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                                              EXH1BITE
                                   SALES TRAINING COURSE CATALOG


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                                                  ~
                                               Sales Training
                                            Course Catalog 0628




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                            FORM OF CERTIFICA,TION OF COMPIJ.ANCE
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                                    EXBIBITG

              OTBER:PRODUcts/SERVICES SOLICITED, SOLD OR MARKETED BY
                  RE:PRESENTATIVE OR REPRESENTATIVE AFFILIATES
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                                            TEBlU.TORYTRANSl'l'lON AG'.RJBMBNT

                     ~ 'l'Emu'tOln' TRANMT!ON A:GREm.:mNT (the '"I'tansidon Agteement'ry, ~ entered itlfO
                11s of A~t 11, 2017 ancl ls effective as of)\l\y 1, 2017(the 1.,,.A Bffec~ D11te"')1 by ~<l between
                NUVASIVB, INC., 11 Dclawru:c corpot'lltion (''NuVasive"), and .ABSOLUTE MEDICAL LLC, a Flodda
                !United liability i:otnpmy (on behalf of itself, It.s ii..fflliated entltl~s and its employees, offlc.exs:, agen~
                and tepte~ta:tiv-cs, ''Rqm~sentathre"). Repres.enmtive and NuVaSive 4te tcferrcd to he.rein
                individuilly as a ''Party1' and c:olleetivcly " the ''Patties".

                                                                B~ckground


                     W'lmlmM, the Parde$ b~vi:. eitrored l11to thit liC!Wn Excl\lslv~ Sales Repi:escnta.ti'Vc J\stee.men.t
                 dat~d Jaruw:y t, .201.7, as wended £tom time to ~(the "Sal.es .Agce.emen~); and

                     WHEREAS, the Patties desire to teduoc the Teu:itory (as defined in the Sales Agmemcnt) 1n c:crtain
                respects.

                     NOW, THEREFORE, In consideration of good and valuable comidem:ion, the .i:eccipt and
                sufficiency of which :u:e hereby admowlcdged by each of the Pru:ties hereto, NuVasive and
                lleptese.nt.ative agteo a& follows:


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                1.   Definition&~ Ct\pitnli%cd tenns not otherwise defined in thls Ttamllioti .Agt:~ent shall have the.
                     meanings Qiven !lo them in the Sales Agreement.

                2. Tettit<>ty Transition:

                     (ll)   Upon the IT.A. Eff~ctive Date, Rep~eawive sh2ll transition rhe business conducted by
                            Represen~ve in the taritm:y set forth on .Annex I attnched hereto (the "Reduced
                            'r«ti:totf'? to Skyw.ay Surgica~ Inc. (oi: its afiillatcs) (the 11Transition1'). Rcpmeotative will
                            cease actlng as I\ di:>ttt'buto.r/ngcnt .fut NuVasive in the Reduced Tcnito.ty as of the TIA
                            Effective Date.

                     (b) In order to. effec.twtte the to.re.going and     to .remove such Reduced Tettitory from the
                            ''Tetritoty" under the Sales .Agreement, the Parties agree that; as of the TL\ Bf'fcct:We. Date:

                            {f)    "E'XhibltB, Tuttltcn:y'' ro the Sales Agreemenr, shaU be amended and restated in its
                                   entirety as set fo.rlh on AnnelC Il atw:hed heteto; and

                            (ii)   ~ rtfoi:enees ill the Sales Agreement to, the "Teuitoty"shall tnCIUl the "'Teuitoi:y'' :as
                                   provided in such mlended and i:estmed Exhlnit _B set fotth on Annex ll.

                S. Consiclet11tion1 In considet1ttion of the covenants, te1tD5 1111d conditions set forth hetein and fol!
                   the transfer of tho tusto.mer-.re!ationsb.i_ps, tile refease of the &tka Reps (set fo.tth ixl Scotfon 7) and
                   othe.t goodw~ associ~tcd with Rcprcscnt.ative'! business that is a ma~ piu:t of the value of the
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                   Transition, NuVasive shall make a payment to Representative on or prior to August 25, 2017 in an
                   itmount equal to $636,403.

               4. Additional Payment under Sales Agreement: NuVasive shall make a payment to
                  Reptescntative of previously defected commi~sions under the Sales Agreement on or prior to
                  August 25, 2017 in o.n amount equal to $40,792 Notwithstanding the foregoing, this payment of
                  deferred commissions shall not be construed as a wniver by NuVasive with respect to any other
                  term, provision, or condition of the Sales Agreement, including but not limited to Section 202
                  (Basis of Commission) and Section 2.04 (Commission Charge Back). NuVasive shall h1we the right
                  to defer future Commissions in accoxdancc with the Sales Agreement.

               5. Amendments to Sales Agreement:

                   (a)   Stafld P11nnt11.g1 Liiier Agm1J1e11t. The Pru:ties shiill execute the Stated Percentllge Letter
                         Agreement attached hereto as Annex Ill as of the date hereof; and

                   (b)   Q11ota 11nder lht Sa/11 At,rm"4nf, The Parties shall execute the Revised Quota Letter :Htached
                         hereto as Annex IV as of the date hereof.

               6. Transition Activities: The Parties hereby agi:ee to undertake the following activities on ot prl.ot
                  to August 25, 2017:

I                  (a)   Rtl11nt ofJnvmtory i11 the Reduad Tenitory. Any and a.11 Products that NuVasive has supplied to
(
\.                       Repi:esentative for ~e in the Reduced Tctritory which have not been sold to third parties
                         shall be promptly retumcd by Representative to NuVasive in full saleable condition, but
                         sh11ll rem:Un in· the custody of Representative's sales and/ or service personnel in the
                         Reduced Teuitory that transition to Skyway Surgical, Inc, (or its affiliates).

                   (b)   B1uim.11 P!a11. Representative shall pxepare and furnish to NuVasive    business plan that
                                                                                                            11

                         accurately sumrnuizes all of Rcptcsentative's existing business, customers, employees
                         and/or agents, commission plans, and other pertinent matters related to serving as the sales
                         representative for Products in the Reduced Territory.

                   (c)   Meelingr. Representative shall meet with NuVasive's Leader, U.S. Commetcia~ and/or Sales
                         Vice Presidents, at such times and places as reasonably requested thereby, to provide
                         advisory services regarding the Transition; prooitled, ho111e11er, that, if any such meeting is
                         outside of the Reduced Territory, then any reASonable and related transportation and
                         lodging costs shall be at the expense of NuVasive.

                   (d)   A11t1011ntt111111f1. Representative agrees to conduct any and all messaging rega.tding the
                         Transition only as authorized and directed by NuVasive's Leader, U.S. Commerdal, and/or
                         Sales Vice Presidents (it being understood that at no point shall Representative disclose the
                         .financial teuns bcxeof).

               7. Release of Siales Rcptesentadves: Effective as of July 1, 2017, Repre.s cntative hereby xeleases
                   Casey Gameto, Matt Camero aod Evan Menjivar (the "Sales Reps") from all restrictive covenants
                                                                                                                             Page2of7
                                                                          (i11r/11ding lh1 1ig11d/11ttp111,11 b11/ 1xtl11dirig di/ 1xhlbits)
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                       as between such Sales Reps and Representative solely with respect to NuVasive's or Skyway
                       Surgical, Inc.'s (or its affiliates) ability to employ or contrnct with the Sales Reps apd agrees to ttke
                       all other actions necessary for NuVasivc or Skyway Sucgica~ Inc.'s (or its affiliates) to employ or
                       contract with such Sales Reps. Representative hereby covenants and ngrecs to take all such actions
                       and to execute all such documents as may be reasonably necessary to implement the provisions
                       and intentions of this Section 7 of this Transition Agreement.

                  8. Restrictive Covenants. During the Term (as defined in the.Sales .Agreement) and for a period of
                     twelve (12) months thereafter, Represenmtive and Representative Affiliates not released by
                     Representative pursuant to this Transition Agreement shill not solicit, encourage, or induce, or
                     cause to be solicited, encouraged or induced (directly o.i: indirectly) any Restricted Persons within
                     the Reduced Territory, to tenninate or adversely modify any business relationship with NuVasive
                     or its affiliates, or not to proce.e d witl1, or enter into, any bunness relationship with NuVasive oi:
                     its affiliates, nor otherwise interfere with an}' business relationship between NuVasive or its
                     affiliates, and any Restricted Persons within the Reduced Territory.

                  9.   Reladonship. The relationship of Representative to NuVasive shall continue to be that of an
                       independent conttactor. Representative understands and 11grees that it will not be an employee of
                       NuVasive ender this Transition Agreement and that no employer-employee refationship will exist
                       between Representative and NQVasive on account of this Transition Agreement. Furthe.tmore, this
                       Txansition Agreement shall in no way rendcx Representative a partner, agent of, or joint venture
                       with NuVasive for any purpose.
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\                 10. Taxes. Representative shall be solely responsible for payment of all taxes, interest, or penalties
                       resulting Crom any and all amounts paid hereundct. NuYasive shall not be responsible for
                       withholding ta.'<CS with respect to any compensation Representative receives under thls Transition
                       Agreement. Rcprescnt11tlve shall hllvc no claim against NuVasive under this Transition Agi:cement
                       o.i: otherwise for vacation pay, sick leave, retirement benefits, soc~! security, workers'
                       compensation, l1calth or disability benefits, unemployment insurance benefits, or other employee
                       benefits of any kind arising out of this Transition Agreement.

                  11. Strict Confidentiality. Representative acknowledges and agrees that (a) the terms and conditions
                         of thls Transition Agreement are sttictly confidential and proprictu:y as .related to NuVasive's
                         business, and (b) disclosure of such terms could cause mate!ial harm to NuVasive's. business.
                        Accordingly, Rcprescnutive, as a material inducement to NuVasivc's. willingness to enter into this
                        T.cans.itlon Agreement, hereby agrees to refrain from disclosing, or causing to be disclosed, any of
                         the tetms of this Transition Agreement to any third party or (111ducling other employees,
                         consultants or members of NuVas.Ive's sales team); providuil, however, that the foregoing shall not
                         prohibit (~ .Reprcscntatl\'e from making confidential communication with its legal or financial
                       . counsel, or (u) the Parties from generally disclosing - consistent with the tenns and conditions of
                         this Transition Agreement (and without any .reference to associated compensation) - that the
                        Transition has occurred.

                  12. Waiver and Release of Claims Relntlng to the Reduced Territory. As considemtlo'? for the
                      conditions, · commitments And all obligations contained herein each Part}' hereby .releases And
                      forever discharges the other Party, including any officers, directors, employees, agents,
                      reprcsenrntives, affiliall!s, successoxs, predecessors, attorneys Md assigns, whether past, present or
                      future, from any and all manners of action, causes of action, su.its, debts, lossC3, liabilities,

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·,.,                                                                             (i11r/udh11. 1h1 Jigflal11n p11g11 b11l 1xt/J1dl11g all txhibit;)
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                      obligations, liens, sums of money, accounts, bonds, bills! covenants, -contxacts, controversies,
                      ngrcctncnts, promises, damages, expenses, clnlms and demands, of any nature whatsocvei:, kllown
                      or unknown, suspected or unsuspected, fixed or contingent, in contract, toxt, statute, law, equity or
                      otherwise, which a Party had or have, upon or by reason of any fact, matter, cause or thing
                      whatsoever, arising out of or relating to the Reduced Teuitocy.

                      Each Party understands that it may Inter discover claims or facts that may be different from, or in
                      l\ddition to, those that it now knows or believes to exist regarding the subject mimer of the release
                      contained in this Section 12, aud which, if known nr the time of si£,'11ing this Transition Agreement,
                      may h:we m.'\terially affected this TL"ansition Agreement and such Paity's decision to etlter into it
                      S\od grnnt the relcS\se contained in this Section 12. Nevertheless, ench Party intends to fully, finally
                      and forever settle :1nd rclCllse all claims that now e:dst, may e:<lst or previo\1Sly existed, as scr forth
                      in the relense conrnined in this Section 12, whether known or unknown, foreseen or unforeseen, or
                      suspected or unsuspected, nnd the release given herein is and will rcmnin in effect ns a complete
                      release, norwithstanding the discovery or c:dstcncc of such additionl\I or different fac~. Each Party
                      hercbr wnivc:s anr right or claim rhar might nrisc ns n re~ ult of ~uch tlifferl!nt or additional clnims
                      or facrs, E11ch Party hns been mn<lt aware of, and underNtnnds, the provisions of California Civil
                      Code Section 1542 ("Section 1542''· which provides:

                             "A general release docs not e.xtend to claims which the creditor does not
                             know or suspect to e:idst in his ot her favor at the time of executing the
                             release, which ff known by him or her must have materially affected bis or
                             her settlement with the debtor."
,(
                      Each Party expressly, koowingl}' and intentionally wah•es an)• and all rights, benefits and
\
                      protections of Section 1542 and of an}' other state or federal stal\lte or common law principle
                      limiting the scope of a general rclense.

                      For cladty, no thing in rlus Section 12 shall be deemed to be it waiver ot release by Represcntittivc
                      of any rights to payments undei: thls Transition Agreement.

                  13. Governing Law; Arbitration, TI1is Transition Agxcemcnt is effective ns of the TIA Effective
                       Dare and shall be governed, construed and enforced in all respects solely and exclusively under
                       the laws of the State of Delaware, wirhout giving any effect to the choice of law principles
                       thereunder. The Parties agxee thnt the U.N. Convention on Contracts for the lntetnational Sale of
                       Goods shall not apply to this Trnnsition Agreement. Any controversy, dispute or question arising
                       out of or in connection with this Transition Agreement, or related to the interpretation,
                      performance ox non-performance of this Transition Agreement or any breach hereof, shall be
                       fully and finally resolved by binding arbitration conducted before a single neutral ub.itr.ator from
                      AAA ·in San Diego, Califom.ia pursuant to the then curi:ent commercial dispute rules of the AAA
                       (which can be accessed at www.adr.com), provided, however that if the dispute ot claim involves
                      a Party seeking at least one million dollars ($1,000,000) from the other Party, then the arbitration
                      will be conducted by a panel of three su:bltratoxs from AAA, \vith one arbitrator chosen by each
                      of the PP.Cries nnd the third appointed by the other two arbitrators. The arbitrator{s) shall pennit
                      :1dequate discovery. In addition, the arbitrator(s) shall be empowered to 11wa.rd all remedies
                      otherwise available in a court of competent juxisdictio~ Any judgment rendered by the
                      arbittator(s) may be entered by any court of competent jurisdiction. The arbitrator(s) shall issue
                      11n award in writing and state the essential findings and conclusions on which the aw11rd is based.

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                      By executing this Ti:ansltlon Agreement, the Parties 111'.e both waiving the nght to a jury trial with
                      respect to any such disputes. In all other jurlsdicdons the Parties shall split the costs of the
                      arbitrator, forum and filings fees equally. Each Party shall bear its own respective attorneys' fees
                      and all othet costs, unless otherwise provided by law and awarded by the arbitrator{s). This
                      arbitration section docs not include claims that, by law, may not be subject to mandatory
                      arbitration. Nothing contnined in this Transition Agreement shalt in any way deprive either Party
                      of its.righ t to obtain injunctions or other equlmble relief from a court of competent jurisdiction,
                      including preli.tni.nary relief, pending arbitration.

                  14; Assignment: NuVasivc may assign this TrAflsition J\gteement, any of its rights hereunder or
                      delegate any of its obligations hereunder without notice to, or the consent of, Representative.
                      Representative may not assign or transfer thls Transition Agreement or ii.ssign, tl:ansfer, or delegate
                      any of its rights and obligations under this Transition Agreement without the prior written consent
                      of NuVasive, which may be withheld, denied, or conditioned in the sole discretion of NuVasive.
                      Any purported assignment or delegation in violation of this Section is null and void, No
                      assignment or delegation relieves Representative of any of its obligations under this Transition
                      Agreement. .

                  15. Severability: If any p.tovision(s) of this Transition Agreement shall be held inv~lid, illegal or
                      unenforceable by a court of compcte.o.t juilidiction, the ccmainder of the Transition Agreement
                      shall be valid and enforceable and .t he Parties shall negotillte in good faith a substitute, VAlid and
                      enforceable provision which most neRrly effects the Parties' intent in entetlng into this Transition
(
                      Ag.rcetnent. If a coutt holds that the duration, scope, gcogr.aphlc i:angc, or any other restriction
\                     stated in any provision of this Tnnsition Agreement is unreasonable under circumstances then
                      existing, the Patties :igree that the maximum dura.tlon, scope, geographlc range, or other restriction
                      that the court deems reasonable under such ci.i:cumstances will be substituted and that the court
                      will have the power to revise any of th9se restrictions        to cover the maximum period, scope,
                      geographic range, and/ or other restriction permitted by law.

                  16. Advice of Counsel: Each of the Parties represent that they have had the opportunity to seek the
                      advice of counsel with respect to the negotiation and cxe~ution of this Transition Agreement.
                      Rep.rescntarivc further represents that it has executed this Transition Agreement of its own free
                      will and is not i:elying on counsel for NuV11sive widi tespect to any portion of this T r11nsition
                      Agreement

                  17. Interpretation: Each Party acknowledges and agrees that (a) any applicable rule of construction to
                      the effect that ambiguities are to be resolved against a drafting Party shall not be applied in
                      connection with the CO!IStruction or interpretlltlon of this Transition Agreeinent or any provision
                      hereof; (b) no presumptlon or burden of proof shall arise favoring or disfavoring any Party by
                      virtue of the autho.cship of any of the p rovisions of this transition Agreement; (c) "including"
                      (and any of Its dcrlvatlve forms) meaning including without limitation: (d) "may" rneans has the
                      right but not the obligation to do something and "may not" means docs not have the right to do
                      something; and (e) "wlll" and "shall" ate expressions of command, not merely expressions of
                      future intent or expectation,                                 ·



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                 18. Counterparts; Execution: Thh Tr1msition Agreement lllllY be signed in two or more
                     countcxpam, all of which togedlcr shall con$tltute one and the same agreement, binding on the
                     Parties as if each had signed the Slime document. Signatures to this Transition Agreement may be
                     made via electronic signature (.pdf fom111t included).

                 19. No Other Modifications: Except as expressly modified her.ein, the terms of the Sales Agreement
                     will remain in full force nnd effect.

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                           This TilRR.lTORVTRANsmoN AGREm.ifiN'r is emeted inw md binding opc>.n tho Patties as of
                       the TfA Effecr.ivc Date:



                        NUVASIVE,INC.                                  M!SOLUTB MEOtCAL LLC




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                                                                           ANNBXI

                                                                      Reduced Terrltoiy

                         The Reduced Teccito.ty shall constirute the following:

                             •    The following medical centers and hospital ln Brevard County, Florida: Wucsthoff Medical
                                  Ce1\te.c Melbourne; Holmes Regional Medical Ccntcr, and Palm Bay Hospital;

                             •    Indian River County, Florida;

                             •    Martln County, Florida;

                             •    Palm Beach County, Florida;

                             •    St. Lucie County, Florida;

                             •    The Gable Sutgicnl Center located in Miatnl-Datc County, Florida; and

                             •    The following hospitals in Broward County, Florida: Advanced Orthopedics, B'cth Israel
                                  Surgicfll Center 1111d North Browiu:d Geneml

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                                                             ANNBXII

                The co~tcnt of chis ANNEx II is incorporated by reference into ;ind completely amends and testates the
                content set fonh in E."<hibit B to the Sales Agreement as follows:




                                                           TERRITORY

                    •   The following counties in the State of Flotida: Flagler, Volusia, Lnke, Seminole, Osceola,
                        Orange, Highlands;

                    • ·n\o county of Brevard in the State of Flodda, excluding Wucsthoff Medical Center
                      ·Melbow:ne; Holmes Regiond Medical Center, and Paln1 Bay Hospital;*

                    •   The following hospital in Polle County, Florida: Heufof Florida Regional Medical Center.

                *For clarity, the Territory shnll include WuesthoffMedical Center Rockledge."




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                                                                      ANNEX III

                      August _ , 2017

                      Absolute Medical, LLC
                      382 Devon Place
                      Heathrow, FL 32746
                      Attn: Greg Souflerls

                      Re: Stated Percentage Amount

                      Dear Greg,

                      Reference is made co the Exclusive Sales Representative Agreement, by and between NuVasive, Inc.
                      and Absolute Mcdica~ llC, effective as of January 1, 2017; as amellded from ti.me to time (the
                      "Agreement"). Capitalized terms used in this letter but not otherwise defined shall have the meaning
                      ascribed to such terms in the Agreement

                       Pursuant to the Key Tc.ans Summary under the Agreement, the Stated Percentage is defined at 10%.
                       The parties hereby agree that the StAted Percent11ge under the Agreement shall be inctefl.sed from 10%
                       up to a llll\Ximum of 14o/o upon the achievement of growth in the Territory (as amended pursuant to
                       that catain TcuitoryTransition Agreement dated as of even d11te herewith) pursuant to the following
                     · formula:
(                                  Effective as of January 1, 2019, the "Stated Percentage" shall equal the 2018
'                                  Growth Modifier.
                                   1l?htre:
                                   "2018 Growth Modifier" =
                                       If 2018 GP < 12%, then 2018 Growth Modifier= 10%;
                                       If 2018 GP     ~   12%, then 2018 Growth Modifier:::: 11 %;
                                       If 2018 GP ;::::: 14%, then 2018 Growth Modifier= 12%;
                                       If 2018 GP 2 16%, then 2018 Growth Modifier= 13%;
                                       If 2018 GP     ~   18%, then 2018 Growth Modifier= 14%;
                                                                                               )
                                       Defined Ttm11for 2018 Growth Modifierfom111/a:
                                              NS t 8 =Net Sales in the Territory in calendar year 2018.
                                              NS17 =Net Sales in the Territory in calendar year 2017.

                                                              NS18 -NS17
                                              2018 GP=          NS17




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               Plc:ase confwn your acknowledgment Mel ngreement to be bound by this letter agreement by
               countersigning below nnd sending a copy of the snmc back to my attention. For ckrity, other tha.rt with
               respect· to nmending the Stnted Percentngc undei: the Agreement; di other tettns and provisions of the
               Agreemcn~ remoi.n in effoct without modificntion.




               Sincerely,




               NuVMive, Inc,




                                                                                                                         I
               Agteed and Acknowledged:

               Absolute MedicRl LLC
                                                                                                                         I
                                                                                                                         I
(
'              By:_   _ _ _ _ _ _ _ __
                   Greg Soutletis .
                   Authorized Signatory
                                                                                                                         I
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                                                                  ANNBXIV

                     August_, 2017

                     Absolute Medical, LLC
                     382 Devon Place
                     Heathrow, FL 32746
                     Attn: Greg Soufleris

                     R e: Revised Quot.a for Q3 2017 and Q4 2017

                     Deru: Greg,

                     Reference is made to: (a) the Exclusive Sales Representative Agreement, by and between NuVasive,
                     Inc, ll!ld Absolute Medical, LLC, effective as of January l, 2017, as amended from time to time
                     (the "SaJes Agreement"), and (b) the Territory Transition Agreement, by and between NuVasive,
                     Inc. and Absolute Medicru, LLC, effective as of }uly l, 2017 (the "Transition Agreement").
                     Olpitalized terms used in this letter but not otherwise defmed slull have the meaning ascribed to such
                     terms in the Sales Agreement.

                     In connection with reduction in Territory pursuant to the Transition Agreement and in accordance
                     with Section 1.03 of the SRles Agi:eeroent, the parties hereby agree thnt the Quota Commitment for
                     the Territory as of the date hereof shall be as follows:
(
\                                                    P eriod                       Quota Commitment
                                       July 1, 2017 - September 30, 2017                $2,345,760
                                     October 1, 2017 - December 31, 2017               . $2,576,080



                    Please confirm your acknowledgment nnd ngreement to be bound by this lettei agreement by
                    countersigning below And sending a copy of the snme bnck to !Tl}' Attention. For clarity, other than with
                    iespect to amending the Stated Peicentnge under the Agreement, nil other terms and provisions of the
                    Agreement remain in effect without moclification.
                    Sincerely,



                    NuVasive, Inc.


                    Agreed and Acknowledged:

                    Absolute Medical LLC


                    By.._•- -- --           -   -   ---
                        Greg Soufleris
                        Authorized Signatory
(
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                               '.EXCLUSIVE SALES REPRESENTATIVE AGREEMENT

              This EXCLUSIVE SALES REPRESENTATIVE AGJlliBMBNT (the ~·Agreement") is entered
      into effe~ve as of F~bnJary li, 2013 (''Effective Date") by and between NuVasive, Inc., a Delaware · .
      corporation with principal offices at 7475 Lusk Boulevard, San Diego, CaHt'omia 92121 ("NuVasive"),
      and Absolute Medical LLC, a Florida limited liability corpora~ion with a principal place of business at
      213 Villa Di Este Terrace# 105, Lake Mary, Florida 32746 ("Representative") (each a "Party" and
      collectively ''the Parties").

       1.        DEFINri'IONS

                      1.1 ''Products'' means those products listed in Exhibit A attached hereto. Products subject to
             this Agreement may be changed, discontinued or added by NuVasive, at its sole discretion, so long as
             such change, discontinuation and/or addition similarly affects, or would otherwise put Representative
             in line with, the product offering for other s.imilarly situated sales representatives of NuVasive; Such
            .change, discontinuation and/or addition shali be effective thirty (30) days after deiivery by NuVasive
             to Representative of a new Exhibit A.

                     1.2 "Terrltoty'' means the geographic areas and/or specific institutions listed on Exhibit B
            hereto. The Territory may be increased or decreased by agreement of the.Parties in writing~ NuVasive
            may, in its sole discretion, decr~se the Territory if (i) the Territory is not sufficiently covered by ·
            sufficient representatlon in accordance with the.sales action plan agreed to by tbe Parties and deliv¢red
            pursuant with Section.6.4, (ii) Representative is in violation of Section 6.12, 6.14 or 6.15 of this .
            Agreement, (iii) Representative is in Poor Standing, or (iv) NuVasive pays Representative an amount
            equal to the then-current Stated Percentage with respect to the s!iles generated (based on either the
            sales generated in the prior calendar year or the twelve (12) months following decrease in Territory, as
            detennined in the sole discretion ofNuVa.sive) in the portion of the Territory that is being decreased
            from Representative.

      2.         APPOINTMENT AND AUTHORITY OF REPRESENTATIVE

                     2.1 Exclusive Sales Remesentative. Subject to the terms and conditions herein, NuVasive
            hereby appoints llepresentative as NuV asive's exclusive sales representative for Products in the
            Territory, and Representative hereby accepts such appointiµent. Repr~entative's sole authority shall
            be to solicit orders for Products in the Territory in accordance with the terms of this Agreement
            Representative shall not have tbe authority to make any commitments whats·oever on behalf of
            NuVasive.                                                                       ·

                    2.2 Territorial Limitation: Representative $hall not, directiy or indirectly, (i) advertise or
            promote any Products outside the Territory; (ii) solicit or procure any orders for Pl'oducts from outside
            the Territ9ty; or (iii) otherwise act as NuVasive's represe"1tatiYI( with respect to the Products· outsjde
            the Territory, without the prior written consent ofNuVaslve. Repres.entative.may only submit and
            procure orders from customers loc;ated and taking d~livery of Products within the Territory.
            Representative shall maintain sufficient representation in all spine hospitals and clinics in the Territory
            and shall promptly replace any sales representatives that leave Representative's orga!liz.ation while the
            Agreement is in force. Any accounts or portions of the Territory w.ithout sufficient representation may
            at NuVasive' s discretion be moved to a non-exclusive status (notWithstanding Section 2.1) or removed
            from the Territory~

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                     2.3 Independent Contractors. The relationship of the Parties established by this Agreement is
           that of inde,petldef\t contractors,, and nothing qQntained 'in this Agreement shall \je construed t'o (i) give
           either Party the power to direct ~d control the 4ay-to-day acfivities 'o f the other Party, (ii) constitute
           the Parties as partners,joint venturers, co-owners or otQerwise as participant~ in a joint undertaking, or
           (Iii) allow Represenfative to create or assume any ebllg!ltion on behalf ofNuVasiv~ fol'. any p·urpose
           whatsoever. All financial a11d other obligations as5ociateci with each Party's b.usiness and itS
           performance ·o f obligation~· ull.der 1:bis Agr~ro.ent are th¢ ~Ole rQspqnsil;iility of the respectfv.e Party.
           Each Party shall be solely responsihfe for, and shall indemnify and hold the other Party free and
           harmless from, any .and (Ill claims.. actioll$, pro~edings, !iatnages, liability, costs artd expense
           (including reasonable attorneys' fees) arising ouf of the a~t.<: of its employ~ or its agents. For the
           avoidance of doubt, with respect to its sales representatives, Representative shall be solely responsible
           for hiring, promoting, dischargi'11g, scheduling appointr!).ents1 estiiblishing P!lY s:cales an(!/or pther
           remun~ration, remunerating, r.eimburslng for work-related.expenses, implemQnting discipline and any
           other action directly related·to the emplo)'Ulent of such sales tepresentadves.

                      2.4 Conflicts of ~nlerest. Reptesentative represents and warrants to NuVasive that it does not
            (nor does any entity or person ·affiliated wit4 it) C\jrrently represent 9r promqte a(l.y lines or prQd\llltS
            that are competitive with any NuV a5ive Prodl,lct, and truit it shall not (nor shall any entity or person·
            affiliated with it) dµring the Term, direQtly or i'nclirectly, repr:esent, promote, sell or otherwise
            commercialiw within the Territory (i) any lines or products that are competitive with any Product ·
            covered by this Agreement or (ii) any non7NuVas~ve products for use in spine surgery. Further, during
            the Term, Representative shall not, directly or indirectly, represent, profi:!QtQ, sell or oth9rwise
            commercialize any products (other than the Products) without the written·consent of NuV asive. In
            addition, Representa,tive represents that its performance of all the .terms of this Agreement and as an
            agent of Nu Vasive does not and will not breach any agreement to keep in confidence proprietary
            information, knowledge or data acquired by it in confidence or in trust prior to its engagement by
            NuVasiv~, and Rep:\esentativ~ ;tgrees not to cli$close to NuVasive any confidential or proprietary
            iofonnation or material belonging to any previous employers or other entities with whom
            Re.ptesentative has been ihvolved. Representative represents and warrants that it 11as not entered into
           .(and ii; not bound by) any agreement, either wril;ten orc Qtal, that is in conflict herewith odn l)onflict
            with the engagement contemplated hereby.

                     2.5 Corporate Compliance. Representative agrees and warrants that it will cooperate rully
           with NuVasiye personnel in all respects with regard to performing the ooligations of this Agreement,
           including participating in requested teleconferences, meetings, and travel, and providing sales target
           and s1:1ies forecasting iT)fonnation to NuVasive upon reasonable reql)est,

      3.        COMMISSION

                  3. I Sole Compensation. ~p.resentative's sole compensation under the t~rms of this
                                   a
           Agreement sha ll be (i) commission. ("Commission") based on Net Sales (as defined in Section 3,2
           below) of Products resulting from Representative's procurement of orders therefore pursuant to th.ls
           Agreement, in accordance with the schedule set forth in Exhibit C hereto and (ii) $300;000 paid in
           accordance with the schedule set forth in Ex~bit D hereto.                                ·

                   3.2 Basis   of Commission. The C0riimission shall apply' to all Product orders (i) procured by
           Represent~tive from  cust9mer$ witl;i.in the Territo.I)' in aecordance with thifl Agl'eement; (ii) that have
            beeri accepted by Nu\rasive; and (ii~) for which shipment of Products and recognitio!l df revenue by
           NuV asive has occurred. Commissions shall be computed based on "Net Sales" wWch shall, for
           .Purposes of this A~eement, be defined~ the doll!ir amot.1n_t actually received by NuVasive ti;om a
           custom~r for the sales of the Product(s), less charges for shipping, handling, freight, taxes, C.O.D.


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            charges, h1surance, tariffs and duties, cash and trade discounts, rebates, charge back payments to
            managed healthcare o.rgan!zations, amounts allowed or credited for returt1s, uncollected or
            uncolteciable amounts, seriices, and th~ like. The Territory m~y be subdivided into regions if set fo~
            as such on 'Exhibit B, Exhibit C or Exhibit E (as updated from time to time by NuVasiVe). Separate
            Qqota Comm,itments may be designated for each such region.

                     3 :3 Time and Manner of Payment. The Commission pur1mant to· Section 3 on a gtven order
            shall be duo and payable thirty(30) days after the end oftbe calendar month in which NuVasive
            invoices and ships that order,

                     ~.4 Commission Chat$e Back. Nuyasive s~all have the absolute riglJ,t to set such cash
            discounts, to make such allowances and adjustments, to accept such returns from its customers, and to
            write off as bad debts such overdue customer accounts as it.deems advisable in its discretion. In each
            sµch case, NuVasive shall charge back to Represel).tative's account any Commission previously paid or
            credited to it with respect to such cash discounts, allowance5, adjustrn~nts, returns or bad debts.
            R~presentative also agrees to accept cbarges for: (i) pricing arrange!llents (or side de~ls) not approved
            by NuVasive; (ii) lost, damaged or missing inventory; (iii) failure to comply with NuVasive's
            communicated policies, e.g., inventory management policy (i.e. carrying.chargeS for excess inventory
            levels) artd prohibition of"house accounts"; arl.d (iv) courier charges for t)le delivery of Products when
            NuVasive standard method of shipping was available.

                    3.5 Monthly Statements. NuVasive shall submit to Representative monthly statements of the
            Commis·sions due and payable to Representative under tho tews of this Agreement with reference to
            the specific invoices on which the Commissions are being paid.

                    3.6 Potential Bonus Payments. NuVasive may, from time to time and in its sole discretion.
            pay bonuses as separately out! inea'.by Sales Administration for the achievement of peak sales
            perforinance and as part of specfa,I product roll-outs and initiatives. ·

       4,        SALE c;>F THE PRODUCTS

                     4.1 Prices and Terms of Sa}e. NuVasive 'shall provide llepresentative with copies of its
            current price lists, its delivery sc.hedules, an.d its standard terms and conditions of sale, as established
            from tim~ to time. NuVa$ive's current terms and conditions ot sale are attached hereto as Exhibit F,
            which may be amended from time to time in the sole discretion ofNuVasive (the "Terms and
            Conditions"). Represeotative Sball quote to customero only those authorized prices, delivery
            scbedulelj, and t()nns ~d conditions, and shall hav~ no authority to q~ote or offer any discount to such
            prices or change any such terms and conditions, without the prior written consent ofNuVasive.
            NuVasive may change the prices, delivery schedules, and terms and conditions,. at any time and from
            time to time, such changes to be effective thirty (30) days after dellvery by NuVasive to
            Representative of written notice bf any such changes, Each order fot a Product shall be governed by
            the prices,. delivery schedules, and tenrts and conditions.in effect ~t the time the order is accepted by
            NuVasive, and all quotations by Representative shall contain a statement to that effect.

                     4.2 Orders; Acceptance, All orders for the Products shall be in writing, and the priginals shaJJ
            be submitted to NuVasive. NuVasiye shall promptly furnish to R,epresentative infont1ational copfos of
            alt commissionable orders sent by customers in the Territory. All orders obtained by Representative
            shall be subject to acceptance by NuVasive at its sole discretion. Representative shall have no
            authority to make any acceptance or delivery commitments to customers. NuVasive agrees that its
            normal bUsiness practice is to accept all bona fide orders. for·Products, subject to availability aod
            NuVasive' s. credit and ordering policie!;.

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                     4.3 Collection.   It~ expressly understood by Reprllsentative that full responsibility for all
             coll~ction res!s with NuVa5lve,  provided, at NuYasive's request, Representative will assist NuVasive
             in the collection of any accounts reC!'livable ofNuV~ive.

       5.         WARR.ANl'Y

                     5.1 Customer Warrant¥. Any war.ranty for the Products shall run directly from NuVasive to
             the customer, and pursuant to the warranty the cu~tomer shall return any allegedly defective Products
             to NuVasive. Representative shall hav~ no authority.to accept any returned Products.

                   . 5.2 Warranty.Terms. All wl(minty claims shall l)e governed by the Tenns and ('.onditioos.

       6.         ADDITION.AL OBLIGATIONS OF REPRESENTATIVE

                    6. 1 · Quota Commitment Representative shall solicit o~ders that are submitted to NuVasive in
              acc0rdance with this Agreement for the quantity of Products set forth in Exhibit E attached hereto
              ("Quota Commitmenf'). The Quota Commitment shall be det~nnined, based on dialogue with
              Representative, by NuVasive in its sole discretion and delivered to Representative within thirty (30)
              days ofthe end ofeach calendar year, or as may be delivered to Representative by NuVasive from
              time to time (it being understood that NuVasive intends to deliver a Quota Commitment at intervii.ls
              more frequently1than annually only with respect to newly introduced products). If Representative (i)
              fails to secure orders for ninety-five percent (95%) of its aggregate Quota Commitment in any two
            · consecutive calendar quarters, or {ii) rails to secure orders tor nlnety~five percent (95%) of its.
              aggregate Quota Comtnitment for any given calend.ar year; then Representative shall be d~emed in
              "Poor St~nding" and NuVasive may, at its discretion and without prejudice to any other rights
             'NuVasive may have under this Agreement, terminate Representative's exclusivity granted in Section
              2.1 herein and appoint one or more additional representatives for sale of Products in the Territory,
              reduce the Territozy per Section 1.2, an°<ilor terminate the Agreement !'t will per Section 11.3. If
              Representative is deemed to be in Poor Standing, Representative may regain good standing (and no
              longer be.deemed in Poor Standing): (a) !.>y achieving its aggregate Quota Commitment for a calendar
              quarter or the calendar year, or (b) as of the January 1•1 following the year in which Representative is
              deemed to be in Poor Standing unless Representative is, within fifteen (15) days of the end of the year,
             (I) notified byNuVasive that it is io Poor Standing, 9r (2) provided with a corrective sales plan by
             NuVasive. IfNuVasive provides a corrective sales plan as set forth in the prior sentence, then
              Representative shall be deerru~d in Poor Standing until Repre.sentative has successfully completed the
              corrective sales plan, as determined in tho sole discretion ofNuVas1ve. For the avoidance of doubt,
              Repre5entative shall not be in Poor Standing as of the Effective bate. Orders fulfilling the Quota
              Commitment shall be based oo bona fide orders submitted to NuV asive thai would, upon acceptance
              by NuVasive, qualify for the payment of a Commission to Representative. The Territory may be
             subdivided into regions if set forth as such on Exhibit :S, Exhibit C or Exhibit E (as updated from
             time to time by~uVasiveJ. Separate Quota Commitments may ·be designated for each such.region.

               6.2     Rej?resentative lnfrastructure and Promotion of the Products. NuVasive and
        . Representative acknowledge and agree that develbpment of proper infrastructure on the part of
          Representative is vital for th~ ~uccess of the; b1,1~iness, NuVasive will work with Representative to
          develop and refine expectations for business investments to be made by Represent~tive for the purpose .
          of expanding its·'infrastructu1·e (e.g., overseeing operations, operational activities, adding personnel
          with specialized skills, investing in new markets, com·puter systems and software, inventory tracking
          and management, etc.) (the "Infra.structure Investments"). The Infrastructure Investments required by
         NuVasive will be reasonable in scqpe ~nd expense and.will be supported with resources from
         Nu Vasive. As the Infrastructure Investments are defined and communicated to Representative from
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          time to time, Representative agrees to comply with the Infrastructure Investments and agrees that
          failure to do so shall entitle NJJVasive to appropriately redefine the Territory and/.or tertrtihate
          Representative..s exQlusivity. Rep~entative acknowledges and agrees to maintain sufficient
          personnel to effectively and consistently promote the sale of-the Products as cont~plated hy the
        . A.gre.en:ient, with a focus Qn selllng a complete 1rtix of the various Products. Representative shall also
          provide sufficient promotional support to 'its sales representatives in order to pro mot~ the Products in
          their asslgned territories. Representative agrees riot to sell all or anJ piirt ofthe Promotional Materials
          of Sectjqn 7.2 ~Q 8{1.y third party without the prior written consent of NuVasive. Representative ~hall
          use the Promotional Materials ofSeetion 7.2 solely to demonstrate and promote the Products to bona
          fide customers considering ordering ~ucfl Prodqcts in strict accordance with all the tertllS of this
          Agreemen.t and soiely to the extent necessary to fulfiil the purposes of this Agreement.

              6.3      Territorial llesponsibilit;y. Representative shall assign its enti're Territory to individual
         sales repres~ntativos, shall 'Set inC!ivjdµ.al quot11s for each representative, and shall communicate all
         s~ch information to NuVasive on an on&oing basis.

               ~A       Sales Actign Plans. Representativ~ shall provide to NuVasive, within thirty (30) days
         following the end of each calendar year, an annual sales objectiws plan <tetailing Representative's
         salei; goals and execution strittegies for the coming year. :(n addition, Reprelientative shall de!iyer to
         NuVasive, by the fifth (5°') day of each calendar month, a monthly action plan detailing
         Representafr{e's sales history, revised sales plans and strategies.

               6.5      Allifil. Upo.n reasonable request by NuVasive, Representative agrees to furn!Sh a, full and
         detailed stlltement ofNuVasive's business and in Territory but only to the extent it relates to this
         Agreement, including without liniitation to matters related to Sections 6.10 and 6.13 herein. NuVasive
         shall have the right dll{'ing normal busin~s hours and upon thirty (30) days prior writte.n notjce to audit
         Representative's records relative to NuVasive's business (including basic.financial information of
         Representative) and verify ariy Representative statement sent to NuVasive.

               6.6      Demonstration .and Staff Training. NuVasive agrees to provide Repr~entative and its
         personnel with adequate 1raining regarding the use and operation of the Products, and to also provide
         its staff and p.ersonnel with regular·training. regarding any updates to the Products. Representative
         agrees to a.ttertd (artd have its appJicabl~ employees and ·cqnqactors attend within 90 days of date of
         hire by Representative) training as reque8ted by NuVasive. Representative agrees (i) that all of its
         applicable employees and contractors will attend NuVasive' s sales training coui:se within six, (6)
         months of execution of this Agreement and (Ii) to l111pleme11t a ~ales t,rainh.1g plan agreed upon by
         Representative and·Nu\iasive's sales management that takes full use of train.ing courses and provides
         regular and thorough training to entire sales team. Representative ~lsQ agrees to·meet NuVasive's
         requirements.for attendance and participatio11 in NuVasive's Mar<J\lIS Visit Program, which shall
         include an annual quota forMV:Ps to be scheduled by Representative. Costs associated with
         attendance at ttainiug events shall be borne by Representative. .                        ·

          · 6.7          Product Complaints. R~presentative represents and warrants that Representative shall: (i)
         promptly investigate arid monitor all customer and/or regul{ltory complaints and/of ootrespojldence
         concerning the use of the Products in the Territory; (ii) immediately notify NuVasive ofiill such
         complaints and/or correspondence; (iii) assign to NuVasive all rights (including intellectual property
         rights); title.and interests in and to any customer feedback with regard to the Products, and (iv) take
                                  to
         any and all such actions ensure such assignment is effected; upon reasonable request ofNuVasive.

              6.8     Representations: Marketing. Representative represents and warrants it_shall not make
         any false or mi!ileading rep1'eserttations to custom~rs or others-regarding NuVasive or the Products, or

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         about NuVasive Mmpetitors or competitor products. Representative repr~sents and "'.atrants 1hat it
         shail not make any representations, warranties or guarantees with respect to the specffications,.l.'catures
         or c~pabilhies of the Products that are not consistent with, cir otherwise expand upon the claims in1 the
         PromotiQnal ~teria1s or othet qocume11ta,qon i;upplie4 by NuVallive. ~epresentative repr~sents. and
         warrants that it shall use only the Promotional Materiais suppfied b;y NuVasive in its promotion of the
         Products. Representative represents and w.trrants that in no event shall Represerttative make any
         guarantee or watTanty con«erning the Products that is inconsistent with, or otherwise expands upon,
         N'uVasiveis standard limited warranty·or on behalf ofany vendor or supplier of NuVasive.              ·
         Represenia~v~ represents and warrants that it.shalt promote and market the Produces in ac1:9rdance
         with the training provided by NuVasive.

               6.9     'Notice of Changes. Representative shall promptly advise N'uVasive of(i) any chaflges in
         Representative' st~tu.s, organization, per~onne~ and similar rnatteri;, (ii) ;my changes in th~ key
        .Personnel, organization, and status of any majoi: customers ofNuVasive in the Territory, and (iii) any
         political, fmanoial, legislative, industrial or other events in the Territory that could affect the mutuar
         business interests of Representative and NuVasive, whether hannful or beneficial.

              6.10 Qm:mliance with Laws and Policies. Represontirtive represents and warrants that it will
        comply with all applicable federal, state, local, municipa~ regulatory and/or governmental agency
        laws, statutes, regulations1 edicts, gttidance, directi\les, and ordin1U1ces, inc.luding, without limitation,
        (a).the Social Security Act; (b) HIPAA, (c) all federal and state health care anti-fraud, anti-kickback
        and abuse laws such as 42 U.S.C. § 1320a-7b(b); (d) the Federal Food, Drng, and Cosmetic A~t and its
        implementing regulation~~ (e) all rules, regulatiQns; ~d guidMce of the FDA; and (f) all rules and
        regulati'ons of the Center for Medicare and Medicaid Services (CMS). Without limiting the generality
        of the foregoing, exceptto the extent allowed by applicable law, Representative will make no offer,
        payment or other inducement, whether directly or indirectly, to induce the referral of bµsiness, the
        purchase, lease or order of any I.tern or service, or the recommendmg of the purchase, lease or order of
        any it~m or service. Representative will comply, and will ensure its personnel carrying 6utactivities
        under thi~ Agreet.llent comply, with all openJ.ting and 9ompliance policies ofNuvasive, including
        (without limitation) the MDMA Code of Conduct on Interactions with Healthcare Providers (a Cdpy
        of which is attached as Exhibit G hereto). NuVasive's Code ofEthical Business CQnduct, NuVasive's
        Global Business Ethics Program, Insider Trading Policy and Inventor.y Management Policy (relating to
        wide variety ofinventory management issues, incluaing without limitation inventory investment,
        accountability.for inventory management (such as cost-sharing) and consignment inventory), as such
        policies may be created and updated from time to time, and inqluding any applicable .training
        requiremen~s with respect to such policies. Additionally, ort not le~s t.han ~n annual basis,
        Representative shall certify to compliance with the Healthcare Compliance Guide by submitting a
        Certification of Compliance to 'NuVasive that Representative is in co~plfance with this Section 6.10
        and any other compliance terms in this Agreement in a form acceptable to NuVasive.

             6.11    Sales Representatjyes. NuVasive may elect to interview candidates for sales
        representative posftions and to approve or disapprove such candidates based. upon the hiring profile;
        provided. howev~t. that such approval or disapproval do~ not affect Repre?se,ntative•s !liithority to
        making hiring or other employment decisions. NuVasive shall have the right to approve how such
        sales representatives ar~ trained and deployed. Representative shall compensate its sales
        represen~tjves in its discretion.

            6.12 Regulatory Compliance. Representative will not alter or modify the Product(s) in any
        way prior to delivery to·C11stomers. Representative shall at all tirtles conduct its ~c.tivities on behalf of
        Nu Vasive jn accordance with the labeling limitatiops on the Products, th.e tenns of this Agreement,
        NuVasive;s written policies and procedur.es, and in compliance with applicable state and federal laws

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         in effect from time to time, including the FDA's quaHty system regulations (QSR), Adverse Event
         Reporting System (AERS) and/or c(lrrent good manufactudng practice (cGMP) regulations and shall
         undertake ali rt)quire4 compliance actions, including establishing and implc;:menting all required
         control and reporting procedure$. Representative shall provide. NuVasive with such information and
         da~a as may be requested by Company pqrsuant to this Agreement

              6.13 Agreement Re~arding Competitive Products: Non-Solicitation. During the Term and for
        a period of one (1) year following the expiration or termination hereof, neither Reptesetltative nor any
        ofRepresent@tives' partners, employees, sub-contractors, sales pe~onnel (whether emplpyees of
        Representative or independent contractors); affiliates or agents (nor any e~itity in which Representative
        has an ow11ership interest) (each a "Representative Affiliate") shall (i) develop, represent, promo@ or
        otherwis<i try'tQ sell within the Territory any lines or products that, in the Company's reasonable
        judgment, compet~ with the Products covered by this Agreement, (ii) solicit (directly or indfrectly) any
        current or former cu.stomers of.NuVa$hre to pqrqqase any products ot lines that are, it) the Company> s
        reasonable judgment, competitive with the Products covered by this Agreement, or (iii) solicit or offer
        work to, directly or indirectly, any ofNuVasive's employees, agents or representatives.
        Representative represents and warrants that (A) each Repres~ntative Affili.ate engaged by it on the date
        of execution hereof has executed an agreement (a "Compliance Asreement") in form and substance
        sufficient to contractually obligate sueh person or entity to comply with the restrictio11s C9ntained in
        this Section 6. 13, ~B) each person or entity who becomes a Representative Affiliate in th~ future shall
        execute a Compliance Agreement.prior to performing any services for the benefit ofNuVasive, (C)
        each CoJ\lplilll.'lce Agreement will name NuV ~sive as an intended thir!i party beneficiary with full right·   '·
        to directly enforce provisions necessary to comply with this Section o.13, and (d) it will vigorously
        enforce the restrictions contained in thi.s Seetion 6.13 and each Com·pthince Agreement at its own cost
        (and in the event Re~resentative fails to adequate!~ enforce such restrictions, NuVasiv.e may do so at
        Representative's cost). Representative. shall provide NuVasive a copy of each Compliance Agreement
        with respect to each Representative Affiliate immediately upon such person or entity becoming a
        Representative Affiliate. In addition, notwithstanding Section 12. l, this Section 6.13 shall be
        interpreted and.enfotoed in accordance with the laws of the state in which Representative last resides
        while performing services for NuVasive, witho.ut regard to the conflict of laws provisions of said state.
        Each Compliance Agreement shall require all sales representatives to comply with tne terms of
        Sections 6.10 and 6.12 hereo~ and each such Compliance Agreement shall be provided to NuVasive:
        The one (1) year period during which the restrictions of this Section are appltcable shall toll for any
        period of time in whfch Representative is not in compliance herewith.

              NuVasive and Representative acknowledge and agree that the foregoing non-competition
        ·covenahts are reasonable and necessary to protoot the legitimate in~ests ofNuVasive, including
         without !imitation, the protection of Oonfidential 1nformation. Representative further•acki:lowledges
         and agrees that such covenants are an essential part of, and consideration for, NuVasive's promises
         contained in this Agreement.

              6.14 Debarment. Representative represents and warrants that neither it nor any of its personnel
        carrying out activities under this Agreement have been tlQr are. debarred, suspended, excluded or are
        otherwise ineligible under &ection 306 of the Federal P9od, Drug and Cosmetic Act (as amended by
        the Generic Drug Enforcement Act of 19n)1 il U.S.C. § 336, or are listed on any applicable federal
        exclus~Ciil list including the then-curr~nt: (a) HHS/OIG List of Excluded Individualsi1!rttities (available
        through the Internet at http://www.oig.hhs.gov); (b) General Serviees Administration's List of Parties
        Excluded from Federal Programs (available through the Internet at http://www.epls.gov); and (c) FDA
        Debarment List (available thtough the internet at http://www.fda.gov/ora/compliance_ref/debar/).



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                 6.15. Interaction with Health Care Professionals. Repre5entative repre5ents !Uld wlirrants that
            neither it nor any 9f its personnel carrying out ac1ivit'ies under this Agreement currently have any fonn
            of compensation arrangement with any Health Care Professional other than ari agreement to purchase
            proQuct. Representative agree~ that neither it nor atty of Jts personnel shall enter into, any
            arrangement (e.g;, ~ants, donations, sponsorships, reimbursement of expenses, etc.) or agreement, Or!ll
            on:Vritten, with a Healtli dire Profe5Siorial, other than !or the purchase of product v.iithout the e'icpi"ess
            prior written consent of.NuVasive's Compliance Officer or his/her de&ignee. A bref).ch of this.
            provision shall be cause for NuVasive to terminate this Agreement at will.

                   6.16    Insurance. Duti~g the Term1 Representati'<e shall maihtain in full for~ and effect one or
            more tyolicies of the following iJlsurance coverage of not less th!lll tµ.e folle>wing an.iouµts: (i) General
            Liability~ Tw.o MIOion Dollars ($2,000,000) aggregat~, One MiJlion Dollars ($1,000,000) Bodily
            Injury/Property Damage per 9~urren~,. O~e Million Dollars ($1,000,000) Personal ani'.I Advertisipg
            Inj,ury, One Hundred Thousand Dollars ($100,000) Damage to Rented Premises, Ten Thousand
            Dollars ($10,000) Premises Medical Payments; (ii) Property Coverage equal to re1>lacement value of
            pr.optlrty owned along with ex.trii expe~se coverage to cover period of time to repl~~e office p.rer.nises;
            (iii) Professional Liability: One Million Dollars ($1,000;000) aggregate and per occurrence; {lV)
            Automobile Liability for owned, non~wned and hired autos (as applicable) -One Million Dollats
            ($1,000,000) per accident; and (v) Workers Compensation suffici~nt to meet statutory required
            benefits of the state in which.your employees are domiciled; all from carrier(s) reasonably acceptable
            to NuVasive. On an ongoing basis, Representative shall provide NuVasive with one or more
            certificates of insurance showing that RepreJ;entative maintains insurance in accordance with this
            Section 6.16. Such certificates shall confirm thatNuVasive has been named as an additional insured on
            Representative's insurance po!i((ies by endorsement to such po1~cies and sha.ll provide that there shllll
            be no cancellation or reductlon in coverage without thirty (30) days; prior written notice to NuVasive.

       7.        ADDITIONAL OBLIGATIONS OF NUVASIVE

                   7.l     Training by NuVasiv:e. NuVasive shall provide sales and compliance·tral.iling to
             Representative's personll'el at periodic intervals, with the frequency and content of the traini!lg to be
            ·determined by NuV asive. When possibl~, such training shall be given at Representative's facilities,
             but it may be necessary to provide combined training at a geographically central location near b1,1t not
             in the Territory. Travel and expenses associated wiftt attendance by Representative and
             Representative's personnel shall be borne by Representative. Representative shall sign all
             certifications i,:onfirmirtg its ~aining as ttiay be requested by NiN asive.

                 7.2      Promotional Materials. NuVasive shall provide Reptts~nta~ive with marketing and
            technical information concerning the Products as well as reasonable quantities of broqhures,
            instructional material, advertising literature, product samples> and other Product data (l'Promot!onal
            Materials"). NuVasive may charge Representative for such materials. Representative shall hot add,
            delete, or modify any language in the Promotions Materials in any manner, except for adding
            Repres~ntative contact information, Ull,der no circµmstan·ces shall Representative use any other
            promotional material or literature regarding the Products without th~ prior written consent of
            NuVasive.                          ·      ·                                  ·

                  7.3     Telephone M~rketi~g and Iechpical Sugp911. NuVasive ShaJI provide'a reason.able level
            of techniyal support in English to personnel of Representative who have been trained by NuVasive
            during its normal business hours to answer Representative's questions.related to the Products.
            NuVasive will alsb proyide a~sistance to Representative regarding sales administratiof), hiring, and
            implementation of sales plans.                      ·                               ·


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       8.         INDEMNITY

                 Subject to all of the Conditions set forth in tbls Section 8, NuV!lsive shall defend, indemnify and
            hold hannless Representative and its employees and agents, from and against any and -all .causes of
            action, claims, suits, proceedings, d:images and judgments by. tbird partles (collectiV'ely, "Claims"), to
            the extent that spch Claims are based primarily on an alleged manufacturing or design defect in~
            Product s9ld by Representative. In the event that any Claim is asserted against Representative,
            Re}ll'esentative shall provide written notice to NuVasive within (I 0) 9ays after learning of such Claim.
            NuVasive will have the right to select counsei, and conduct·and control at its expense the defense
            against and settlement of such .Claim in its own name, or ifneceS.sary: in Representative's name and
            NuV nsiye's defeniie coun~el may act on Represent~tive's behalf reg11rd.less of whether such Claim has
            also been asserted against N'uVasive. Representative will cooperate with and make available to
            NuVasive such assjstance and infonnatii:m as tnay be reasonably tequ~sted by NuVasive, and
            Representative will have the right to participate in the defense, including representation by
            independent counsel, at Represent!ltive's expense, provided that under such cireumSta.nces
            Representative will.have the right to compromise and settle the Claim only with tb.e prior written
            consent ofNuVasive. If, in connection with any Claim it is determin¥d by NuVasive that
            Representl.ltive acted beyond its authority, or failed to comply with any of its materiiil obligations
            und.er this Agreement, NuVasive shall be immediately relieved of its obligations to Representative
            under this Section 8.

       9.         TRADE1\'1ARKS

                        9.1 Use. NuVasive hereby grants to Representative the hon-exclusive, non-transferable1
            l imi.t~ right 81}.d                                                       an
                                  lice.nse for the Term to indicate t9 the public tha~ i.t is authorized representative of
             the Products and to advertise (within the Territory) such Products under the trademarks, service marks,
             logos, and trade l)ames that Nu Vasive may adopt from time to forte ("Trademarks''). Representative
             shall not alter or remove any Trademark applied to the P~oducts. Except as set forth in this Section 9,
             nothing·contained in this Agreement shall grant to Representative any right, title or interest in the
             Trademarks: At no time during drafter the Term shall Representatiye challenge or ~sist others to
             challenge NuVasive's ownership of its Trademarks or attempt or assist others to attempt to register any
             trademarks, niatks or trade names confusingly similar to those ofNuVaslve. Should·NuVasive notify
            'Representative that the use of any Trademarks violates the then in eff~t Tra<;lemark guidelines
             ('"Trademark Guidelines") established by NuVasive, Representative shaU bring such use into
             conformqnce with the Trademark Guidelines and shall provide to NuVasive a SP'eclmen Qf such
             conforming use. Notwithstanding the foregoing, NuVasive, at its discretion, may terminate this
             tra:tlerriark license wl)en it determines that Representative is using the TradetnarkS in a manner that
             v~ol.ates NuVasive's then in effect Trademark Guideli.nes. Promptly following termination or
             expiration of this Agreement for any reason, Representative shall take all actions necessary to transfer
             artd assign to NµVasive all rights, title and interest in and to the Trademarks and goodwill related
             thereto which Representative may have acquired as a result of this Agreement and shall pr9mptly
             discontinue all uses ofthe Trad.emarks. Representative shall cooperate with NuVasive, at NuVasive' s
             expense, to reg~ster the Trademarks in a,ny jurisdiction, inclu<;lin~ executing appropri~te documents and
             otherwise assisting NuVasive.

                     9..2 Approval ofReP.resentations. All representations of the Trademarks that Representative
            intends to use (including without limitation in any catalogue or other marketing collatecal) shall first tie
            submitted to NuVasive for written approval (which shail not be unreasonably withheld) of design,
            color, and other details. Representative may not mark the Produots or Product packaging materials
            with its own trademarks, .servi'ce marks, trade names, or l()gos or those of any third party ("Other
            Marks") without the prior written consent of NuVasive. If any of NuVasiv.e~s Trademarks are to be

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         used in conjunction with Other Marks on or in relation to the Products, then the Trademarks shall be
         presented equally legibly, equany·prominently, and of greater sjze than the oth~r but nev~rtheless
         separated from the Other Marks so that the Trademarks and the Other Marks each appears to be a mark
         in its own tight, distinct frotn one another.

       10.     CONFIDENTIALffY

                   l O. l Conti dential Information. "Co11fidential Information" m~ans the proprietary or
         confidential information ofNuVasive which is disclosed to Representative, whether before or after the
         Effective Date,. and (it) if disclosed in writing, is marked as confi~ential at the time of ~i~closure, or
         (b) if disclosed orally or in other intangible form, .is identified and treated as confidential at time of
         disclosure and ·identified in writing and marked confidential within thircy (30) days after disclosure
         and r~lates to produc~, plans, designs, costs, prices, finances, marketing plani;, business opportunities, .
         personnel, research, development, know-how, trade secrets, inventions, blueprints, techniques,
         processes, algorithms, software prograins, schematics, designs, contracts, customer lists, procedures,
         formulae, patent applications aJ)d bt1rer informittion relating to 1'fuVasive's b\tsiness, services,
         processes or technology. Confidential Information shall not include informatfon that Representative
         proves: (i) was known .by Re.presentative or was publicly available prior to disclosure by NuVasive to
         Representative; (ii) became publicly available after disclosure by NuVasive to R~presentative through
         no act of Representati~e; (iii) is hereafter tightfu tly fumiilhed to Representative by a third pl,\rty ·
         without confidep.tiality restriction; or (iv) is disclosed with the prior written co~nt ofNuVasive or as
         expressly authorized under this Agreement.

              .   10.2 Non-Disclo~ure. Parties shall not, except as other'Wise expressly provided herein, use,
         disclose, di's~eminate or otherwise allow access ~o the Confidential Information of the other Party to
         anyone other than to empioyees that have a need to know such Confidential Infonnation to implement
         this Agreement and who are bound by written confidentiality obfigations with provisions no less
         string~nt than those contained in this Section l 0. Each Party shall prevent unauthorized disclosure Qr
         use of the Confidential Information of the other Party. Parties shaft execute all documents and
         otherwise shall take all necessary steps to ensure that each be able to enforce· rights hereunder
         pertaining to Confldenti!li Infonnation. Parties shall be responsible for ·nny breach of this Section 10.2
         by employees, contractors or agents.                                             ·

                 10.3 OwnersbiJl. Representative acknowledges and .agrees that NuVasive (or its licensors)
         owns all rights, title and interests, inCJQding intellectual property rights, in and to NuVasive's
         Confidential lnfonnation.

                  10.4 Notification. If Representative learns or believes tbat any p~rson who has had access to
         the Corifidential Information of NuVasive has violated or intends to \liolate this Agreement,
         Roprc~entative shall immediately notifyNuVasive and.shall cooperate with NuVasive in seeking
         injunctive or other equitable relief against any such person. ·

                  l 0.5 Exception§. Representative may disclose the Confidential Information ofNuVasive, only
         if such 9isc1Qsure is required ~y law, provided that Representative promptly.notifies NuVaslve to
         allow intervention by NuVas Ive. (prior to .the disclosure); cooperates with NuV asive to tontest or
         miTJimize the discloi;ure (including application for a protective order) at Nl)Vasive's expense 11.nd limits
         such disclosure to the party entitled to receive the Confidential Infonnation and to the scope of the
         legal requirement. Notwlthstatiding the foregoiqg, any Confidential Information disclosed pursuant to
         this Section 10.S shall otherwise continue to be tre~ted as·confidential Information hereunder.
         Notwithstanding anything to the contrary, Representative m·ust obtain the consent ofNuVasive prior to
         di~closure of this Agreement to any third p~rty.             ·
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                10.6 Confidentiality of Agreement. .Representative shall not disclose any term of this
         Agre.emeilt Qr announce th.e eXistence of this Agreement witQout the prior written consent of
         NuVasive.

                      10.7 Reproduction of Confidential Information. Confidential Information shall not be
             reproduced except as required :to implement this Agreement. Any reproduction or derivative of atlY
             Confidential Information ofNuVasive by Representative shall remain the property ofNuVasive and
             shall contain all confidential or proprietary nofices or legends which appear on the original.

                  10.8 Equitable ;a.emedies. Any unauthorized disclosure o.r use. of Confidential Inform~tion by
         Parties shali be a material breach of this Agreement, and Parties shall be entitled to all remedies . ·
         avaiJable under law or in equity, incltlding without limitation iajunctive relief withou.t the need to post
         a bond therefor.                                                            ·

       11.       U:Rl\f AND TERMINATION
                 11.1 Term. This Agreement shall ta~e eff~t on the Effective Date and continue in force for a
         term beginning on the Effective Date and ending on December 31, 2013 ("Term"), unless sooner
         terminated nnd~r the );'lrovisions of this Section 11. Representative understimds and agrees that
         following termination for any reason, Representative wili be responsible for ·returning any outstanding
         inventory items and will be helo responsible fot missing items,

                  11.2 Termination for Cause. (I) If either party defaults in the performance of any provision of
         this Agreement, then the n"on-defaulting P"arty may give written notice to the defaulting party that if the
         default is not cured within thirty (30) days the Agreement (except for breaches of Section 2.5,. 6.1, 9,
         10 or .12.;3, in which case su.ch termination shall be Immediate upon nQtiCe) will be terminated. Such
         thirty (30) day notice period shall not be required iftl1e breach by its nature cannot by its nature be
         cured within thirty (30) day·s.

                   11.3 Termination At Will. NuV asive shall have the right to terminate this Agreement at will if
         Represen1ative is deemed to be in "Poor Standing" per Section 6.1. NuVasive shall also have (i) the
         right to te011 inate this Agr~ment at will ifR~presentative breaches a term of this·Agreement at any
         time on or prior to 90 days from th~ date of this Agreement, and (ii) the.teimination right described in
         Sections 6.f.5· and 11.6.

                   11.4 Terminatio1t fQr Insolvency. This Agreement may be tenn inated by either Party without
         notice (i) duet() fosolvency, receivership or bankruptcy proceedings or any other proceedings for the
         settlement of the other Party, (ii) upon either Party making an assignment for the benefit" of creditors,
         or (iii) upon either Party's dissolution or ceasing to do business.

                       11.5 Effect of Tuanjnatioµ.

                 (a)       Accl'ued Obligations. Terminatlon shall not relieve either party of obligatipns irtcurre4
                           prior to the effeetive date of such termination.

                 (b)        Return of Materials. All 1rademarks, trade names, patents., copyrights, designs, drawings,
                            fonn~las or other- data, photographs, samples, literature, sales aids of every ki.rtd and
                           ·NuVasive Confidential Information shall remain the property ofNuVasive. Within ten
                            (10) days after the tenn"ination of this Agreement, Representative shall pi'~pare all such
                            items in its possession for shipment, as NuVasive ma.y direct1 at NuVasive's reasonable
                            expense. Representative shall not make, use, dispose of or retain any copies or
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                      derivativ~ of any NuV itsive Confidential Information in any form. Effective upon the
                      tennination of this Agreement, Representative shall cease fo use all Trademarks.
                      Representative shall comply with all requests fro~ Nuvasive regarding th~ return of
                      inventory, Products, samples, etc.

              (o)      Additional Com mj~sions. ln addition to any commissions already earned by
                      .Representative but not yet paid by NuVasive under the terms of S~tlon 3 above,
                       NuVasive shall pay commissions,to Representative on ali orders from the Territory that
                       were accepted byNuVasive with.In thirty (30) days after the date of termination of this
                       Agreement and forwhic~ NuV.asive receives payment within s~ty (60) days after the
                       date oftennination of this A$1'eement.

              (d)      If'.NuVasive should terminate this Agreement due to a material breach by Representative
                       of any of their obligations und~t Section 2.4, 6.1.3, 6.15, 9 Qr lQ of this Agi:eemen~ then
                       in addition to any other legal or equitable remedies available to NuVasive, NuVasive
                       shall have tho right in its sole discretion and for no additional consideration to
                       Representative: to direct Representative to immediately assign to NuVasive 11-ll
                      _Compliance Agreements or similar agreements described in Section 6.13 above; and to
                       solicit, contract with, or hire a~y sales representatives of Representative.

                  11.6 Change of Control. In the event that NuVllSive undergoes a merger, acquisition,
         consolidatloa, a sale of all or substantially all ofNuVasive's assets, or a majority in voting power of
         NuVasive'·s then-outstanding voting securities are acquired by a third party (~ach a "Change. of
         Control"), Nu Vasive and the successor in interest or acqutri~g· party (the ".Acquiring Party") shall have
         the right to terminate .this Agreement at any point from thirty (30) days before the occurrence such
         event end llP to twelve (12) months after such event (the "Tenttination Right").

         In connection with a Change of Control, ~presentative shall be entitle<fto a payment of up to the
         Stated Percentage (the "Change of Control Payment"). The Change of Control Payment, to the extent
         paid, shall be paid as follows: one half of the Change of Control Payment shall be paid promptly
         following tbe closing of the Change.of Control (the "First Payment"), and the remaining portion of the
         Change of Control Payment shall be paid promptly following the termination of this Agreement
         purstrantto exercise by NuVasive or the Acquiring Party of the Termination Right (the "Second
         Payment").

        Notwithstanding the foregoing, the Change of Control Payment shall only be required if
        Representative: (i) is currently eng~ed as a Representative; (ii) is not in Poor Standing; and (iii) is not
        in breach of a material provision Qfth.is Agreement (including, but not limited to, Sootion 6.13);.
        provided, however, ifNuVasive is not required to.make the Change of Control Payment solely due to
        subsection (ii) of this paragraph, Representative shall be entitled to half of the First Payment and half
        of the Second P11yment (in accordance with the tenns set forth in this Sectton 11.6).

         For purposes hereof, the "Stated Percentage" shall equal five percent (5%) of (a) all annualized sales
         generated by Representative pursuanno this Agreement(and in the Territory) roinils (b) $i0,600,000
         which represents Product orders procured from custom~rs within the Territory fur the fiscal year ended
        ·December 31, ·2012.

                11.7 Additional Proyisjons Regarding ChQ,!lge _of Control, In the event the Second Payment is
        made, all Compliance Agreements (or simllar agr~ments then in e~ct) shttll be immediately assigned
        to NuVasive or the Acquiring Party (at NuV asive's discretion) and all other reasonable steps (not'to
        include significant cash payments by Representative) shall be taken by Representative to ensur~ that

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         the services of all Repr<(Sentative Affiliates a~e CQntinued uninterrupted on behalf of the Acquirb1g
         Party or Nuvasive (as appropriate). Further, NuVasive may at any time Representative is in Poor
         Standing, upon pii,yi:nent of the $tared Percentage, elect to terminate this Agr~ement and have :µ1
         C-Ompliance Agreements assigned to it (and require that all other reasonable steps (not to include
         significant cash payments by Representative) be tak;en by Representative to ensure that the services of
         all Representative Affiliates aie continue.cl uninterrupted on behalf ofNuvasive),

                      11.8 Survival. The provisions of Section 5, Section 6.13, Section 8, Section 9 (except for the
             grant of ~i~hts and licenses by NuVasive)i and Sections 10· 12 shall survive the expiration or
         tenninatiQn of this Agreement for any reason. All other rights and obligations of the parties shall
         cease upon termination of this Agteement.

       12.        MISCELLANEOUS

                        12.1 GoyemingL.aw and Jurisdiction.

                  (a)       Other than with respect to Section 6. l 3 hereof, this Agreement is entered ifito in ajld shall
                            be governed, construed and enforced in all respects solely and exclusively under the laws
                            of the State of California, USA without giving effect to any law which would result' in the
                            application of a different body of law. Any and all suits bereuqder shall be bro11ght. ~d
                            resolved solely and exciusively in, and the parties hereby. irrevocably consent to the
                            exclusive jtJrisdiotion and proper venue ot the state and federal courts located in the
                            County of ~an Diego, :;ltate of California, USA, and waive any objl(ctions thereto based
                            on any ground including improper venue or Forum Non-Conveniens. The partie5 agree
                            that any prpcess djrect~d to al)y of them in apy such litigation ~ay be served outside the
                            State of Califomia, USA, with the same force and effect as if the service had been made
                            within the State of California, USA, and that service of process may be effected in
                            accor<,1.ance with Section 12.2 hereof. Any decision rendered by such court shall be
                            binding, final and conclusive upon the parties, and a judgment thereon may be entered in,
                            and enforced by, any court havingjurisdiotion over the party against which an award is
                            entered or the location of such party's assets.                           ·

                 (b)        The prevailing party in any action or suit shall be entitle~ to recover all costs it incurred
                            in connection therewith, including, without limitation, reasonable attorneys' fees.

                 (c)        Notwithstanding anything to the contrary herein, each party shall be entitled tQ seek
                            injunctive or other equitable relief, wherever such party dee~s appropriate iJi ~ny
                            jurisdi.ction, in order to preserve·or el;li'orce such party's rights for any breach or
                            threateoc;d breach of tne other party of Articles 6, 9, 19 and 12.5. Bach patty agrees that;
                            such Sectlons are necessary and reasonable to proted the othel' party and its
                            business, any violation of these provisions coQ!d cause irreparable injury to the other
                            party fo~ which m9ney damages would be inadequate, and as a result, the other patty will
                            be entitled to seek and obtain injunctive relief against the breach or threatened breach of
                            the pro\lisipns of such Sections without the necessity of pQsting bond ot ,provil)g actual
                            damages. The parties agree that the remedies set forth .in this Section 12.l(c) are in
                            addition to and 'in no way preclude any other remedies p t actions that may be available at
                            law or under this .Agreement.

                  12.2 Notices. Any notice required or perm~d by this Agreement shall be in writing and shall
         be sent by prepaid re.gistered or certified mail, return receipt requested, addressed to the other party at


                                                                ·13-
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         tho address shown below or such other address for which such party gives notice hereunder. Such
         notice shall be deemed to have been given three (3) days after deposit in the mail.

            To NuVasive:          ~uVasive, Inc.
                                  7475 LuskBoulevard
                                  San Diego, CalifQr.ijja 92121
                                  Attention: Legal Department

            To Representative: Absolute Medical LLC
                                 213 Villa Di Este Terrace #105
                                 Lake Mary, Florida 32746
                                 Attention: Greg Souflerls

                 ti.3 Assignment. ·Representative may assign or transfer this Agreement or any of its rights
         and obligatiqns under this Agreement on1y upon the prior writteh conse.Iit ofNuVasive, which shall
         not be unreasonably denied.                         ·

                  12.4 Property Rights. Representative agree that NuVasive owns all right, title, and interest in
         the product lines that include the Products and in all ofNuVasive's patents, trademarks, trade names,
         inventions, copyrights, know-how, a11d trade ,secrets relating to the cjesign, manufacture, operation or
         service of the Products. The use by Representative of any of these property rights is authorized only
         for the purposes lierei1:1 set forth, and upon termination or expiratio.n of this Agreement such
         authorization shall cease.

                    12.S Indemnification.

              (a)       Representative shall indemnify, defend and hold harmless·N1,1Vasive and its directors,
                        officers, employees and agentS from any loss, cost, Hability or expense, including
                        attorneys' fues, that NuVasive incµrs or becomes liable fqr arising out of any breach by
                        Representative of any of its representations, warranties arid covenants contained l1erein
                        and any ·acts or omissions of Representative ot its i.mlp1oyees and agents telating to the
                        performance of this Agreement.

              (b)        NuVasive shall indemnify, defend and hold harmless Representative and its directors,
                         officers, emt>loyees and agents from any loss, cost; liability or expense, including
                         attorneys' fees, that Representative incurs or becomes liable for arising out of any breach
                       · byNuVasive of any of its representations, warranties and covenants contained herein and
                         -any acts or omissions ofNuVasive or 1ts employees and agents relating to the
                         performance of this Agreement.

                  12.6 Severabillt)!. Ifany provision(s) of this Agreement shall be held Invalid, ille.gal or
         unenforceable by a court of competent jurisdiction, the remainder of the Agreement shall be valid and
         enfc;>rceable an,d the parties shall negotiate in good faith a substitute; valid and enforceable provision
         which most nearly effeots the parties' intent In entering into this Agreement.

                12.7 Modification: Waiver. This Agreement may not be altered, ·amended or modified in any
        way except in a writi.ng signed by both parties. The failure of ll party t9 ~force any provision of the
        Agreement shall not be construed to be a waiver of the right of such party to thereafter enforce that
        provision or any t>ther provision or right.
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                 12;8 Entire Agreement. This Agreement and the eXhlbits heteto.represent and constitute -the
        sole, final an:d entire agreement between the parties, and supersedes and merges all prior negotjations,-
        egreeme11ts ~d underst4ndil'lgs, oral or 'writtert; with respect to the matters covered by this Agreement,
        including (without limitation) the prior Exclu~iv~ Sales Represenl:ative Agreement executed.by .the
                                                                           0




        Parties,

                 12.9 Countergarls. This Agree~ent may be executed in two or mote counterparts, eaah of
        which shall be deemed an origjnal and all of which togeth~r ~hall coostitute one itJstrument. The
        parties agree that a facsimile tn~y be.executed as an original·.

                 12.10        Advice of Counsel. Bach of the parties to this Agreement represent that they
        ha.ve hecf the opportunity to sel(k the advice Qf COi!itsel with :respect to the negotiation and execution of
        this Agreement. Representative further represents that 1t has executed this Agreement of its own free
        wUJ and is not relying on counsel for NuVasive with re5·pect t6 any portion of this Agreement.
                12.11         No Implied Licenses. Except as explicitly set forth herein, Representative is not
        granted any explicit or implied"licenses in this Agreement

                   12.12    · Representations :md .Warranties.
             (a)       Corporate Power. Representative is duly organized and validly existing under the laws of
                       its state of incorporation (as set forth on the first page of this Agreement) and has full
                       corporate power and authority to enter into this Agreement and to carry out the provisions
                       hereof.                         ·

             (b) ·     Due Authorization. Representative is duly authorized to execute and deliver this
                       Agre~ine~t ani;i to perform ·iti; obligations h(ireunder. The pe~on exec\lting this
                       Agreement on Representative's behalf bas been duly authoi·i"zed to do so by a1t requisite
                       corporate action.

             (c)       Bindin~ Agreement. This Agreement is a legal and valid obligation binding upon the
                       Parties and enforceable in accordance.with its terms. The executi9µ, delivery and
                       perfdrinance Of this Agreement by the Parties does not conflict with. any agreement,
                       instrument or under~anding, oral o~ writt~n. to which it is a party or by which it may be
                       bound, nor violate any material law or regulation of any court, governmental body or
                       administrative or other agency h~vlng jurisdiction ovei: it.

                 12.13         Compliance, Representative agrees to maintain all rt®rds required to
        substantiate compliance ~ith ali such laws, regulations, policies, procedures and guidelines and t~rms
        pf this Agreement.fat th,e tetm of the Agreement plus an additional six years. Representittive shall not
        in any way disparage NuVasive, its produQts, cit its .agents or emplo.yees, including, without limitation,
        takirtg any action or making any statement the intent or reasonably foreseeable effect of which ls to
        imp1.1gn or injure the reputation or .goodwill ofNuVasive or any of its agents or employ~es.




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             Thi:> AOREBMENT is enterc;d into and binding upon the Parties as ofthe Effective ~ate:



        NUVASIVE, INC.                                   ABSOLUTE MEDICAL LLC




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                                                     BXBIBITA
                                                     PRODUCTS

       This E'ldtibit is incorporated by .reference into and made a part of the Exclu'sive Sales Representative
       Agreement (the. "Agreement"). petween the Company and Repr~entative (as defined in the Agreement).
       Any capitalized tenns not defined in this Exhibit shail have the meaning set forth in the Agreement.
       Should a conflict ati~e between this Exhibit and the Agreement., the provisions of this Exhibit shall
       control.



                                          Products: All NuVasive Products




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                                                       EXHIB1TB
                                                      TERRITORY

       This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
       .Agreement (the "Agreement") between the C<>mpany and RepJellentative (as defined in.the Agreernenj).
       Any capitalized tenns not defined in: this Exhibit shall have the meaning set forth in the Agreement:
       Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall
       control.



                                                          Territory:

       The following countie3 in tho State of' Florida:

       Flagler                                                     Brevard        Martin
       Volusia                                                     Osceola        St Lucie
       Lake (with the excepti<;>n of Clermont ambulatory           Orange
       Surgical Center)
       Seminole                                                    Highlands
       Pallil. Beach: with the exception of the follqwing          Indian River
       hospital: Lake Worth.Surgical Center


      The following hospitals in Broward County, Florida:
      Advanced Orthopedics
      North Broward Medical Center

      The following hospital in Miami-Dade County, Florida:
      The Gable Surgical Center

      The following hospital in Poll< County, Florida:
      Heart of Florida Regional Medical Center, Davenport, FL




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                                                     .BXHlBITC
                                                    CQMMISSIONS

       This Exhibit i& i~corpo.rated by reference into and·made a part of the E'ic~lusive Sa~es l\epres<mtative
       Agreement {the "Agreement';) between the Company and R~presentative (as defui.ed in the Agreement).
       Any c~pitalized terms not defined in this Exhibit shall h!lVe th~ meaning ~et forth in the Agreement.
       Should a conflict arise between this Exhibit and the Agreement, the provisions of this Ex.li.ibit shall
       control.


               Commissions for Exclusive Representatives (stretch ·amounts pajd quarterly):

                                                                                                              2013
       Flat commi~~on on a,11 ~ales UP. to $10,600,000 (2012 sales in the Tei;rltory)                         15%
       Flat commission on all sales between$10,600,001 and the asrnregate Quota Commitment                     ~8%
       Additional <::ommission on all incremental sale~ in excess of Quota Commitment should·
       Distributor achieve aggregate quarterly Quota Commitment but not quarterly Quota                        19%
       Commitnient in each product ~eimrv.
       Additional commission on all incremental sales in excess of Quota Commitroenl. should ·
       Distributor achieve aggregate quarterly Quota Commitment AND quarterly Quota                           20%
       Commitment in .each product category.

       In addition, upon the a9hievement in $10,600,000 of Net Sales in ·the Territory, Represer)tative shiill be
       paid an additional $18,000.                                                    ·

       {Above commissions ex.elude fet;s/loaner charges, which shall be paid at 20%).


       NuVasive reserves th.e right to introduce new products with different commission structures.




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                                                   EXHIBITD
                                           ADDITIONAL COMPENSATIOl'{

       Within fifteen days of the completion ofthe milestones set forth belQw within the titrtefraln~ set forth
       below, such COtl!pletion to be determined ·in the reasonable discretion ofNuVasive, NuVasive shall pay to
       Distribut6r the following amounts.

       Within seven (7) days of the Effective Date:

       /    l. $50,000 upon the suceessful establishment of Distributors legal entity and tho execution the
               Compliance Agreembnts for Distributot's employees/contractors.

            2. $10,000 upon completion of compensation plans for the Distributor sales team.

       Within thirty (30) days of the Effective bate:

            3. $i5,000 for the completion, in collaboration NuVasive's Sales Director, Southeast, of an
               updated business plan.

            4. . $35,000 for the completion of c6mprehensive recruiting, hiring and expansion plart.

       Within sixty (60) days cifthe Effective Date:

            5. $50,000 for tho establishment of internal infrastructure· to support case scheduling, asset
               management, etc., specifically to include:
                 a. IT Infrastructure (iPad implementation, Email System etc.)
                 b. Adoption ofNuVasive Mobile Charge Sheet and Salesforce.com

            6. $50,000 for the successful collabor:ation and development of a case management and asset
                management program ahd associated metrlcs.

       Within nin~ty (90) days of the Effective Date:

           7. $25.,000 for the completion of a new distributor training program, such training program to
              \nclude training on:
                 c. Compliance
                 d. Sales Administration
                 Q·. Legai
                 f. Sales Training
                 g. Leadership Development
                 h. Hiring and Recruiting

      Wi~hin one hundred and twenty ( 120) days of the Effective Date:


           8.. $5.5,000 upon the execution of hiring and recruiting plan as set forth in Number 4 above..



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                                                                                                                 I
                                                  EXHIBITB
                                           2013 QUOTA COMMITMENT

       This Exhibit is incorporated by reference into and made a part of tl,J.e B~chisive Salos Representative
       Agreement (tho "Agreement") between the Company and Representative (as defined in.the Agreement).
                                                                                        m
       Any capitalized t.enns not defined in thts Exhibit shall have th~ me?.nmg set forth the Agreement.
       Should a conflict arise between tlils Exhibit and the Agreement, the pro:v!sions of this Exhibit shall
       conti'ol. ·
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                                    -maUBITF

                           TERMS AND CONDITIONS OF SALB




                                    [see attached]




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                                                                         TER?t-iS AND C9NDITIONS OF SALE

       Tbesc tcm1.r and condltloM 11.overn the sole of nil products ("l'roducts") by NuVniln®, Inc. (''.$ellet") to the party Issuing an order for Products
       bereunde,r '(".Buy¢') apd apply 119twlthsbtndlng any. c11nl!Jctj11c1 ~onlnli;' o~ a~d!llooal fel"!"S ~11<1 cgnditlons In any purcl1u c ord@r or oiher
       ilocumbit or communicaU011. T~e terms and conditions constitute thuole, llnal and entire llgreenr.ent between Seller and Buyer and ti\Jpcnedc
       1111 ot•cr ~grctme11ts between th~ l'egardJl\11 the subJ~ctmallfr .hueof. These te~ an~ conJll.tlo.ns may only be Waived or mod{fled In a written
       agn¢mehtslgned by an auOiorlud reprcsenlallve orStllcr, N'ettlaer.Sellel"s aclctowledgemut or a ~urch11h ordtr nor Seller's IJiDure to object to
       con.Olctlnc•. con·IJ'2ry or addjlional lerl!IS and conditions in a Plll'Ch!ISe order sliall be deeme!l an acceptance of such te~s l!Dd colld!tloou or a
       wliMr of the provision~ ltercot

       1. Ordea and Acceotwcc. Orders shall be ltiltl1ited by Bll,)'cr .Issuing a purchase order to Seller. Orders shall Identify U1e Products, unit
       quantities, dCSCJ:ipilons, applicable prices and requested delivery dales. All ordin are snbju.t to 1ceepta11ee by Seller. Attqited orders Olay not
       be cancelltd except upon, SeJl~.r'.s "'1'!1ten approval, whf#i ,.,..,, at &Jler'i alscrdi1>n, !>e $ubjj:ct to Buyer's paymtni or Sdltr'• r~n@ble
       tariullatlon charges. ORDERS SHALL BE BINDING ONLY UPON BUYEJI, ANJ> SHALL CEASE TO BE BINDING ONLY IF AND WHEN
       EXPRESSLY llEJ.ECTEDBY SELLER. ONLY ACCEPTEDORJ)ERS SlTALt. BE BINDING UPO~ BOTH SELLlfilAND BUYER. All prl~tS
       for Products, lncindlng COr the use of 'Loaned P.rodutts (dcOried below), sh1UI bb In accordance with Seller'• liJl pricing, unless modified in ii
       written Airecment signed by an ftnthorfxed rtpresenlatlve o(Sciler,

        2. ]ennund Method o£1'Aymeot Pa)'lre(rts sllBll be \lie upofi re;ofPlot !mqlce and ~el be 11\ac!~ ~o{ely ii ~.s. daters in lnmedl~lely 1jva11able I.Inds. 1paym~t is
        oolcecelved by SE!ler'o\1ilin thtty(30} C<?lendar dafs ~the dale rl~. O\e unpaid balance ml ·accrue l'llerest tom Ile dais due unll thedate pall at a l'8!e of
      · ooe ~rid orie tiJ11f percecit (t,5%) per month, or Iha m!IXfmum ml~ .ello'!'led ~ appr11:9blo law, 'o\tt;:hevei- Is less. If in eie .tJd"11.tl\t cl Seller the til\andal condiliQn QI
        Buyer, al any time, does not Justify conunuance or prodtfclton or Sh!Pfllent on Ille terms ot payment specified, Seaer mT!j reqtJ!re lull ot partial payment of &rf/ 001r1>feted
       dalive!Y pri<>r lo deliVeiyol any su6sequept orders.
       3. Ill!t aod Delivery.                                                                                                                                 ·
       (A) Pn>difu'snar be deU\'ered FCA ijlcolemlS 2000) poiit of shipment 1ltlo aid risk ol k»s or dam6g& 1!1 lho Ploclucls shall pass to Buyer upon Se?er's lend« ol Ille
       Products lo a C811ier for shipmen!. Hbss or dainage oca1rs ®'Ilg sijpmen~ Buytr Shalt not he refeved of Its obfilaUm k> pay costs of klsulance. ~ lmpoll
       duties, taxes orany olhet ~11l'!ses incurred for ffc:enslis or clearancEs requlmd al port or enby and deslilati6n. A serui\y lnletest In Ille ProdlJcis shall be retained by
       Selilr un~t receipt ot pay1111J11t In lul from Buyer. s·ener shan use cpmmcrclaUy reasonabfo ~fl'orts lo meei Buya(s requesle4 defiveiy sctiedule.
       {B) Sellet agrees to {iiovlde Buyer v.IUl loaned foslrumoot.s and products ('I.baned Pnxtu&1sj lor use by Bltjer wllh lho Proifucts. SoMer ls 111d shall be at alt Umos 11\o sole
       11111u!fof the Loaned Producs. Buyer has no rtlhl lo sel, lnll\sfel,. asslgf\ pledge or olheM1se enetrrber lhq Loaned Prodll')\s l'A\hOut pr!« wil\ten approval by Setler.
       aJ)'ershelbe!lralrisksol loss o;damage to !he Loaned Products (and II! assoda!Eid cotlsore~)Cromanycause flom the date of deliveiy to BuyarUl1lilre\lmed
       to ~. ~ such loss or damage resulls'flom "8 009fgence or Seier.

        ~~~~-                                    .                          .       .                                                                       .
       (A) S~lor wairanls that (I) o~ch Product« loaned Product shal conform tolls published specricalions upon shipment to Buyer, ~nc! (2) for a penod ol.,omi (1) year from
       lhe date of deh'veiy, the solt.vare Jncluded In Bl'IJ Prowct ~ mafeJialy caofom) to Solo(e then.cums1t documenfallon for such so!\ware and Ille media conllllnlng such
       softWare (butnot the software Jtself) ls rcee trom ~slcal defecl3 (IM "llrnHed Warranty').
       (B} EXCa'T FOR lliE EXPRESS LMTED WARJWfTY IN $ECJ10N 4(A). TO THE MAXlMl.K\.1 EXTENT ALLOWABLE UNDER APPLl~LE LAW, SEU.ER
       DISCLAMS All WARRAmlES, WHETHER EXPRESSED OR lt.f'l.IED, STA-TUTORY OR OlliER'MSE (INCLUDING At<f WAAAANTY OF MERCIWflABlllY, NON·
       ll!FRINGEMENT, OR FITNESS FOR A PARTICULAjt PURPOSE) IN CONNECTIOO WITH !.IN PROOUCT bR LOAfEO PROOUCT. Seller assll)Vl!I no ttabilly fOr
       fautty or Improper appl!caion or use of any Prodl!C1 or Loaned Product or lniprop6f lise ot eoy Product or loaned Product rn corrblnefOn wllh arry other prodycts.
       (C) WJIJ\ respect lo P~ or Loaned Products v.lltch do not con(om lo their pub fished spoojllcations, Soller will repair or, at lls opUon, replace any n0fl1Xlllfoml~
       Protluots ~ loar)ed Product& Brid relurn Ille r~palrod o~ replacemoot Products or loaneil Products to BOyerwilhout charge. All Products riitumed under wallan~ must be
       aoccmpanled by aWli'!eo (l)lj)la(\alion of ll)e non-conronnance: SUCH REPAIR OR REPLACEMENT IS BUYER'S Ot-Ly REM1:0Y ANO Sal.ER'S ONlY LIABILITY AN.D
       OBLIGATION FORllREACH OF WARRANTY HEREUNCER                               .
       (D) NO.'r'MllisTAADNG ANYTHING ELSE HEREIN, SB.lER WU NOT BE L1ABLE HEIJEl.!NDffi oR OlliERMSE IN CONNECTION WITH Nf'( PROOOCT PR
       LOANED PRODUCTS, UNDER m< LEGAL OR EQUITABLE THEORY, WHETHER '(N CONTRACT, TORT OR OTHERWISE ~NCWOlNG NEGLIGENCE OR SlRICT
       LIAB!UlY): (I) FOR At« AMOUNT EXCEEDING THE AMoUNl' PAID BY BUYER TO sa.u:R FOR 'rHE ORDER. GMl-IG RISE 'To SUOH l~Bllfl'V: ~o FOR #IY
       PUNITIW, ~PECIAI., INCIDENTAL, INDIRECT OR CONSEQUENTIAL DAfMGES, .QB (Ill) ANY LOSS OF DATA, LOST PROFITS, LOST OPPORTUNITY OR LOST
       REVENUE. WHETHER CHARACTERIZEDAS DIRECT DAMAGES OR OTHl:RWISE.                                                                 .
       5. I.am, Se:fets J)lic:es am excWJe of illl laxes. Respons!IJ!ly for aJ a.rsloJllS diitiss, chuvos, sales !Ill(, v•Hdded lax, ard M.Y c!her laxes ~d by art/ faxing
       ~on ll)e sale er use of Inf of llie P~ or Loaned Prodll¢> (ex.WdilQ any taxes sttel'f on Selel's lpcune) shal be llorne sde;'/ by Buyer. ti Buyer Is lax·
       exetJ1lt, Buyer shal, prior to purchase, furnish Seier with any documents necessary lo demonslrate Its lax.exempt staus. l'fovlding su~h d«:o.menla!fon. however, does
       not relieve Buyeroflls obl!gattons to pay laxes In ltls Secion 5, if8(1pbbte.

       6. Compllanco wl!!! law. Qsye{ represents, warrants and covenanis ~~ at all iknes, Buyer's .use. disW>Ullon, ~e. [lll!rl<e5~. advertlSlng, ·1mpqrt i1nd export of ~
       Products and Loaned Prod\ICb 1'!111 ccmply vi.th al eppllcab.'e taws, rulOs, regulaUons aid lndo!by slaldal'ds of the United Slates Md ot any ~fier applicable junsdcllon,
       an~ taws. physljlao refeqat laWS, br;lulll! lhe !..f.S, fol;~n ~I Pra~ Act<and 8' ilPflkab!e elq>at laws, ~~ end cegu!alions.c:( Bio Ulled Slates
       or any applcable ·1oceign goY81Mlent, agency or au~. Buyer viii not 'eiQlort or r~ or authorfle the expect or re-ei;port of any PIOduct er LOflled ProWd,
       le$1ology or l~lonnaOon It ob~ or learns froO'I Senor (ofl!IYf ?lrect product lheraot) In vlo!Slkln of aey such !~~ res~s or n;gulillons. Buyer ~n ~laln and hear
       an 01<1>enses ref;ilihg to any neoossaiy ~census andfor exemptions with' t~ecl to the exp0!1 lrotl'i lhe OsA of the Products 0< lo~lled Products, or thd knport of thiJ
       Products or loaned Pioduc!S IQll'lY location In CO(lllllance v.i!h al appUcabte lews ~ regulallu1~
      7. tnte!Ieduat Ptopgrtv owamhlp. 1,1uyer aemo·.l'ledgeli lltat ihe P~ and llianed Products lncarpora~ ~cmobgy tha! are $UbJect to Sene(s ~aJ f'.rojlerty
      Rights, ard lhat sud! ~ogy 1$ ilot sold to Buyer end Is onfy 1.'censod to ~ f-Or use sd9¥ as ilalli>craled ilrfd/or embedded intO the Product or loaned Prodult
      Olhetlhan lhe fore!ioill kense: Seller or Its lcehSors shal retail a!! n!elleclual PropeeyRl1lhls aijd inleresb lnand ID or underlying tho Prodlctsorloened Prod!J<:ls and
      nolhll)9 homh sfiall be construed lo grant Buyer a ilcense of any kild lo any fntellee1Ual Property .R~IJis of Sener. To ~ rnaxmum exlMl allowable 111der applcabte law,
      Bµyer agrees !hat Rshal not, dlrocly or lndiroeUy !hroug1_1 any Jhlrd pe1\y, reverse en§llleer, d0C9rilp!e, d~plicale or transl~te any Prod~ct or t.oaned PrOiliJol or S!Jell to
      reveal Qlo !lade seaet or !<now how undeliylng any Product or loaned Pr~ct 'lntollectual Property' or 'ln(etl<iclual Propef1Y Rights' as used hetein Ql!loclively
       means air/ Md al patents, ooi>Yf.IOhls, IJ'a\leffiet~, li~de S9cre% mas!< ~. mor(ll ~his, knoW-how O! any 0U1er propriolaiy right, ~od atrf appUcaUons tlf !he.foregoing,
      mder the i - of fte lhillld Slatas, aoy olllGr ~ldlcn. the Blropean lhlfon, or any o4her bl-lateral or mul!Hateli!I ~ea()' regille.



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      8. RelUro!Upg!llde Polley, EXCEPTWITH RESPECTTO BIOLOGIC PRODUCTS, Buyer$1Ja!I be able to rel!lm any unusl)\t ProduCts lorfull i:iedll l'lilhln slicty (60) days
      al dQllVeiy; pra.ildQJf, ho.1'8Vet, ~I Bµyer II@ be ~harged q 30% ~s~np foe for aU lf\USed Products relooled aft,-)r fen (10) days of dell\lery; pfOlllded flJ/1he(, that iii
      rehlns [Oollde a Relilll\s Malellal AIJ1horlznlion (RIM) 11\llnber, \\1llch '03!1 be oblalned lrom NUVasll-o cus!limer seMce. Biiyer wll nOt be able to rclum a)Tf Producls alter
      slXly (60) da)'s al de!toteiy. Alrf ~Jllnelllalon PrcxfU.t t Jl!llt!lased J>y Buyer from Seller may be upg1'ded for a newer model devebpcd by Seier fd such r1!Qdel w;is oot
      availllblffat Ille Ume of plichase) ~ ~ae (3) yeas ol lhe deil~ date or.Ille Qigilal ins~on Prtld'Jct i1 i!C<:Ordah:e v.!lll lhe ~; (a) f(l( dle frst yeai- alllt'
      lhe de!Ymy date, lll.yflf shall recall.:e 100%credit of Iha oilglnal pu-cli.ase.price to be eppried lowa"1 the puoi/l<ISE!, ~lSde!'s llsi price, of Iha upgraded lnshrnentalion;.{b)
      for Ille seroild year after the de.'tvery date, Buyer shal re<:~e 50% crcill of lho origfnal purchase prlco' ID be appied toWard !he purdiase, al Sel ets list price. of lh'e
      upgrade lnstrumen!aUon; an~ (c) (or the Ui;d ye~r after \he dellV!llY date, Buyer shall rece.r1e 25% creditQ( lho orijloaj pli'dlas,e price to be appieil_rowaaj' lhe purdlase, at
      Se!le(s Est pica, bf lhe upglildei! fnslAfmeolilUon.
      9. Software Maln!eJWlc!!l!JpC!otns. For a pellod of one (1) year fiom the date of dellveiy of a Product aintaklng·softwaf&, Seier \\iiprovide Beyer with so!mare updates
      and 514>port~eivt;es. &Jpport :;e~ OQnml of Iha IQllowing: (a) tei:hnlcal $\lpport by !e!epbo!lc lwerity.fcur (2.4) ~ours a drtt, yoar-tOUlld, at Salle(s wpport line at 1-
      eT7-34s.551l from Ille lkll!ed Safes and at 1.a58-909-1800 ftllema!lonaly; ard {b) if aiyer reports a sdtwate prdllem to sOhiir, and Selerc:onfllll$ ~Die problem
      exists in $efler's ,Proitlcl, Se~r WI~ use I~ b8St &lforts .Ill prilmp~ OO!reiit or ~'ya wodt:atixild for the eilcr ifit sttistmftaltf degrades 1)1! pelfomlal\Ca 0( Ille Produci,
      end to corred other slgnltlcenterro" in fuluro software ~eases.
      10. Discounts and Rebates. Buyer.stiaU dlsoroso any dlsoouors or other redwUons In prlce recelVed under ti-is Agreement ~s required under Secl!on 1128B(li){3J(A) of
      the Soda) Slia.i~!y ¥1 (42 U.!l.c. 13roa.7b(b)(3)(A)) 16 any state er federal program v.ilich.PIOVldBS cost or charge,bas~d reimbursement to Buyer for Uie Products
      p11chased IJ!lder 11113 Agreement.
      11. Mlscelfaneous. Fabe by S*i' to Insist ueor1 pelformance ol eny leml « oondbset fol1h h'nh Shall not be coosbued au waiver of SU.ch tsmis and condllions
       and shal n01 a[f~ he ~I of Seller ttereaRer lo enf~.eac;ll .111d.every kinJI ~ Oll'dlloo. These tenns 8114 cood!ioos aod ail disputes. B!!sfl.a·oufol Cf rel;llDd to these
      tenns and conditions shaN be •'V and ·exc1ust1e1Y consrued and gOYemiid In bo;ooiahca with lhe flfNS oflhe stile of Cati!Ontla, ~. ~ appl!cS!on or any law lhat
      l'\'(lUld result In tl]8 applcetlM of adi(t\ren! b~ of faw, TI!t\ UN COfllle(l~On an Conkacls fo~th.a lntamatiMal S~11ol Goods Is heleby expiess>f a~ok!Qed al}d shag not
      apply to the~ le'llllS Md oondlUons. Arrt ana eB sulls herflllnder sllal be brought and resolved solely and exctuslvet/ In, and the patties hereby Irrevocably conserit to tho
      exclusive ,P.lrisd"ICllon ood propsrvenua Qf, 1he sta!o andfede(fll PJUrts localed In the County of San Diego, Stl,lle of California, USA, 81)d wafve any ob]eo~ons lfl!)relQ bas_ed
      on any ground fnDludlng ~!Opor venue or Forum Nori-Convanlens. These terms and condlllons shaU be blndilg upon and ilure b rho oonellt of the pal1les, and Mr
      ~ccessors, and Pefl1lltted ~\ins. H !J118 or more provlsipns In !hese teqns ood ooridillons llfO ruled entkely or P.wllY. fnv@lii! br m~ceable by a.ny p1J11rt or
      QOYerlllll1lll\al aulliiliy of competent )lrisdictlon, lien !he i'elOO.inilg portions f\ereof shall remain valid ll1d the parlies shaJ reforlil !he prvlislon(s) to the mntn.n exlenl
      necessasv~l!'Jlaerlf11¥llvalij and enf~e In con!Dnnl!y Wlf) the p~· inlenlasmriested heren. Mr! ~his lo illlCIUed pa;ments and Secqons 2, 4(B~ 4(0), 5;6,
      7, and 11 shall suivl<o the ex~l!ltia! of fleso reom end condcons.




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                                                 BXHIB1T G .

                        MOMA Cod~ of Conduct on Interactions with Healthcare Providers




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                                    EPE;NOENT CONT_
                                                  RACTOR AGREEMENT


              . . THIS AGREEM NT, rn~cte tlii~ 13th q.ay of Fi;ibn.iary, 201.3, by and t,)~tween
         ABSOLUTE MEDICAL LC, a Florida 0orporat!Qn (hereinafter referred to as uAg.entn,
          who.se-aqdress· Is 213 . illa Di Este Terrace#105, Lake Maiy, FL 32746 ·am:l1 Steve
         Madsen Pro. (h~re.iliaft r referred to as "lndependet:lt Contractor whose address i$
                                                                              1
                                                                               ),

                                 1 2 S Ham.pton.Dr., Jupiter, FL 33458.       ·


                                                 .WlTNE$S'E:TH:
                  WHEREAS, Age~t Is in the bU$ir1e.s$ of selling surgiqal .anq non~surgie;al spinf:ll
            products and implants related to spinal surgery, including, but not limited to spinal
        irnpJants, access instrum nts, such as retractors, graphing material, bio_logical products,
          anc,i.otner produc~. whi h are more fully de~crio.ed C:?Jl Schedule B (the 11Produ~W') in ·
         tne terri~ory set forth in chequle A attaehed here~o. h~rein~fter referred to a.s ''Agent'-$
                T~rritory" by c;me o more m91nufacturers who supPIY the Proc;luqts to Ag~nt
                             ·          .     ("Manufacturer''); ·

                  WHEREAS, Ag ht desires to engage Independent Cor)tractor to pr.ovide the
         services described in Sc edute B (the ''Service~,n ahd lnde~endent Co~actor ~esires
              to accept such eng gemen1, ~II on the terms and conditions set forth her:~m;
                   WHEREAS, In ependent Contr~cfor s~eks to be eng~g~d by Agen~ as an
              independent contra . tor to provkle the Services described in Schedule B 'in the
         designated territory (set orth in Schedule G)(the "Territory") and earn a commission as
                            · set orth in Schedule D for' such services; and

                 WHEREAS, as a material inducement for Agent to enter into this Agreement is
            Independent Contract. r's agre1:3ment to be ~ound by all of the, terms and conditions
                  · contained he eihin particular the provisions of Seotloti 12 below.

                  NOW, THEREF RET in consideration -0f the mutual covenants and promlse.s
                        contain d herein, the parties hereto·a!;Jree as follows:

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       ..       ::latio~::':::J
        he that of
                                   ::is     Agroement intend that the   ~elah'anship between them
                     corporat ion }no independent contractor. Independent Contraator is an
        independent contractor 9f'the Agent. The parties do not intena to create a partne!'Ship,
        joint venture or employelemployee relationship.

                (ts)  Agent shal not 11ave the right to require Independent Contractor to d.o
        anytti!ng that would je · pardize the relationship of independent contractor between
                                                      l

                                                                                       Im··a1
                                                                                                EXHIBIT

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        Agent and lndepehdeht C litractor. Likewise, Independent Contractor sh~ll not conduct
        his/her bustness in any W.ay which will f:!iva rise to ·an employer/employee relationship
        between the parties.

               (c)    lndep~nden Oontraqtor $hall perform the duties described in Schedule B
        a,t a loc~tion of the Jndep nctent ContraGtor's choosing. Independent Cbntrac1or. shall be
        respon~ib!e for all cost$ a   sociated with maintaining that location.                   ·

                (<;J)   The Agent hall nol .requira that lndepe·ndent Contractor work -specifleq
        hours or qays and the In epenoent ContraGtor ~h<iill set his own schedule. Independent
        Contractbr shall have no ·1xed hours, no e$tabl(shed routines or routes; nor pe requir~d
        to cover the Territory itbitl. a- :specified time frame. Independent Contractor has
        dlscre.tio.n regardJng whe and how to p_erform his or her duties and responsibilities
        describe<;! iii Sched.ule .B. ·

                (e)  None of the benefrt:s provided by the Agerlt to Its employees are available
        to the Independent Contr ctor, including vacation pay, sick pay, insurance, or retiremerit
        benefits.

               (f)   Agent shall not wrthh0ld a11y local, state, or federal income tax, social
        security, or other withh !dings r~quired of employa·es from cornm·issions -paid to
        Independent .Contractar, Independent Contractor snail indemnify and hQld Agent
        harmless against any oft e costs sp~cified In this paragraph,

               (g)     lndependen, Contractor is res_pons·ibla for hlrlhg, paying, and supervising
        any staff that he or she ay hire. Independent Contractor shall ensure that all of his/her
        employees, agen~s anCI i qepe.ndent contractor$ rendering services her.eunderrneet th~
        obligations specified ·he ~in. Tt-le Independent Contractor, his/her employees ~nd
        agents shall, at all time , exercise complete dfscretion and Independent professional
        judgment in .the perfo ance of the services provided hereunder. Independent
        Contn:totor shall indemnif and hold Agent harmless against ~ny costs or eXpenses that
        are incurred by Agent as result of any actions of Independent Contractor's employees,
        agent$ and independent •ontr~ctors. ·

           ·   (h)    lndependeqi; Cofltractor agrees to be solely and entirely responsible for
        his/her acts and for the abts of his/her employees and agents, and for pay_ing ~ny taxes
        and insurances require~ .by law. Independent Contractor shall indemnify and hold
        Agent hanriles.s a.g~_lnst ame. ·

               (i) · ·lndepende CoritraGtor may work fQr other entitie._   s while engageq as
        Agent's·ind~penqelit con actor so long a~ that work does not intt?rfere wfth lndep.ehdent
        Contractor's perfo.nnanc of the duties described if1 Schedule B and does n·ot co11fltct
        With Section 12 be!QW. .

        2.     Independent Oont c or~ Agent he.r.eby engages lndap~nqe nt Contractor as an
        indepandent coriiractor t provide th~ Services ih the territory described in Schedule    c
                                                       2

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         attaQhe.d hereto and·mad a part hereof (the "Tenitory"). The pmduct? that are included
         in the .proQ!Jct Q(OlJ.PS sol · by the independen~ contra.ctors em~Joyed by Agent are list€d
         Oh ·schedu_le B ·and a sold by the indE!pen(jent contractors and field support.
         repn~sentatives ·exGlusiV of ariy other products wh(lb?~ver. Independent Contr:actor
         h"ereby accepts such            gagement, all subject to the c6nditiorts 1 limitations and
         provisions set .forth .in tbi .Agreement. A~ent reserves the right to review ·and modify
        . from time to time the T ·rritory and ·the ·duties of engErgement, and limit, expanct or
         otnei:wjs~ ch~n9e-th~ Teii lory a.nd the <;luties of enQqQ_ernent


         3.      Term of A re.eme t. This Agreement shall commence on the .Effective Oat~ ~nd
         shall continua for one (1 year from the Effective. Date. Unless elther party r;>rovides
         written notice of not less an thirty (30) days from expiration of the Term that .It wishes·
        .to terminate this Agreem nt, then this Agreement shall automatiQalty renew for a period
         of one (1) year. The ter shall thereafter automatically .renew for successive ooe (1)
         yeat periods unles~ thi (30) days notice is provided, This Agreement may also be
         earlier tertninat~d by eitht r·party in accordance with Section 9 hereof.

        4.     Cover.iaots of Ind pendent Contractor. Independent Certtraotor covehants to
        Agent that at a·1l times du ing th~ terr.n of this Agreement:

                 (a)    lndej::>enden Contractor shall U?e his/tie.r best efforts to work with the
        .Independent Contractor' and. field support repres~n.tatives to advertise, promote and
         sail the Productl:l and to evelop, maintain and regularly increase a substantial volume
         of.sales within the Territo to existing and new customers in order to achieve maximum
         market pe-n~tration.        I·                   ·                 .
              (b)     lndependan~ Contractor shall distribute only literature, brochures and other
        promotional material$ (~llectively, the "Prometion~I . Materials") which nave J?een
        provid~d to Independent Contractor by ~gent or by Manufacturer and shall distribute
        Promotional Materials o ·1y to Independent Contractors of the Agent, field support
        representatives; existing ustomers and p.otential customers of the Products.        ·

                 (o)    Except as ~t forth in Promotion~! M~terfals or on Products provided to
         lndepender.it Qor.itractor, he/she s.hall not \,!Se Manufacturer(s)' name, trademarks.
         sen(i.ce marks 9r logos under any circ'uinstances, u·niess Independent Contractor
         obtains prior written ap roVal from Agent. Nothtng cont.atne.d in this Agreement is
       . lntendecl to give lndepEm ent Contractor any license to use a.riy of ttre foregoing. ·

           ·     (d)   lndependeJ: Contractor shall store all of tne Products delivered to him/her
        .at the location set rorth •n the fir~t page of this Agreement.or at suoh other locations
        Within Independent Con ractor's. Te.rritory approved by Agent in writing in advance.
         Independent Contractor hall use hls/her best efforts to ·safeguard all Prbducts fn his/her
         poi:ises$ion or control an to protect such Products from damage and theft, as well as
        maintain an inventory of roducts- in Independent Contt:~ctor's possession.

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                     (¢,J.lndep.en.den ~.ontr~c.tor snail n.9t (i) koqwingty se.11 or QE)liJl.er. directly 9r
         it1directly; ·~HW Pt04u~t$ :f r·li~e ·or· rt;?s~J~ outsioe· lnc!~pen~ent Cohtra9t9t's Terfi~ory; ·(ii)
         s.ofic.it   oraers..f9r Produ.~ s ftoftl   c;;u.~fomer~ 9Utsid.~ litd¢peJident Cohtr'aetor'~· Territory
        -tl\roµgh a·ny·means; or (ii establl$h an office 0·utside.ln'dei:iendent Contractot's Territo·ry
        for sale pf the Products.
               .Cf)     fndepende1 Contractor shall hot make representations to ·customers or
        .potential' customers ot hitd partle_s tiiat would be detrimental to either Agent or·
         Manufacturer.

                (g)     lrtdependeri .Contracto.t shall not alter, in .any way-1 the ongin.al packag·es
        Qf.any Produc~s or r.epac age. aoy Produets or ship ~ny Proqucts in q~m~9eQ pa¢!<age$.
        Whi¢h eould ·E!ffect the s .rili:ty or fftriess· f6( µse .of the Produ·ct ShoLlld Independent
        Contractor ooirre into possession of ·:;.iliy Prb'ducts Which need to be repacK~ged., lie/she
        shail return :sctrne t<;> M::tn facfurar with notice to·Age,nt                      · ·

               .(h)   U.gon adva ce norlc;e ;:ind during normal business hours Independent
         Cpntractor shall pe.rmjt gent to visit and inspect ln.depe.ndent Contractof,s premi$~9.
        an9 inspecqhe P.roduc;l.$         nh.i~/h(3r p6.s~e$Sion. or CQntr'QI:                        .

        .      (Q      lndeP.ende ·Gontra.ctcir shall partic\pat~ assist and cooperate .With Ageril
        in the collectiofl of ctista · er accounts receivable as may be r~qi.Jesied by Agent ftom
        time to time.                                                                          ·
               · (jJ   lndepende t ·GontrattQr sh.all not enCtJr'nber, rent, ~eil, create 1;1 s~curtfy.·
        interest in or oth~rwls~ fr nsfer or disppse of any Products In lhdepend..ent Cont~ctor's
        possession· or QP11trol.

                (k).   loqepende t Cof)tra.Ctor !3hall exey~e, alone· Of with Agent, any UCG .
        ffnahcf ng statement or o her documents requested by Agent to protect tb~ owners(lip
        interests of Manufacturer in lhe· Products ~g~lnst the Interests of third persons.
                     (!)   lflci.epend..e · Contractor sh.all not make. any faJs~ or misleading
        r~pt:esentatipns or ~te. ems to any· pers'Qn wttti re~pec;;t to Ag~nt. Man~cturer or llie
        Proch.,1.cts. fl111hermo(¢ 1 n9~perideht contractor ~hail not make any express or implied
        warr!!inties to ahy custo ers or prospective customers with respe·qt to the· p·roducts·
        which ;::Ire in any w-p.y inco.nslstent with the Promotiona.1 Materiali;;. Furtti~rr:no.re,
        lntl~perident Contractor hall nc~t make any expres~. or impUe.9 warra.riti~ to ~u$fc;>ni~rs
        or pot~n~ial austom(?rS -or any other party regarding the Products which ar.e not Included
        in ·f0arh.i'.facturer.;~ tJi~ii c rreiit printed materials without Agent's prior ·w 1itl~n consent ]n
        each instahce.
                 (rn) lndepeni:te t-ContraGto.r shall not.enter jntc;i anY. pgreemel\t fof or onbehalf
         of' Ag~nt or·N1a.nuf~9t4re ; ~r~,t$ any opligatiQn on be.half of Agent or .Manufacturer, or .
        .o~herwise· att~rript tO. bin or pbUg~ft! Agent or Manufacturer in any manner.

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                (11)     tndep~rrd~n Contta~tor shall comply with all of the term.~ ~nd conditions
        -of engagement, -an.d ~II · f Agent's .in~truction~ and reqµirement9 Y'!hich. may. b<.1 stqfod
         by Agen\, orally or ·in writ! g... from.time to ti.nw.
         5.      Gov· nai1ts ·of A · e t.. _Agept~covf3n.an.ls to lnr;!ep~nd'~nt.Q9ntraotor that ·~t ~II times
         dµr1i,9 thete.rrn·· of'tnl.~ A9 eem:en1:                      ·
                 C~l     In ~h~ eV.~8 of !(Jniteq pr¢<;\,iGt aya!lability) .Ag~nt shalJ disttibuje Ptod,µcts
         to A9,e.nfs Independent C' ·rifractors aoci:irdin·g fo Agent's sole dts.ccre~jo'n.
                 (b)    Agent $hall make -r'easonable effurts· to. fiil .etaeh order of lnd~~·e.rident
        Contractor for Products f at Ag_ent af>.prov~, but sha"il n'1f be liable {n ar.iy· respeot f()r a
        faihJ r~ to ship"OrJ9r ~ del. y_ in shipment.of P'roduct$.

         ~'!ntlepende·
               .. . Busi9e~s Plan,. .F)pm_time. to t(m~ Whil~ · !nq~re~.~e.nt .Co~tr~~tor i1;.s.ervi~~ q$·an
                        ~fl~r~ctor
                       nt            ir·Agent ·nere.to., n;iay require
                                                purs.uq,n~         Ag~fit                 th~t Jnct~p$nQer;tt.
         Contractar submit to A-ge t.a "B·uslrtess ~Ian" cov~ririg a period of time be~aen six _(6)
         mt.inths: to one (1) y.ear. Tlie Busihess Plan shall indude .a sales torecast b'y pr.oduot.
         Qr6ups1 .a llst of target a;ocounts, a description ·of Independent ·ctmtractor1s prbposed
         mark~ting and ~ales str~ateQY and . ofuer relevant ·data ~· may t)~ r~uested b,y Agent.
         B~~~d on syph B'~s)n           Plan and tn~eP.enq$1~ Contra¢t¢r's. pri9f ·P~ffopnan¢e.
         Independent Contractor and Aj;Je.nt $hall establish a sales goal for lhdepef.ldent
         Coniracto·r for the periQ"d oveted by .the Busifless· Plan. It is entirely within tnd:ependent
         Contractor's dl~cretion h wto reach his or her s.ales goal.
        1.                                                                  ses.

                .(a)    lndepende     t
                                      'Contractor .h~reby ~ck.no.wle~g~s that ~itle· to ·any Proch,1ots
        deliv~red to lnct~pend~ I t    C<mtractor p1,.1rsuaJ'.)t to this Agr~einen~ ~h~ll r~majn in
          Mani..irattiner until sol · to a customer lfl the ordinary ·course uf busin.es·s.
        · N·otWithstanding the for~ olng, lndeperrdent Contractor .shair be liable for all lost ot
          d~mi:iged fn\(entqry _


                (Q)  P_roylde.<;1 ln ep~nd~nt Contractor Is not Jn.b.ieach of any opl_ig~t\QIJS µnr;ier
        t~i~ .Agre~m~,nt, Ag~ot s!~ll  pay to tn.d.epende~t .Contr~qto·r 'the Gommlssi0hs.described
        in Schedule D attached I ereto which ·are subje«Jt to mo·ctification upon thirty days notice
        to Indepandarit Contraot r;

                (c)     lndepende · Contractor shall not be entitled to rec~ive ~ny. offl.er
        ~mpensation      or conside atjqn from AQeot for the perf~rrnance qflts duti~s h~re~l)der.
              (d)     Agent up n approval frpm Mam.Jfacturer, snail e~t~b.lish                    pnoes for
        Produets ·to be sc)ld in.Ag nt's Tetritciiy.

               (e)    lndepende Cohtraotor shall obtain the prior wrilten approval of Agent
        With respect to the credit atfng of a new customer prtor 'to t~~ shjpment Of aey Ptodi,mts
                                                          ·.§


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        to s1:1<ih customer. Hpo receipt of y~rb~I· instruQtion~ :frQ.rn Agent, which :Si'J~ll JJ.e
         confirmed.. in writing, Ind pe.nde.n t .Coritr~ctor shall o~.a.$e <;!~livery .o f i3.ny .Prpd\,ic~s to ~
        ·G_1,1stom.er· WJ1iqh has fai.1 :.d lo tll<lk~ paym~ntS t9 fy'lap4f~$tµr~r ih ~(:Cord511:tQe With
         ~nufagqrers bit.ling req -itements ~t sUctt tifrle.                  ·
                (f)     . lnd~pehqen · ·contr~GtQr shall     pear' ~11 e¢.lS~ ~ntl ~~Rehses: o.f qondµcting
         hisfne'f business relati' to th'B sale of the Products in Independent Oontr.aotor'·s
        ·T~i'rifoty, including but m:> limited to! travel, sales experises:anci entertainment

        8'. , .Chan-. es. tC? Prod cts . Parts _and . Poli~ies. ·. Unte.ss
         applt~ble law~                                  .
                                                                                    otherwis~ provid~d by
                                                                                                                    I
                                                                                                                    I
                                                                                                                    I
             . (a}. ·      ManufaGf:ur r may cif any time .modify or di&eontin.ue. -selling any Prcx;f1.1yt
         !lnd· l11d~p~ndent Contra~t:;tor shall hav~ no cl;:tim aga.inst Age!1t or. Manl.lfactµrer fQr
        ·faiJU.r~ to·fOr~l.sh P:roduet of the-type previo.tJsly 'Sold!
               {p) Manufaetur r may ata.rw time change warranty o·r service policies withollt
        Incurring al'.ly ·11abliity to In ependent 'Contractor.

        9.      Iermlo·ation of Aqk§ment.
               {a)     Thls Agree ent may .be t.erminatea· by ejther party at fitly trrne, with or
        witho.ut caus~. '.by prov.id ng not 1a~s ·loan fifteen (19) .days written notice to th\3 other .
        p~rty. Th'is AgreeflJ~nt m .'I otli~rwise Qe·terrnin.atei;I b.Y $!Uter party if th~ other party;·

                       {j)     eo111    its a bre~ch Qf any provision ·ot th\$ A,Qreement, ~r a tireach
        of any provi~icm· of any 0      her- agr~ment.6r writt~n o.})lige,\ti9il. hetetqfore or hereafter in
        eff$ct between Agent              and lnd~pendent Col"itractor (collectively; the "Other
        Agreements"), whidh is          bt cured Within five (S) .days after reoeipt of written notice
        thereof by th'e t>ther party

                      (ii) ma~ s a mater.ial false repr.~se11tation, report or.olaiin in .c~nriection
        with the performance oft ·elt ooligations under' tliis Agreement or ahy Other Agreement;
                                            ..
                         (iii)·   ceas s to carry on .business ih .the ordinary.course;

                         (iv)     viola es any provision of Section 12 of this Agreement

                       (v)      beco · es insolvent, liquidates, Is· adjudicated a b?lnkrupt, files a
        bankruptcy ·petition, ma ·es ;:m ass.i9nment fqr the beinefrt of cr.editor-s.. invoke$ ~h.e
        prQ\{IStOI!$ qf an.y 'law fa ·th~ reli~f of debtors, or fil.es or has filed ~gaii'tst them any
        simil.ar pro~ed,ir)g; or                ·

                         (vi)   com its any act or omisslo·n by independent Cont(acto.r or ~ny
                         employee, indep.endent contraotor or other c;lgent Of. lnde.t>e.rqent
                         c~ntractor hat mtght be construed as a viol~tiori Of tne federal Stark law,
                         feQ~raJ fal  cla'ims ~ct, feae.r a! ~nU~kfcJ<Qack ·statut~. fefleral Health
                                                             6
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                        l("lsarance nd ·Portability Act provisions, federal civil money penalties
                        statute, law 1 rules·. and regulations pertaining to Medicare or Medicaid,
                        similar stat. laws or of criminal acts of .a. vroJent natur.e or relatiqg to tlie
                        pt~ctice· of . edi¢in.e.

            A t$rmlnatlon based u on subseations (ii)-(vi} above shall be effective immediately.

          .      (b)     Upon ten.'r!j atlon of this A~ree.ment fur~'} r.e~$on, with .or .without t;;.au.~e.
         Independent Cer'ltractor hall immediately deliver ~o. Ag~t:ti all price lists, ·customer- lists,
         c·atalogues, llter.ature an any other dated a11d printed materials r€}1atfng to the sale of
         the Products in lndepe dent Contractor'$ possession, ausfody or controi, on the.
         effectfve dat~ of ihe ~rrril a'tion, Inducting but not limited to,. PrornQtlonal Materl~ls,

                · (c)    Upon termi . ation of this Agreement for ·<my .rea$oh, with or without cause,
         lhdepehdent Contr:actor ~l,"all, within ten (10} days after the Termination Date, deliver c,:ti;>
         directed by-Agent all ProdH..1cts then in hisiher possession or eontrol and a list of all then
         currenfly scheduie:cl sur · eries. In addition, Independent Conlraotor shall promptly
         supply Agent with. a cur ent list of the IOGatlons of any Products not in Independent
         Contractor's possessiQn 0r control. Ag~nt shall have t.h~ right to deduct .fro.m any
         compensation ·due t o !rid . P.~ndent Contractor: (i) the replacement cost of any Proc:iuct&
         previously .de.livered to I dependent Contractor which have n()t been either sold to a
         customer or delivered to gent In accotdance herewith; .(ii) the replaoeme.nt cost- of any
         Pro.ducts returned to A· ~nt which are deemed unacce!'table by reason 0f their
         damaged ·CQndition: anq iii) the ~mount of any repackaging anc;i refinishing charg~s. lf
         th.e amount owed ·by Ind p~ndent Contractor to Agent exceeds the commissions owed
         by Agelit to Independent ·ontraotor, then lndep·endent Contractor shall be liable rot the
         de.ficlenoy. Such amount shall be due to Ageht Within ten (10) days after the·termihatibn
         of this Agre.ement. Failur to remit said amount shall entitle Agent to default interest Or)
         the outstr;tncHng amounts t the maximum allowable ~te.

                (d)    The termin tion of this Agreement .shall not relieve a party frotn any
         obligations or liability t the other party Incurred prior ·to termination nor shall a
         termination of this Agree ent by a party be in lieu of any other remedies whfch may be
         available to such party un er thii;;.Agreement, at law or in equity.

                  (e)    For Galcula~on    of oompensation due as of the qate of termination,
          Independent ContraGtor snail be ·entitle~ to compensation only for any .Products
          surgk:ially implanted prior to the effective date of termination. Independent Contractor
        · shall not reGeive any co 1pensatlon for Prod.ucts surgi.Qally implanted after termination.
          Any draws payable to Independent Contractor shall cease upon. termination, if
         applicable.        ·

         10. . Returns. Produc returns during the term of this Agreement, other than in
         accordance with Section a hereof, must t;>·e approved by Manlif~cturer in advance in
         accordance with Man.ufac urer's then current "R.et-urn Goods Po!i"cy".       ·

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         11..    ForcSl,._M~ieure. A ent shall not be liable to .Independent Contractor on.account
         of any failure or de1ay I. performing its obligatjons orrder                 this Agreement, including
         without lim.itation. any f ih,1re or delay· in delivering the                f'roduots to Independent
         Contr$ctor qt hi&/her c !3tOrTJets, where sueti failt,1re or de.lay results, direc~y or
         indirectly, wholly ot' parti · 1\y, from a.ny cause beyond its.·control, incltid.ing l;ly way of
         illustration but not by a.y of fimitation, any ac~s of ·God, acts of governments,
         curtailment O:f utility se · ices, iloods, fires, shortages of :material, war, insurrect1an,
         strikes or other labor ·di 1eulties, productio.n diffieultle~ jn M.anufaoturer;s faotorles or
         tho.s·e of lts ~\..!ppliera, .or · etays or fi:lrture of tran~perta1!on facilities.
         12,

                 (a)   {i)      Ouri g the tenn of this Agreement, Independent Oontract0r shall
         not manufacture, sell, arl<et, attend surgeries using, or deliver any product, or
         participate in any mann :if in such activities, whether .p-ersonaliy 0r through a fictitious
         name, corporation1 partfl~~ship or other legal entity if such product is in competition with
         any product ma1:mfactur~. sold, marketed or distributed for &ale by Manufacturer; nor
         shall lndepend.errt Cont.r ctor mE:lnufacture, sel11 market, or deliver any non-competitive
         prodl!6ts th~t are ·u·sad i · spinal surgery. For f)urposes of this Section 12, a product is
        ·"competitive)• if it is tech ologically feasible to use in place Of ot as a substitute for
         anbther, irre~p~ctive of tle nature or extent of activity of ~uch products in the. ex;,,t!ng
         market.                           ·                                        .

                         (ii)     D1.,1rl g the term of this ·Agreement and fqr a peti.od .of one (1) ye~r
         following the ·effectiv~ !ifate of termination under Section 9 ot Section 3 of this
         Agreement for any reasoih whatsoever (the "Termination Date"), lridependenl Contractor
         shall riot directly or" Indira tly, as an fndivid.ual, j;>toprietor, partner, veflturer, $-tookhqlder,
         director. officer, consulta t, employee, independent contractor, agent or in any other
         capaeio/:
                             (1)   ngage or participate, directly or indirectly, in the sale,
        l11anufaeture1 or market! g of any spinal surgical devices offered by Agent or any of
        ,l\geht's ManufaGturer(s) (exce·p t for sales made on behalf of Agent pursuant to this
        Agreement outing itl? ter    t                                                               .
                   .     .       (2) (+) work for; provide s~rvic~s to, . ~ngage in or assist others _16
         eng~ge in -or .hav~ int~i    · st in ~ny busines·s which oon'lpetes with the Agent an.ti/or
        .Manufacturer(s); (b) oth rwlse engage in any actw(tles df the type in which he/she "is
         engaged Qn behf;llf of eent inoluc.:!ing, without !imita,t\on, the representation. of any
         manufach}rer, sell.~r, or j~:~rketer of medical 9evi.ce· products that are the same as or
         that ar~ competitive •th any f'0anlJfacturers1 products or; (c)" enter into any
         compensation arrangetn nt, -sale of his/her.busines·s, distribution of assets, or any otlier
         transaction relating to th .manufacture•. distribution, promotion or sale of products which
         directly or indirectly com ..ete with any Manufactunirs' prodt,mt The territorial scope qf
         this restriction .~ha·u be Ii itec;I to the geog~phic;al county(ies) covered by Independent
         Gontractor and In which hdependent Contractor solicited cu·stomers, covered cases, or
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         sold any produet on beh if of Agent at c;\ny time during the twelve (12) month period
         preceding the end of his/ er engagement wit~ Agent.

                                (3.)     solicit, ser'.(e, divert, {3ell to, or accept bus.ine~s frorn or
         attend. surgeries of or a~ ist any pet's<;>n in ~o soliciting, serving, selling to, diverting or ·
         acoep~ing bu~in_e.s$ from or attendin_g Sl!rgei'ies bf a·ny ' Prafected . Customer" of the
                                                                             1


         Ageny or in any way a tempt tg Influence or persuade such customers to alter or
         terminate their business relationship with Agent- or to refrain from purchasing any
         ptoducts offered by AQe t. The term "Protecte..cl Cu~tomer" rei~rs to any p~yslcian,
         ho.spit~! or m~dlc.al facil\f~ that purchased or utilized in $Urgecy any Product or any other
         product sold or disttibllt d by J.\gent and/or a Man\1facti.lrer arid/or their emplQyees,
         representatives and inde ·endent eontractors during the tw.elve month perigd preceding
         termination· of his/her eng(gement w1th Agent. ; or                                 .

                                  (1)   SoliCit the employment of, hire, retain or eng;;tge, or
         cause any p~rson or entl With which Independent Contractor is affiliated to solicit the
         employment of, hir~. ret~ih or engage, apy employee, independent contractor or other
         agerit of Ageht or Manu~cturer who had a relatjon~hlp with Agent or Manufa·cturer at
         any time during the· tertn of this Agreement. This restriction shall .also apply to
         employees, indepen(fent contractors and other agents of Independent Contractor who
         have or had a relation~hi ,with Independent .Con~ra~tor 1;1ny time d1:.1rlng the term ·of this
         Agreemeflt whjqh Agent or Manufasturer ~niploy$ or retains during the term of tlils
         Agreement and.within oh mohth of its termination.         ·

                  (b)      (i)    Duri~g the term hereof and after the termination of this. Agreement
         for any reason whatsoeyer, Independent Contractor shall not at any time directly or
         rndireqtly disclose to ~ y individual, corporation, partnership or other entity. any
         11
            oonfideritial informC!.tion" (as hereinafter daflned) or trade s~crels of or relating to Agent
         or Manufacturer.                                                         ·

                         (ii)  For urposes of this Agreement, "cont!dential Information'; means
         information displosed or nown to Independent ·Contractor or as a consequeric~ of or
         through the performan e 9f hJs/her obJigation ~ u.nder this Agreement (incluoing
         inforrriation conceive~ ,~ gi.nate?, discovered d r developed by Independent C.oritr~ctor),
         not generally known "1    1 the industry_, a.bbut Agent's or Manufacturer's business,
         processes, apparatus, ~rooucts, .research, research programs, customers, pricing,
         financial data and   b1,1slnls.s
                                        plans, and shall include th<? list of Agent's customers anp
         their contact information address and te!ephpne m,1mbers).                            ·

                 (c)   During the . term of lndep~ndent Contractor's service t.o th~ · Age~t;
         Independent Contractor hall not, directly or indirectly on su:ch person's own behalf or
         as an employee, fndepem'ctent contractor, agent, partner, owner, officer, direqtor of any
         person or entity qr any ther c~pacity, employ, retain or contract with any person ot
         efltjty who directly or indirectly: (i) sells, offer.s for sa·1e, promotes, distributes,
         represents, receive·s or olicits orders for or attends surgeries utilizing any Competitive
         Product$; or (ii) accepts ompensation of any kind from any person or entity providing or
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         ·~nga~i~ in the        sale, iomot!on, dls~fib~Ut!.n       or· repre~e!'tation o_f ~ny domp..etitive .
         Prod1,1~. Fu.rtherrrn~.~·•. !    depend!3nt Contr~.ctor ·shall nut d.1rectfy. or inqiremly ~pre~ent
         'o\iiY C.t>i:hp~tltive.P.~d!Jo . W,ithout the Age._nt'~ written p0nsent                  ··

                 "(d)     lndep:~nd~ ·.Contrac.tor rec;:qgnizE;$       and   ~okt10V11ledgel$   that the. limitations
          s~t. fp(th irt.lhi$ ~,~.qtiQn 1 .}are properly req\.lir.ec:I.far th~ fideq~~te· prqfeetji;:>n -am:i. oeri~ftt
         .of the bus.iness of ~s;ieht. and tliat !\gent will ~e lrrep~rably harmeq by the breffitt;>h·'i~f this
          Seoti0r.i f2. In additib(i        any tither ava'ilab le. remedies, Agent sh-all have the nght to
          hav~ the prov.isions of thi ·Secti.on 1"Z :e.n.forced bytemporary or parmanent injunction In
         a court of c9mpete nt juris~icti1;m.
                 (e) ·    Jnq~pende.n~ C.ontract9r ag.r~ that in the·e.vent that any of the prov.isions
         of'this ·s¢ct!on 12  ~re f~1)n<1 by a <;c;>l:!rt of.competent juns(ji~tion to ex((eed the tfrne and
          geographic iimitatibns e ·rerceable tfr,cfor applicable law. such provisions shali be
          autotnatically reformed o .establish ·th~ maxirrfurn time· or- geag·raphlc limitations
         ·permitted by IC\W1 o~, i not capabl~ of su·ch reformation d-eeme:d null and void.
          Mcm~ovE;>r; the partl~~ agr e ttiaqh.e ctur~tionS\I restrl.ctions contai·hed 'il"I these coven~nt-$
         shall be tolled c;furing any perjod !)f :violation_            ·

                 :Cf}  In t~e 6V,en that lfldep'r~tjerit- Gpntra¢~or oesires to l;>e r~leased from lhe
         re5trictfons GOhtalned 'in ectlons AOi) (1) - (3), he/she may pay Agent the sum of'three
         times· the. sum Ag·ent h s received as .a· resuit. of lndepehdent ·contractor's sate..of
         Products d.uring the tw l,ve month pe.riod immedi~tely pr(;'loedlng term.ina'tion of the
        . Agreernent.

         Tfle terms ~nq condition ofipis Sec::tii:in 12 s'hafl suNive the expiration ot ~rmil"!lation of
                                                     this Agreement.                                             ·

         13:     lndeii'inification.        ach of Agent and. Independent Contractor (the ."lndemnitor")
         ~all indemnify, di:;1fel1d a d hotc;i the other harrn1e.ss from {lnd ~gainst any li~bility, los.s,
         OO$ts, expe.1'.'1$eS· (inclucU~g wftnout limit~tic:m atto,rney's fees ~nd costs) or d~rn~ges
         howso~v.er Gauseq PY r.~s~n of any injury (whether to body, property, or pers9nal or
         b.Usirless cha'.actet -or re utatl~n) sustained by any peraon dt to property, by reason Of
                                        I


         any breach of this ·Agre ment, hegleot, default, or otntssJon by the indernriitor or its
         agents, ·employees or oth ·r repre.sentatiV.es.           ·                   ·

         1'4.    pamages, Agept         ~h!;li! po~. b~. liab\~  for any ·jncjqent~I. Q<mi:i~quel')tial, ~P.eciaf
                                                                                                                Of
         pU.nitiv~ .d~a.g~i;    for a i i.l ure ~o li!I an G>.rder, delay in shipni~ht or deliV.ery", or any other
         .act"or omission.

         15. Efllire N!tOO,ment. This ASreetnent constitutes the entire Agreement betwe.en
         the par.tie$ relatlng to th. m~tter~ cove.red py this Ag~ee111ent .a.nd $Uperse{jes. all prior
         ag~ements, wh~th.er wr tten. pr OfGll,. N~ modifications or wai\(er of ~Oy' part of_ t.hts
         A9.reement !?ha11 be binqi g upon either party unless in:writing execl!ted by both parties.


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                                                                                                       Irut1ai- -
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          o.
         ·1         '§~'{Wa~~l.if.y. If. a .Y tern'! or provision of ~his· Agreeme.nt shall be· d~terrn1n.ed
         invalid. o~      u,11.enfor~~able a any ext~nt or in any applica\ioo, lh~n the rem;:tinder ·c;>.f this
         fa..9r,~~J'.Tle.!1t :;tqq, Q{ ·~uqfl . ~n:n or ·provi&ion 8.KGept to S\!Ph ~.Xtent. Qf in such :appljca,tjon,
         i?b.~!l ii~.t. b?..affeqteQ. ~h.er; ·by, :~rid .esiGh· ~119 evew :terrn .~n.d provi~1~m qf 'Mi~ Agreeme.nt
         shal_i be enrorcad :to tne· uilest exten~ and iti the b~~t1'$~t ~J?Pli~tion permltt~d .PY law.
         F'udher p.ertainirig to t . e rest.rtetions contained in Sect1otl' 12 hereof, while said
         res'fric.tlons -are:.'considere QY "the ·parties M'i"eto to·be' reasonable In cill oircurnsfahces, ·it
         i$ ree,ogni?.~d that ·restr plie>O$. of the na~r:~· s~t thrth h~~n may faif ·f0r· reasons .
         lll1forese.ef'l .and aCQQfd\ gly ft · j~ h~reby ~g reed aQQ c!e~l9~ecl th~l if .~ny Qf ·SU.Ch
         rewiqti~t'ls l>hall.~e cie~ · ed Qr c\dj~~IJ'i'.Q tQ be ~9id Qr vo\Cl~ll!~ ~s going beyond ·what.is
         reasonable· in -all the c:n· umstances, for the prot~otior'i <?f t_he Agent'~ ~~in~.ss, then
         such restriction$ $hall hp . ther~by oe tetmlnat~, bl.ft $hall 'be deemed amended fo the
         eX,tent required to render uch restrtcfions valid' and enforceable.
         17..    N<:>tioo, Any noti' ~ or- tither c:ornmunii:;alio1,1 req\.1ire.d or pennitted to be -given
         h~r.e1.mqer   shall be in riting ·.and shall l;>e m~iled by pr~-'paid . c.~rtifje~ m·~il, return
         reteipt re.que~t~~ oT .~y Feder~I t=xpt~'$~ <;ir :ott)¢r ~!mi!ar .6varnight d!?li\ier.y seryic;e.
         prov!dir'ig pr00f.of defive ·,_to..the .othfirparty :at the aoqr-es~ set ~oi:t~ Pfl ~Ile ~rst'page of.
         this Ag.reement. All noti:c -shaft.be eff~otfve upon mailing as ·set forth above.
         1.8. GoverQiQ ·Law .                        Thi!? Agre.ement sliall .be governed QY and
         constrl,led .in aGcordance ith the 'Jaws of the State of .Florida. Any -~ction oT proc.e.ecHng
         snail be Qrough~ lo the G<> rtS. 6f 13roward Qcl!nty, Florida.
         -te_. tfeadings;    The ~ading.s in the Sections of ttiis Agreement are in$erted for
         convefiie·nce only and sh II not i::enstitute a part hereof.

         20. . ~ustom~r Goodwi I. I agree that a pbrtion of the con~ideratlon to be ptovided by
         Agerit .under ·this agree ent .is in ex£hange for any goodwin I may curr~ritly have. with
         physicians; he.$pltals an other medicaJ providers an~ their E?taff and hereby ~nsfer
         that goodwill tQ Agentfor it~ future ben~fit
         21.    Binding Nat\:lre. T ia-Agre.e mentshall be·bindlhg upon ah~ inure to the b0nefif of
         the parties hereto aod their .res~ective successdr.s, representatives and permitted
         assi_gns. lndepend~nt C ntracfur shall not as::sigh' this Agreement .orany portion there~f
         w~hout the 13xpresswri . n permission of Agenf.            ·
         22.. - .Q0n5trucUo.n.. Th parijes i;1ckno~leoge that ·~~ch p~rty ~nq it~ counsel nave.
         reyjewe.q and revis~Gi th! Agreement ~nd the h,6i'm~I rw1$ Of construction ·to the effect
         that any ·ambigwti'es a~e. o be. resolved agalnstthe-dra:ttlnfj pa-rty shall hot be .employed
         in the Interpretation -of thl .Agree merit or any ·amendments ·or ~xhib.it$ hereto.
         2~:    F rther As uranc . baGh of the p~rties l'\ereto sh.all ~Xe.cute . ~ny an~ au further
         or addi.tton~i ihatrurnem't or d9ctJm~nts ~~ lh.~ .ot~er p~rtY r:nay reasonably reque:;;t in
         otdelto give effect to tlie a,grei:;iments ·c.ontained herein.

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             '24.    Prev.aili · . P.a ·   ttoJl1e s' Fees       I ha .Pr:eviiiilitTg= party in ~i)y ~C.tton o,r
             ·proceeding br.oughtby        eif
                                           ~r party relatr119 to this /~.gre·erpent l?hatr be entitled tQ rec;over
              reasonabl~ .ailomeyo'_ fee · and oqs\s. fri>m tbe .ol1wr, ioolµding oo~ts aild fees Qi1 app~~J.,

             25.     Individual .Obliger         A_g~nl recogn.1z~s ttiat  ln<;iepende.nt Cor.itr~Qtor m~y t:Jo
              ~µ_sine.~s ·vl1;1_ ~ ·c¢rpora. ?.n. o_r o~her 6u~i{)ess. -~p~.~·.. Ag~n~. ~ow~vrr,, i~. i~ ··. p·~tt.i
              contracting for the spe· 1fic serv1ees of th~ md1Vrdual executing this Agreement
              Accordingly, to the exta· t tflat 'the: lndep~naent Contractor is identified as :a- liusine·s s
              entity ·in ·me. opening p~. agrapn :o f thiS Agreemen~ by execuUng ·tnls Ag,reetnent tre
              i\1dlvidl.la.I sig:natory confi S. that he is aJs.o tndividually bound by all of its terms· and
             ·Gonditions.                                                   ·

              !N WITNESS WHEREO the paf11~$ hereto h.~ve ·~e~ their l'laric!$ th~-d~y ~nd .y.~~rfirst
                                                          above written.


             ABSOLUTE MEDICAL L C                                INOEPENOEt-lT CONTRACTOR


             ~~ ~--"~~~~---.1--~...._~~

             GREG SblJF'LERJS, Ptin ipal Agent                   Print Name:   ---,~~~~~~~~~




                                                                 Individually and on behalf of lride~ndent
                                                                 Cdntr~ctor




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Case 6:17-cv-02206-CEM-GJK Document 64-1 Filed 06/05/18 Page 106 of 114 PageID 777




                                    .SCHE.DULI;: A




                                        V01usia
                                        Qran!}e

                                       Sem.inole
                                          Lake

                                       Os.ceol~

                                        Brevard

                                      Indian River

                                       $t t,ucie
                                     Okeechobee

                                       High.lane!
                                         1\11lir:tln

                                      Palm ='!3each

                                     North Broward




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                                                SCHEDULES



                                          [Services artd Products]


                                      .ENDENT CO °TRACTOR,.$ SERVI              S:

                                         SALES REPRESENTATIVE:

                    The FSR is .resp · nsible for providing coverage for all surgeries in an assigned
           geography. Coverage i eludes but is ndt limited to coordinating schequlin~, ordering
            anti delivering invemto , in~servi<::ing hospital staff and s.urgeons qn products, intra,.
         op.~ra'tl.v$ procjuet tec.hni · · I support, delivering accurate charge sheets and cleaning ~rid
             pick::-~P of invent~ry. . n FSR !~ exp.ected t!:> represent the Agent ih a professional
                   manner ancHo b regarded as an asset by the surgical and nursihg staff.

                    The SR is res , onsible fOr the duties d.esorlbed above for a.n f:SR, and, in
           adpition, the SR will vi orously pursue the $ale of produch?. in a defined geography.
         Sc;iles duties wmin¢1U(le ·.ut are notl,imite.d to sales fore9~sting, goography landscaping,
         pro~pectirig , product pr ·entation and busine~s requesting. The SR.will track purohase
                                     rs ~nd Invoices for the Agent as well ·as




                                                 PR.GOUGIS:




         Splp~.l surgical prodµcts i eluding t>ut .nqtlimited to spin.~! implants, biologics, bone
        ·e~rnent, ·alfograft,
                           ri"europ ysiologicc\I monitoring equipment, oisposables, hemostasfs
         products, surgical instru e·nts i.e. retractors, hand instruments etc.




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                                     SCHEDULE 0



                                    [Ct:>n1mt$Sions]

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                                                                  Inltia.J. ·
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           Mar. 21. 20 13 9:52AM                                                            No. 0003    P. 12



..-.....
                24. PrevalUn Part ' ttoma s' fees. The prevailing party in any action ·or
                proceeding brought by el her party telatloij to this Agreement shall be e11litled to recover
                reasonable attorneys' fa and costs fronrthe other. Including casts and fees on appeal.
                25. In " idua Ob i o . Agent recognizes that rndependent Contractor may do
                business Via . a corpo~ on or other busll'!ess entity. Agent, however, Is, In part,
                contrac1ing for tne aper.me setvtqe~ of the lndMduaf executing this Agreement.
                Accordt11gly, to the exteqt that.the Independent Contractor is identltled as_a business
                entity in the opening pa graph of this Agreement•. by executing this Agreement, the
                Individual signatory confi rns that he ls ·atso indhtidually bound by all of Its terms and
                conditfons.

                 IN WITNESS WHEREO the pa~les hereto have set their hands tha day and year first
                                             above written.




                 By:--::::>"~~~t--
                GREG SOUFLERfS, Prln lpal Agent




                                                            l2
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              24.   Prevai i    Pa     . or e s'. Fees. Th~ prevailing party hi any ~ction or
              proceeding brought by either party relating to this Agreement shall be entitled. to recover ·
              reasonable attorneys' e~ and costs from the other, Including 9osts anti fees on appeal.

              25. lndivldu I Ob I r.1 Agent recognizes that Independent Contractor may do
              business via a corp at\o~ or other buslness entity. Agent, however, is, in· part.
              contracting for the· a ecific serviaes of the Individual executin!J this Agreement
              Accordingly, to the ex ent that the Independent Contractot is idehtified as a business
              entity In the openln9 · ariigraph 6f this Agreement, by executing tilts Agreement, the .
              individual signatory c nfirms that he is also indlvldually bound by all of its terms and
              conditions.

               IN WITNESS WHER OF the parties h'ereto have set their hands the day and year first
                                             above written.


              A13SOLUTE MEDICAL LLC
                                  I




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            From; ·oreg Soufleris,<gsoufleris@absolute--med.com>
            Date> November 27, 2017 at. 7:52:59 PM.EST
            To: Paul McCJintock <PMcQigtock@nuvasiye.com>. Made Singer
            <mslnger@nuvasive.com>
            Subjecb Thank You

            Sales Leadel'ship,

            I'd·iike to offidally inform you ot'my resignation witl1our pa1tne1·ship. It1s been a
            wonderful ...,12 years and I dotildn't tie more proud .Qf what we've b\lilt, how~ver,
            my·time h1.tS-c-0me to move ~n. l'd like to persollaily-thau.k e~ch of you for the
            ti'me spent with me and wish ym.i the best in future endeavors. rn ensure' there
            will be a smooth transition and.will be available ft)r anything as we close this QU.t
            profe~sionaUy.

            I will also have my att-0mey Chris Mills {561) 701-
            3523 Cbristonher.Mills@arlaw.com)               ·
            contact Kirk Tyree to ensure we•re all on ~he same page as we move forward.
            Sincerely.


            9reg_S.ouflcris
            Principal IAbsolute Medical
            C: (954)8q8'4492


            S-ent from niy iPhon~.




                                                                                                    EXHIBIT

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        '·


    (




                From: Bryan Busch [mallto·:B1Yan.BLJsd1@artaw.com]
                sent: Tuesday, Decembers, 2017 11:29 AM
                To: Chris Oi~well
                Sl!bje.,ct: Re: NqVastve/Absoh,lle
                Chris, thX: for the response. lhe 2 reps that have not resigned a.re Thad Bragulla and Brennan Burkhart. The 3 reps that
                have reslgn.ed are Dave Hawley, Ryan Miller and Brandon GQttsteln.

                 Bryan E. Busch
                Adams and Reese, LU>



                Oh Dec 4, 2017, at 10:30 PM, Chris Cardwell <ccardWell@gsrm.com>. wrote:

(                       Brian -1 appreciate your client's willingness to cooperate In the short term. Why don't we trY to
                                                                an
                        schedule a face to face to try to· reach agreement on expectatlons/obllgatlons going.forward in the
                        next few weeks. My client wants to be reasonable, but It needs some assurances that your client's
                        "resignation" Ts not just an excuse to shirk !tis contractttal obllgations a.nd go provide services for one of
                        my Client's COrl')~etitors.

                        While we.try to work out Issues between our clien1s, will you please Identify ~he reps still afflflated with
                        Absolute/NuVaslve and provide me with the·non-compete agreements pfthe reps who mo.ved on. ·

                        Also, rU take a stab at a. draft a&i'eement for your dlellt to alfow NuVaslve to contact, hire, and dlrect1ts
                        representatives anet get it to you asap.

                        Thanks.1

                        Chri~




                        F~om: ~ryan   BU$Ch [mallto:Biya11,(Wsct.J@at1aw.comJ
                        $•nt: Mond~y, D~mber 4, 2017 4:34 PM
                        To: Chris cardwell
                        S\lbJect: RE: Nuvas!ve/Absi:>lute

                        My client.has.no problem releasing.and/or consenting to your client's use of the sales
                        representatives. My client reached O\lt.to Mr. Singer on Friday about a' transition and the need for
                        asslstan ~e covering cases but has not recelved any material response. Please let us  know how to assist
                        a'nd minimize any alleg~d business lnt~rruptlori for"NuVasive. Thi
r
                                                                              i
                                                                                                                                  EXHIBIT

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,·•
                         Bryan Busch
                         Partner
                          ADAl\tlS /\Nb )\EE.SE LLP
                             .. ....,--.··~·· \":"'..r""\"v.r..:-, r- ••• •;:·


                         3424 Peachtree Road·NE, Sui\e 450 I Atlanta, GA 30326
                         main 470.427-.3700 I dlrect470.427.3702 j
                         efax 470.427.3676 { fax 404.501;>.5975
                          brva.n .busch@arlaw.~oni


                         website blo vCard map

              Fi:om: Chris cardwell [mallto:ccardwell(a)gs1m.com]
              Seni:: Friday, December 01, 20V 7:39 PM             ·
              To: Bryan Busch
               Subjeet: .NuVasl\'/e/Absolute



               Bryan,


              Following up on today's conversation, it's my understanding that your client is urtable to cover cases
              going forward, and has requf!sted that NuVasiVe provide assistance and case coverage. NuVasive will
              ac.ce.p t responsibility for covering cases of which It has reasonable advanced knowledge, and will directly
              compensate the sales rejlresentatlves who c·pver the cases. In that regard, NuVaslve requests that your
              client con;;el'lt to Its release of its sales representatives to NuVasive for case coyerage pu~poses.

              Due to the urgent nature of this Issue, please let rrie know if you client objects to this proposal by 2:00
              tomorrow. I'm available vfa email or cell at 615-424-369~.


               Chris Carqwell
              CONFIDENTIALITY NOTICE: This email may contain privileged, confiden,tial and/or other
              legally-protected information and: is me~nt only for tb,e tise of the speci;fic intended addressee(s).
              Your receipt is no:t intended to waive any applicable privilege. If you have teceived tbis email i11
              error~ you may not use, copy or retmnsmfr it. Plense delete it and       all
                                                                                      attacl1111ents immediately
              and notify the sender via separate email or by calling ollr qffices.at 6i 5-244-499~.




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        -·---Originnl jvfoi<sug~-----
        From: Oavc Hawlt.!y lmai lto:dln1wl ev~bsolu10-ms<J.c1?tnl
        Si;-nl: Tucsdny. f.kcember 12·, 2017 6:08 A.M
        Tn: EJiznbelh Lukianov
        S119Ject; l11stn111,~nl~

        Liz.

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        A1·s~nnl:
        -Nl!cd u multidi1\1clinnal co\111ter-torque - or j ust the oppositcJ din:ctitin h·is <.: urrenlly. x2 -Longt~r
        Struighl lhorndc g~;u'$h ifl. probe x.3 -Nadgnlion ins1rumi::1Hs ---Drill g.ui~c/Dril.l fut
        1h1>me<>lumb:1r en$cs. D~t:tl h guide fii.m1 311-C.lhm;i. Orill hit lliamc1<.:r J.5.

        Soltm:is
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        ~ I nd~ si111ib r 11• 1h'-' :\ ~nul NI instr1:1mcnt:1.
        ·-·Drill guiddl >rill. Dcp1h guide from I0-40mm Drill diameter 2.5mm - Threaded s;:;.tew driver

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